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                                                                   included in the trust fund may have a greater
                                                                   likelihood of delinquency and foreclosure, and a
                                                                   greater likelihood of loss in the event of delinquency
                                                                   and foreclosure. You should be aware that if the
                                                                   properties fail to provide adequate security for the
                                                                   loans included in the trust fund, any resulting losses,
                                                                   to the extent not covered by credit enhancement,
                                                                   will be allocated to the related securities in the
                                                                   manner described in the related prospectus
                                                                   supplement and consequently would adversely
                                                                   affect the yield to maturity on those securities. The
                                                                   depositor cannot assure you that the realizable
                                                                   values of the properties have been or will be at the
                                                                   appraised values on the dates of origination of the
                                                                   related loans. The prospectus supplement for each
                                                                   series of securities will describe the loans which are
                                                                   included in the trust fund related to your security
                                                                   and the risks associated with those loans which you
                                                                   should carefully consider in connection with the
                                                                   purchase of your security. The following describes
                                                                   in general risks associated with certain types of
                                                                   loans:

           Balloon Loans.................................................. Some of the loans held in the trust fund may not be
                                                                           fully amortizing over their terms to maturity. These
                                                                           loans will require substantial principal payments
                                                                           ("balloon payments") at their stated maturities. A
                                                                           loan with balloon payments involves a greater
                                                                           degree of risk than a fully amortizing loan because,
                                                                           typically, a borrower must be able to refinance its
                                                                           loan or sell the property to make the balloon
                                                                           payment at maturity. The ability of a borrower to do
                                                                           this will depend on such factors as mortgage rates at
                                                                           the time of sale or refinancing, the borrower's
                                                                           equity in the property, the relative strength of the
                                                                           local housing market, the financial condition of the
                                                                           borrower, and tax laws. Losses on these loans that
                                                                           are not otherwise covered by a credit enhancement
                                                                           will be borne by the holders of one or more classes
                                                                           of securities of the related series.

           Multifamily Loans........................................... Multifamily lending may expose the lender to a
                                                                        greater risk of loss than single family residential
                                                                        lending. Owners of multifamily residential
                                                                        properties rely on monthly rent payments from
                                                                        tenants to:

                                                                         pay for maintenance and other operating
                                                                         expenses of those properties,

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                                                                                     fund capital improvements, and

                                                                                     service any loan or other debt that may be
                                                                                     secured by those properties.

                                                                               Various factors, many of which are beyond the
                                                                               control of the owner or operator of a multifamily
                                                                               property, may affect the economic viability of that
                                                                               property.

                                                                               Changes in payment patterns by tenants may result
                                                                               from a variety of social, legal and economic factors.
                                                                               Economic factors include the rate of inflation,
                                                                               unemployment levels and relative rates offered for
                                                                               various types of housing. Shifts in economic factors
                                                                               may trigger changes in payment patterns including
                                                                               increased risks of defaults by tenants and higher
                                                                               vacancy rates. Adverse economic conditions, either
                                                                               local or national, may limit the amount of rent that
                                                                               can be charged and may result in a reduction in
                                                                               timely lease payments or a reduction in occupancy
                                                                               levels. Occupancy and rent levels may also be
                                                                               affected by construction of additional housing units,
                                                                               competition and local politics, including rent
                                                                               stabilization or rent control laws and policies. In
                                                                               addition, the level of mortgage interest rates may
                                                                               encourage tenants to purchase single family
                                                                               housing. We cannot determine and have no basis to
                                                                               predict whether, or to what extent, economic, legal
                                                                               or social factors will affect future rental or payment
                                                                               patterns.

                                                                               The location and construction quality of a particular
                                                                               property may affect the occupancy level as well as
                                                                               the rents that may be charged for individual units.
                                                                               The characteristics of a neighborhood may change
                                                                               over time or in relation to newer developments. The
                                                                               effects of poor construction quality will increase
                                                                               over time in the form of increased maintenance and
                                                                               capital improvements. Even good construction will
                                                                               deteriorate over time if adequate maintenance is not
                                                                               performed in a timely fashion.

           Junior Liens.....................................................   The mortgages and deeds of trust securing the
                                                                               closed end second-lien loans will be, the home
                                                                               equity line of credit loans and home improvement
                                                                               contracts will primarily be, and other loans may be
                                                                               junior liens subordinate to the rights of the related
                                                                               senior mortgage( s) or deed( s) of trust. Accordingly,

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                                                the proceeds from any liquidation, insurance policy
                                                or condemnation proceeding will be available to
                                                satisfy the outstanding balance of the junior lien
                                                only to the extent that the claims of the related
                                                senior mortgagees have been satisfied in full,
                                                including any related foreclosure costs. In addition,
                                                if a junior mortgagee forecloses on the property
                                                securing a junior mortgage, the junior mortgagee
                                                will have to foreclose subject to any senior
                                                mortgage and must take one of the following steps
                                                to protect its interest in the property:

                                                        pay the senior mortgage in full at or prior to
                                                        the foreclosure sale, or

                                                        assume the payments on the senior mortgage
                                                        if the mortgagor is in default under that
                                                        mortgage.

                                                Unless the servicer is obligated under the applicable
                                                agreement to advance such funds, the trust fund may
                                                effectively be prevented from foreclosing on the
                                                related property because it will not have sufficient
                                                funds to satisfy any senior mortgages or make
                                                payments due to any senior mortgagees.

                                                Some states have imposed legal limits on the
                                                remedies of a secured lender in the event that the
                                                proceeds of any sale under a deed of trust or other
                                                foreclosure proceedings are insufficient to pay
                                                amounts owed to that secured lender. In some states,
                                                including California, if a lender simultaneously
                                                originates a loan secured by a senior lien on a
                                                particular property and a loan secured by a junior
                                                lien on the same property, that lender as the holder
                                                of the junior lien may be precluded from obtaining a
                                                deficiency judgment with respect to the excess of:

                                                        the aggregate amount owed under both the
                                                        senior and junior loans, over

                                                        the proceeds of any sale under a deed of trust
                                                        or other foreclosure proceedings.

                                                See "Certain Legal Aspects of the Loans-Anti-
                                                Deficiency Legislation and Other Limitations on
                                                Lenders."




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           Partially Unsecured Loans............................. The trust fund for any series may include closed-end
                                                                  second-lien loans, home equity line of credit loans
                                                                  and home improvement contracts that were
                                                                  originated with loan-to-value ratios or combined
                                                                  loan-to-value ratios in excess of the value of the
                                                                  related property. Under these circumstances, the
                                                                  trust fund for the related series could be treated as a
                                                                  general unsecured creditor as to any unsecured
                                                                  portion of any related loan. If a borrower defaults
                                                                  under a loan that is unsecured in part, the related
                                                                  trust fund generally will have recourse only against
                                                                  the borrower's assets for the unsecured portion of
                                                                  the loan, along with all other general unsecured
                                                                  creditors of the borrower. In a bankruptcy or
                                                                  insolvency proceeding relating to a borrower on a
                                                                  partially unsecured loan, the borrower's unsecured
                                                                  obligation on that loan will be treated as an
                                                                  unsecured loan and may be discharged by the
                                                                  bankruptcy court. Losses on any partially unsecured
                                                                  loans that are not otherwise covered by a credit
                                                                  enhancement will be borne by the holders of one or
                                                                  more classes of securities of the related series.

           Home Equity Lines of Credit......................... Generally, a home equity line of credit has a draw
                                                                period that lasts for the first ten years (during which
                                                                no principal or minimal amount of principal is due)
                                                                and, unless otherwise specified in the related
                                                                prospectus supplement, a repayment term following
                                                                the draw period of zero, ten, fifteen or twenty years.
                                                                As a result, there may be limited collections
                                                                available     to    make      payments      to   related
                                                                securityholders or payments of principal may be
                                                                received more slowly than anticipated, which will
                                                                affect the yield on one or more classes of securities
                                                                of the related series.

                                                               Home equity lines of credit that do not have a
                                                               repayment term following the draw period are
                                                               effectively balloon loans that pose an additional risk
                                                               because a borrower must make a large 1ump sum
                                                               payment of principal at the end of the draw period.
                                                               If the borrower is unable to pay the lump sum or
                                                               refinance such amount, holders of one or more
                                                               classes of securities of the related series may suffer
                                                               a loss if the related credit enhancement is not
                                                               sufficient to cover such shortfall.




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           Declines in Property Values
           May Result in Losses Borne By You............. The value of the properties underlying the loans
                                                          held in the trust fund may decline over time. Among
                                                          factors that could reduce the value of the properties
                                                          are:

                                                                    an overall decline in the residential real estate
                                                                    market in the areas in which the properties are
                                                                    located,

                                                                    a decline in the general condition of the
                                                                    properties caused by the borrowers' failure to
                                                                    maintain these properties adequately, and

                                                                    natural disasters, such as earthquakes and
                                                                    floods, that are not covered by insurance.

                                                             In the case of loans secured by subordinate liens,
                                                             declining property values could diminish or
                                                             extinguish the value of a junior mortgage before
                                                             reducing the value of a senior mortgage on the same
                                                             property.

                                                             If property values decline, the actual rates of
                                                             delinquencies, foreclosures and losses on all
                                                             underlying loans could be higher than those
                                                             currently experienced in the mortgage lending
                                                             industry in general. If these losses are not otherwise
                                                             covered by a credit enhancement, they will be borne
                                                             by the holders of one or more classes of securities of
                                                             the related series.

           Delays in Liquidation May
           Result in Losses Borne By You...................... Even if the properties underlying the loans held in
                                                               the trust fund provide adequate security for the
                                                               loans, substantial delays could occur before
                                                               defaulted loans are liquidated and their proceeds are
                                                               forwarded to investors. Property foreclosure actions
                                                               are regulated by state statutes and rules and are
                                                               subject to many of the delays and expenses of other
                                                               lawsuits if defenses or counterclaims are made,
                                                               sometimes requiring several years to complete. In
                                                               addition, in some states, if the proceeds of the
                                                               foreclosure are insufficient to repay the loan, the
                                                               borrower is not liable for the deficit. If a borrower
                                                               defaults, these restnctwns may impede the
                                                               servicer' s ability to dispose of the property and
                                                               obtain sufficient proceeds to repay the loan in full.
                                                               In addition, the servicer will be entitled to deduct

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                                                                 from liquidation proceeds all expenses reasonably
                                                                 incurred in attempting to recover on the defaulted
                                                                 loan, including payments to senior lienholders, legal
                                                                 fees and costs, real estate taxes, and property
                                                                 maintenance and preservation expenses. If, as a
                                                                 result of such delays and deductions, any properties
                                                                 fail to provide adequate security for the related loans
                                                                 in the trust fund and insufficient funds are available
                                                                 from any applicable credit enhancement, you could
                                                                 experience a loss on your investments.

           Disproportionate Effect
           Of Liquidation Expenses May
           Adversely Affect You...................................... Liquidation expenses of defaulted loans generally
                                                                      do not vary directly with the outstanding principal
                                                                      balance of the loan at the time of default. Therefore,
                                                                      if a servicer takes the same steps for a defaulted loan
                                                                      having a small remaining principal balance as it
                                                                      does for a defaulted loan having a large remaining
                                                                      principal balance, the amount realized after
                                                                      expenses is a smaller percentage of the outstanding
                                                                      principal balance of the small loan than it is for the
                                                                      defaulted loan with a large remaining principal
                                                                      balance.

           Violations of Consumer
           Protection Laws May Result
           In Losses On the Loans
           and Your Securities .................... .................... Federal, state and local laws extensively regulate
                                                                         various aspects of brokering, originating, servicing
                                                                         and      collecting loans secured by consumers'
                                                                         dwellings. Among other things, these laws may
                                                                         regulate interest rates and other charges, require
                                                                         disclosures, impose financial privacy requirements,
                                                                         mandate specific business practices, and prohibit
                                                                         unfair and deceptive trade practices. In addition,
                                                                         licensing requirements may be imposed on persons
                                                                         that broker, originate, service or collect loans.

                                                                 Additional requirements may be imposed under
                                                                 federal, state or local laws on so-called "high cost
                                                                 mortgage loans", which typically are defined as
                                                                 loans secured by consumers' dwellings that have
                                                                 interest rates or origination costs in excess of
                                                                 prescribed levels. These laws may limit certain loan
                                                                 terms, such as prepayment penalties, or the ability
                                                                 of a creditor to refinance a loan unless it is in the
                                                                 borrower's interest. In addition, certain of these
                                                                 laws may allow claims against loan brokers or

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                                                mortgage ongmators, including claims based on
                                                fraud or misrepresentations, to be asserted against
                                                persons acquiring the loans, such as the trust fund.

                                                The federal laws that may apply to loans held in the
                                                trust include the following:

                                                        the federal Truth in Lending Act and its
                                                        regulations, which (among other things)
                                                        require disclosures to the borrowers regarding
                                                        the terms of any applicable loan and provide
                                                        consumers who pledged their principal
                                                        dwelling as collateral in a non-purchase
                                                        money transaction with a right of rescission
                                                        that generally extends for three days after
                                                        proper disclosures are given; a loan
                                                        originator's failure to comply with the Truth
                                                        in Lending Act        could subject both the
                                                        originator and the assignee of such loan to
                                                        monetary penalties and could result in an
                                                        obligor's rescinding the loan against either the
                                                        loan originator or the assignee.

                                                        the Equal Credit Opportunity Act and its
                                                        regulations, which (among other things)
                                                        prohibit discrimination in the extension of
                                                        credit on the basis of age, race, color, sex,
                                                        religion, marital status, national origin, receipt
                                                        of public assistance or the exercise of any
                                                        right under the Consumer Credit Protection
                                                        Act;

                                                        the Fair Credit Reporting Act, which (among
                                                        other things) regulates the use and reporting of
                                                        information related to the borrower's credit
                                                        expenence;

                                                        Home Equity Loan Consumer Protection Act,
                                                        which (among other things) limits changes
                                                        made to open-end loans secured by the
                                                        consumer's dwelling, and restricts the ability
                                                        to accelerate balances or suspend credit
                                                        privileges on such loans;

                                                        the Home Ownership and Equity Protection
                                                        Act of 1994, which (among other things)
                                                        imposes additional disclosure and other
                                                        requirements on creditors with respect to non-
                                                        purchase money mortgage loans secured by

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                                                         the consumer's principal dwelling that have
                                                         interest rates or origination costs in excess of
                                                         prescribed levels. These provisions can
                                                         impose specific statutory liabilities upon
                                                         creditors who fail to comply with their
                                                         provisions and may affect the enforceability of
                                                         the related loans. In addition, any assignee of
                                                         the creditor would generally be subject to all
                                                         claims and defenses that the consumer could
                                                         assert against the creditor, including the right
                                                         to rescind the loan;

                                                         In addition to the Homeownership and Equity
                                                         Protection Act, a number of legislative
                                                         proposals have been introduced at both the
                                                         federal and state level that are designed to
                                                         discourage predatory lending practices. Some
                                                         states have enacted, and other states or local
                                                         governments may enact, laws that impose
                                                         requirements and restrictions greater than
                                                         those in the Homeownership and Equity
                                                         Protection Act. These laws prohibit inclusion
                                                         of some provisions in applicable loans that
                                                         have interest rates or origination costs in
                                                         excess of prescribed levels, and require that
                                                         borrowers be given certain disclosures prior to
                                                         the consummation of such loans. Purchasers
                                                         or assignees of a loan, including the related
                                                         trust, could be exposed to all claims and
                                                         defenses that the mortgagor could assert
                                                         against the originator of the loan for a
                                                         violation of state law. Claims and defenses
                                                         available to the mortgagor could include
                                                         monetary penalties, rescission and defenses to
                                                         a foreclosure action or an action to collect;

                                                         the Real Estate Settlement Procedures Act and
                                                         its regulations, which (among other things)
                                                         prohibit the payment of referral fees for real
                                                         estate settlement services (including mortgage
                                                         lending and brokerage services) and regulate
                                                         escrow accounts for taxes and insurance and
                                                         billing inquiries made by borrowers; and

                                                         Holder in Due Course Rules, which apply to
                                                         home improvement contracts, which are
                                                         comprised of the Preservation of Consumers'
                                                         Claims and Defenses regulations of the
                                                         Federal Trade Commission and other similar

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                                                                            federal and state statutes and regulations. The
                                                                            Holder in Due Course Rules protect the
                                                                            homeowner from defective craftsmanship or
                                                                            incomplete work by a contractor. These laws
                                                                            permit the obligor to withhold payment if the
                                                                            work does not meet the quality and durability
                                                                            standards agreed to by the homeowner and the
                                                                            contractor. The holder in due course rules
                                                                            have the effect of subjecting any assignee of
                                                                            the seller in a consumer credit transaction to
                                                                            all claims and defenses which the obligor in
                                                                            the credit sale transaction could assert against
                                                                            the seller of the goods.

                                                                     The penalties for violating these federal, state or
                                                                     local laws vary depending on the applicable law and
                                                                     the particular facts of the situation. However,
                                                                     private plaintiffs typically may assert claims for
                                                                     actual damages and, in some cases, also may
                                                                     recover civil money penalties or exercise a right to
                                                                     rescind a loan against either the originator of the
                                                                     loan or the assignee thereof Violations of certain
                                                                     laws may limit the ability to collect all or part of the
                                                                     principal or interest on a loan and, in some cases,
                                                                     borrowers even may be entitled to a refund of
                                                                     amounts previously paid. Federal, state and local
                                                                     administrative or law enforcement agencies also
                                                                     may be entitled to bring legal actions, including
                                                                     actions for civil money penalties or restitution, for
                                                                     violations of certain of these laws.

                                                                     Depending on the particular alleged misconduct, it
                                                                     is possible that claims may be asserted against
                                                                     various     participants   in     secondary     market
                                                                     transactions, including assignees that hold the loans,
                                                                     such as the trust fund. Losses on loans from the
                                                                     application of these federal, state and local laws that
                                                                     are not otherwise covered by a credit enhancement
                                                                     will be borne by the holders of one or more classes
                                                                     of securities.

           Violations of Environmental Laws
           May Result in Losses
           On the Loans and Your
           Securities.......................................................... Federal, state and local laws and regulations impose
                                                                                a wide range of requirements on activities that may
                                                                                affect the environment, health and safety. In certain
                                                                                circumstances, these laws and regulations impose
                                                                                obligations on owners or operators of residential

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                                                               properties such as those that secure the loans held in
                                                               the trust fund. Failure to comply with these laws and
                                                               regulations can result in fines and penalties that
                                                               could be assessed against the trust as owner of the
                                                               related property.

                                                               In some states, a lien on the property due to
                                                               contamination has priority over the lien of an
                                                               existing mortgage. Also, a mortgage lender may be
                                                               held liable as an "owner" or "operator" for costs
                                                               associated with the release or threat of release of
                                                               petroleum and/or hazardous substances under
                                                               certain circumstances if the lender has actually
                                                               participated in the management of the property. If
                                                               the trust is considered the owner or operator of a
                                                               property, it will suffer losses as a result of any
                                                               liability imposed for environmental hazards on the
                                                               property.

           Rating of the Securities Does
           Not Assure Their Payment............................. Any class of securities issued under this prospectus
                                                                 and the accompanying prospectus supplement will
                                                                 be rated in one of the four highest rating categories
                                                                 of at least one nationally recognized rating agency.
                                                                 A rating is based on the adequacy of the value of the
                                                                 related trust assets and any credit enhancement for
                                                                 that class, and, in the case of surety bonds, insurance
                                                                 policies, letters of credit or guarantees, primarily on
                                                                 the claims paying ability of any related surety
                                                                 provider, insurer, letter of credit provider or
                                                                 guarantor, and reflects the rating agency's
                                                                 assessment of how likely it is that holders of the
                                                                 class of securities will receive the payments to
                                                                 which they are entitled. A rating is not an
                                                                 assessment of how likely it is that principal
                                                                 prepayments on the underlying loans will be made,
                                                                 the degree to which the rate of prepayments might
                                                                 differ from that originally anticipated or how likely
                                                                 it is that the securities of a series will be redeemed
                                                                 early. A rating is not a recommendation to purchase,
                                                                 hold or sell securities because it does not address the
                                                                 market price or the securities or the suitability of the
                                                                 securities for any particular investor.

                                                               A rating does not take into account the possibility
                                                               that prepayment at higher or lower rates than an
                                                               investor anticipates may cause a reduction in that
                                                               investor's yield. A rating does not take into account
                                                               the possibility that an investor purchasing a security

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                                                 at a premium might lose money on its initial
                                                 investment under certain prepayment scenarios. In
                                                 addition, if the rating relates to a series with a pre-
                                                 funding account, it does not take into account:

                                                         the ability of the related trust fund to acquire
                                                         subsequent loans,

                                                         any prepayment of the secunt1es resulting
                                                         from the distribution of amounts remaining in
                                                         the pre-funding account after the end of the
                                                         funding period, or

                                                         the effect on an investor's yield resulting from
                                                         any such distribution.

                                                 A rating may not remain in effect for any given
                                                 period of time and the rating agency could lower or
                                                 withdraw the rating entirely in the future. For
                                                 example, the rating agency could lower or withdraw
                                                 its rating due to:

                                                         a decrease in the adequacy of the value of the
                                                         trust assets or any related credit enhancement,

                                                         an adverse change in the financial or other
                                                         condition of a credit enhancement provider, or

                                                         a change in the rating of the credit
                                                         enhancement provider's long term debt.

                                                 The amount, type and nature of credit enhancement
                                                 established for a class of securities will be
                                                 determined based on criteria established by each
                                                 rating agency rating classes of that series. These
                                                 criteria are sometimes based upon an actuarial
                                                 analysis of the behavior of similar loans in a larger
                                                 group. That analysis is often the basis upon which
                                                 each rating agency determines the amount of credit
                                                 enhancement required for a class. The historical
                                                 data supporting any actuarial analysis may not
                                                 accurately reflect future experience, and the data
                                                 derived from a large pool of similar loans may not
                                                 accurately predict the delinquency, foreclosure or
                                                 loss experience of any particular pool of loans.
                                                 Properties may not retain their values. If residential
                                                 real estate markets experience an overall decline in
                                                 property values such that the outstanding principal
                                                 balances of the loans in a particular trust fund and

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                                                                      any secondary financing on the related properties
                                                                      become equal to or greater than the value of the
                                                                      properties, the rates of delinquencies, foreclosures
                                                                      and losses could be higher than those now generally
                                                                      experienced in the mortgage lending industry. In
                                                                      addition, adverse economic conditions may prevent
                                                                      certain mortgagors from making timely payments
                                                                      on their loans. If that happens, the rates of
                                                                      delinquencies, foreclosures and losses in any trust
                                                                      fund may increase. If these losses are not covered
                                                                      by a credit enhancement, they will be borne, at least
                                                                      in part, by the holders of one or more classes of
                                                                      securities of the related series.

           Risks Associated With the
           Book-Entry Registration of Securities

                 Limit on Liquidity..................................... Securities issued in book-entry form may have only
                                                                         limited liquidity in the resale market because
                                                                         investors may not want to buy securities for which
                                                                         they may not be able to obtain physical instruments.

                 Limit on Ability to Transfer
                 or Pledge.................................................... Transactions in book-entry securities can be effected
                                                                               only through The Depository Trust Company, its
                                                                               participating organizations, its indirect participants
                                                                               and certain banks. Therefore, your ability to transfer
                                                                               or pledge securities issued in book-entry form may
                                                                               be limited.

                 Delays in Distributions............................. You may experience some delay in rece1vmg
                                                                      distributions on book-entry securities because the
                                                                      trustee will send the distributions to The Depository
                                                                      Trust Company for it to credit the accounts of its
                                                                      participants. In tum, these participants will then
                                                                      credit the distributions to your account either
                                                                      directly or indirectly through indirect participants.

           Pre-Funding Accounts

                 Pre-Funding Accounts Will Not
                 Be Used to Cover Losses on
                 The Loans .................................................. The prospectus supplement for a series of securities
                                                                              may provide that on the closing date for that series,
                                                                              the depositor will deposit cash into a pre-funding
                                                                              account. The amount deposited into the pre-funding
                                                                              account will never exceed 50% of the initial
                                                                              aggregate principal amount of the certificates and/or
                                                                              notes of the related series. The pre-funding account

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                                                                      will only be used to purchase additional loans from
                                                                      the depositor during the period beginning with the
                                                                      related closing date and ending not more than one
                                                                      year after the closing date. The depositor will
                                                                      acquire these additional loans from the seller or
                                                                      sellers specified in the related prospectus
                                                                      supplement. The trustee for the related series will
                                                                      maintain the pre-funding account. Amounts on
                                                                      deposit in the pre-funding account will not be used
                                                                      to cover losses on or in respect of the related loans.

           Unused Amounts on
           Deposit in Any Pre-Funding Account
           Will Be Paid as Principal to
           Securityholders................................................ Any amounts remaining in a pre-funding account at
                                                                           the end of the period specified in the applicable
                                                                           prospectus supplement will be distributed as a
                                                                           prepayment of principal             to   the    related
                                                                           securityholders on the first distribution date after the
                                                                           end of that period. Any such distribution will be
                                                                           made in the amounts and according to the priorities
                                                                           specified in the related prospectus supplement. The
                                                                           holders of one or more classes of the related series
                                                                           of securities will bear the entire reinvestment risk
                                                                           resulting from that prepayment.

           Bankruptcy or Insolvency May
           Affect the Timing and Amount
           Of Distributions On the
           Securities.......................................................... The seller and the depositor will treat the transfer of
                                                                                the loans held in the trust fund by the seller to the
                                                                                depositor as a sale for accounting purposes. The
                                                                                depositor and the trust fund will treat the transfer of
                                                                                the loans from the depositor to the trust fund as a
                                                                                sale    for    accounting      purposes.     If these
                                                                                characterizations are correct, then if the seller were
                                                                                to become bankrupt, the loans would not be part of
                                                                                the seller's bankruptcy estate and would not be
                                                                                available to the seller's creditors. On the other hand,
                                                                                if the seller becomes bankrupt, its bankruptcy
                                                                                trustee or one of its creditor's may attempt to
                                                                                recharacterize the sale of the loans as a borrowing
                                                                                by the seller, secured by a pledge of the loans.
                                                                                Presenting this position to a bankruptcy court could
                                                                                prevent timely payments on the securities and even
                                                                                reduce the payments on the securities. Similarly, if
                                                                                the characterizations of the transfers as sales are
                                                                                correct, then if the depositor were to become
                                                                                bankrupt, the loans would not be part of the

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                                                 depositor's bankruptcy estate and would not be
                                                 available to the depositor's creditors. On the other
                                                 hand, if the depositor becomes bankrupt, its
                                                 bankruptcy trustee or one of its creditor's may
                                                 attempt to recharacterize the sale of the loans as a
                                                 borrowing by the depositor, secured by a pledge of
                                                 the loans. Presenting this position to a bankruptcy
                                                 court could prevent timely payments on the
                                                 securities and even reduce the payments on the
                                                 securities.

                                                 If the servicer becomes bankrupt, the bankruptcy
                                                 trustee may have the power to prevent the
                                                 appointment of a successor servicer. The period
                                                 during which cash collections may be commingled
                                                 with the servicer' s own funds before each
                                                 distribution date for securities will be specified in
                                                 the applicable prospectus supplement. If the servicer
                                                 becomes bankrupt and cash collections have been
                                                 commingled with the servicer's own funds for at
                                                 least ten days, the trust fund will probably not have
                                                 a perfected interest in those collections. In this case
                                                 the trust might be an unsecured creditor of the
                                                 servicer as to the commingled funds and could
                                                 recover only its share as a general creditor, which
                                                 might be nothing. Collections commingled less than
                                                 ten days but still in an account of the servicer might
                                                 also be included in the bankruptcy estate of the
                                                 servicer even though the trust may have a perfected
                                                 security interest in them. Their inclusion in the
                                                 bankruptcy estate of the servicer may result in
                                                 delays in payment and failure to pay amounts due
                                                 on the securities.

                                                 Federal and state statutory proVIsions affording
                                                 protection or relief to distressed borrowers may
                                                 affect the ability of the secured mortgage lender to
                                                 realize upon its security in other situations as well.
                                                 For example, in a proceeding under the federal
                                                 Bankruptcy Code, a lender may not foreclose on a
                                                 property without the permission of the bankruptcy
                                                 court. Additionally, in certain instances a
                                                 bankruptcy court may allow a borrower to reduce
                                                 the monthly payments, change the rate of interest,
                                                 and alter the loan repayment schedule for under-
                                                 collateralized loans. The effect of these types of
                                                 proceedings can be to cause delays in receiving
                                                 payments on the loans underlying securities and


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                                                                 even to reduce the aggregate amount of payments
                                                                 on the loans underlying securities.

           Holders of Original Issue
           Discount Securities Are Required
           To Include Original Issue
           Discount in Ordinary Gross
           Income As It Accrues...................................... Debt securities that are compound interest securities
                                                                      will be, and certain other debt may be, securities
                                                                      issued with original issue income discount for
                                                                      federal tax purposes. A holder of debt securities
                                                                      issued with original issue discount is required to
                                                                      include original issue discount in ordinary gross
                                                                      income for federal income tax purposes as it
                                                                      accrues, before receiving the cash attributable to that
                                                                      income. Accrued but unpaid interest on the debt
                                                                      securities that are compound interest securities
                                                                      generally will be treated as original issue discount
                                                                      for this purpose.

                                                                 See "Federal Income Tax Consequences-REMICs-
                                                                 Taxation of Owners of REMIC Regular
                                                                 Certificates" and "-Market Discount."

           Residual Interest in a Real
           Estate Mortgage Investment
           Conduit Has Adverse Tax
           Consequences

                 Inclusion of Taxable Income
                 in Excess of Cash Received...................... If you own a certificate that is a residual interest in a
                                                                  real estate mortgage investment conduit for federal
                                                                  income tax purposes, you will have to report on
                                                                  your income tax return as ordinary income your pro
                                                                  rata share of the taxable income of that REMIC,
                                                                  regardless of the amount or timing of your possible
                                                                  receipt of any cash on the certificate. As a result,
                                                                  your offered certificate may have phantom income
                                                                  early in the term of the REMIC because the taxable
                                                                  income from the certificate may exceed the amount
                                                                  of economic income, if any, attributable to the
                                                                  certificate. Although you will have a corresponding
                                                                  amount of tax losses later in the term of the REMIC,
                                                                  the present value of the phantom income may
                                                                  significantly exceed the present value of the tax
                                                                  losses. Therefore, the after-tax yield on any REMIC
                                                                  residual certificate may be significantly less than
                                                                  that of a corporate bond or other instrument having
                                                                  similar cash flow characteristics. In fact, some

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                                                                    offered certificates that are residual interests, may
                                                                    have a negative value.

                                                                    You have to report your share of the taxable income
                                                                    and net loss of the REMIC until all the certificates
                                                                    in the related series have a principal balance of zero.
                                                                    See "Federal Income Tax Consequences- REMICs-
                                                                    Taxation of Holders of REMIC Residual
                                                                    Certificates."

           Some Taxable Income of a
           Residual Interest Cannot Be Offset............... A portion of the taxable income from a REMIC
                                                             residual certificate may be treated as "excess
                                                             inclusion income"       as defined in the Internal
                                                             Revenue Code of 1986, as amended (the "Code").
                                                             You will have to pay tax on the excess inclusions
                                                             regardless of whether you have other credits,
                                                             deductions or losses. In particular, the tax on excess
                                                             inclusion income:

                                                                           generally will not be reduced by losses from
                                                                           other activities,

                                                                           for a tax-exempt holder, will be treated as
                                                                           unrelated business taxable income, and

                                                                           for a foreign holder, will not qualify for any
                                                                           exemption from withholding tax.

           Individuals, Estates, Trusts and
           Certain Pass-through Entities
           Should Not Invest in REMIC
           Residual Certificates .......................................... The fees and non-interest expenses of a REMIC will
                                                                            be allocated pro rata to certificates that are residual
                                                                            interests in the REMIC. However, individuals will
                                                                            only be able to deduct these expenses as
                                                                            miscellaneous itemized deductions, which are
                                                                            subject to numerous restrictions and limitations
                                                                            under the Code. Therefore, the certificates that are
                                                                            residual interests generally are not appropriate
                                                                            investments for:

                                                                           individuals,

                                                                           estates,

                                                                           trusts beneficially owned by any individual or
                                                                           estate, and



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                                                                            pass-through entities having any individual,
                                                                            estate or trust as a shareholder, member or
                                                                            partner.

                                                                     In addition, the REMIC residual certificates will be
                                                                     subject to numerous transfer restrictions. These
                                                                     restrictions will reduce your ability to liquidate a
                                                                     REMIC residual certificate. For example, unless we
                                                                     indicate otherwise in the related prospectus
                                                                     supplement, you will not be able to transfer a
                                                                     REMIC residual certificate to a foreign person
                                                                     under the Code or to an entity treated as a
                                                                     partnership under the Code, unless all of its
                                                                     beneficial owners are United States persons.

                                                                     See "Federal Income Tax Consequences
                                                                     REMICs-Taxation of Holders of REMIC Residual
                                                                     Certificates."

           The Principal Amount of
           Securities May Exceed the
           Market Value of the Trust
           Fund Assets...................................................... The market value of the assets relating to a series of
                                                                             securities at any time may be less than the principal
                                                                             amount of the securities of that series then
                                                                             outstanding, plus accrued interest. After an event of
                                                                             default and a sale of the assets relating to a series of
                                                                             securities, the trustee, the servicer, the credit
                                                                             enhancer, if any, and any other service provider
                                                                             specified in the related prospectus supplement
                                                                             generally will be entitled to receive the proceeds of
                                                                             that sale to the extent of unpaid fees and other
                                                                             amounts owing to them under the related transaction
                                                                             documents       before      any     distributions     to
                                                                             securityholders. Upon any such sale, the proceeds
                                                                             may be insufficient to pay in full the principal of
                                                                             and interest on the securities of the related series.

           Derivative Transactions.................................. A trust fund may enter into privately negotiated,
                                                                     over-the-counter hedging transactions with various
                                                                     counterparties for the purpose of effectively fixing
                                                                     the interest rate it pays on one or more borrowings
                                                                     or series of borrowings. These transactions may
                                                                     include such instruments as interest rate and
                                                                     securities-based swaps, caps, collars and floors, and
                                                                     are referred to as derivative transactions.

           Credit Risks..................................................... If a trust fund enters into derivative transactions, it
                                                                             is expected to do so with banks, financial

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                                                                     institutions and recognized dealers in derivative
                                                                     transactions. Entering into a derivative transaction
                                                                     directly with a counterparty subjects a trust fund to
                                                                     the credit risk that the counterparty may default on
                                                                     its obligation to the trust fund. By contrast, in
                                                                     transactions done through exchange markets, credit
                                                                     risk is reduced by the collection of variation margin
                                                                     and by the interposition of a clearing organization as
                                                                     the guarantor of all transactions. Clearing
                                                                     organizations transform the credit risk of individual
                                                                     counterparties into the more remote risk of the
                                                                     failure of the clearing organization. In addition, the
                                                                     financial integrity of over-the-counter derivative
                                                                     transactions is generally unsupported by other
                                                                     regulatory or self-regulatory protections such as
                                                                     margin requirements, capital requirements, or
                                                                     financial compliance programs. Therefore, the risk
                                                                     of default is much greater in an over-the-counter,
                                                                     privately negotiated derivative transaction than in an
                                                                     exchange-traded transaction. In the case of a default,
                                                                     the related trust fund will be limited to contractual
                                                                     remedies under the agreements governing that
                                                                     derivative transaction. These remedies may be
                                                                     limited by bankruptcy, insolvency or similar laws.

           Legal Enforceability Risks............................. Privately negotiated, over-the-counter derivative
                                                                   transactions also may subject a trust fund to the
                                                                   following risks:

                                                                            if the counterparty does not have the legal
                                                                            capacity to enter into or perform its
                                                                            obligations under the transaction, the
                                                                            transaction would be unenforceable,

                                                                            if a court or regulatory body ruled that classes
                                                                            of derivative transactions were unlawful or not
                                                                            in compliance with applicable laws or
                                                                            regulations, those transactions would be
                                                                            invalid and unenforceable, or

                                                                            if new legislation changed the legal,
                                                                            regulatory or tax status of derivative
                                                                            transactions, those changes might be
                                                                            detrimental to the related trust fund's interests.

           Basis Risk......................................................... Using derivative transactions successfully depends
                                                                               upon the ability to predict movements of securities
                                                                               or interest rate markets. There might be an imperfect
                                                                               correlation, or even no correlation, between price

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                                                 movements of a derivative transaction and price
                                                 movements of the investments or instruments being
                                                 hedged. If a trust fund enters into derivative
                                                 transactions at the wrong time, or if market
                                                 conditions are not predicted accurately, the
                                                 derivative transaction may result in a substantial
                                                 loss to that trust fund and the related
                                                 securityholders.

                                                 Certain capitalized terms are used in this prospectus to
                                                 assist you in understanding the terms ofthe securities.
                                                 The capitalized terms used in this prospectus are
                                                 defined on the pages indicated under the caption
                                                 "Index of Defined Terms" beginning on page 166.




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                                              Description of the Trust Funds

           Assets

                   The primary assets of each trust fund (the "Assets") will include some or all of the following
           types of assets:

                    •   loans on residential properties, which may include Home Equity Loans, home
                            improvement contracts and Land Sale Contracts (each as defined in this prospectus);

                    •   home improvement installment sales contracts or installment loans that are unsecured
                           called unsecured home improvement loans;

                    •   manufactured housing installment sale contracts or installment loan agreements referred
                           to as contracts;

                    •   any combination of "fully modified pass-through" mortgage-backed certificates guaranteed
                            by the Government National Mortgage Association ("Ginnie Mae"), guaranteed
                            mortgage pass-through securities issued by Fannie Mae ("Fannie Mae") and mortgage
                            participation certificates issued by the Federal Home Loan Mortgage Corporation
                            ("Freddie Mac") (collectively, "Agency Securities");

                    •   previously issued asset-backed certificates, collateralized mortgage obligations or
                            participation certificates (each, and collectively, "Mortgage Securities") evidencing
                            interests in, or collateralized by, loans or Agency Securities;

                    •   a combination of loans, unsecured home improvement loans, contracts, Agency
                           Securities and/or Mortgage Securities; or

                    •   reinvestment income, reserve funds, cash accounts, swaps and other derivatives that are
                            described in this prospectus.

                    The loans will not be guaranteed or insured by Nomura Home Equity Loan, Inc. or any of its
           affiliates. The loans will be guaranteed or insured by a governmental agency or instrumentality or
           other person only if and to the extent expressly provided in the prospectus supplement. The depositor
           will select each Asset to include in a trust fund from among those it has purchased, either directly or
           indirectly, from a prior holder (an "Asset Seller"), which may be an affiliate of the depositor and
           which prior holder may or may not be the originator of that loan. As to each series of securities, the
           loans will be selected for inclusion in the mortgage pool based on rating agency criteria, compliance
           with representations and warranties, and conformity to criteria relating to the characterization of
           securities for tax, ERISA, SMMEA, Form S-3 eligibility and other legal purposes.

                 The Assets included in the trust fund for your series may be subject to various types of
           payment provisions:

                           "Level Payment Assets, which may provide for the payment of interest, and full
           repayment of principal, in level monthly payments with a fixed rate of interest computed on their
           declining principal balances;



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                            "Adjustable Rate Assets," which may provide for periodic adjustments to their rates
           of interest to equal the sum of a fixed margin and an index;

                           "Buy Down Assets," which are Assets for which funds have been provided by someone
                           other than the related borrowers to reduce the borrowers' monthly payments during the
                           early period after origination of those Assets;

                           "Increasing Payment Assets," as described below;

                           "Interest Reduction Assets," which provide for the one-time reduction of the interest
           rate payable on these Assets;

                           "GEM Assets," which provide for (1) monthly payments during the first year after
           origination that are at least sufficient to pay interest due on these Assets, and (2) an increase in those
           monthly payments in later years at a predetermined rate resulting in full repayment over a shorter
           term than the initial amortization terms of those Assets;

                            "GPM Assets," which allow for payments during a portion of their terms which are or
           may be less than the amount of interest due on their unpaid principal balances, and this unpaid
           interest will be added to the principal balances of those Assets and will be paid, together with interest
           on the unpaid interest, in later years;

                           "Step-up Rate Assets" which provide for interest rates that increase over time;

                           "Balloon Payment Assets;"

                           "Convertible Assets" which are Adjustable Rate Assets subject to provisions pursuant
           to which, subject to limitations, the related borrowers may exercise an option to convert the
           adjustable interest rate to a fixed interest rate; and

                           "Bi-weekly Assets," which provide for payments to be made by borrowers on a bi-
           weekly basis.

                   An "Increasing Payment Asset" is an Asset that provides for monthly payments that are fixed
           for an initial period to be specified in the prospectus supplement and which increase thereafter (at a
           predetermined rate expressed as a percentage of the monthly payment during the preceding payment
           period, subject to any caps on the amount of any single monthly payment increase) for a period to be
           specified in the prospectus supplement from the date of origination, after which the monthly payment
           is fixed at a level-payment amount so as to fully amortize the Asset over its remaining term to
           maturity. The scheduled monthly payment for an Increasing Payment Asset is the total amount
           required to be paid each month in accordance with its terms and equals the sum of (1) the borrower's
           monthly payments referred to in the preceding sentence and (2) payments made by the respective
           servicers pursuant to buy-down or subsidy agreements. The borrower's initial monthly payments for
           each Increasing Payment Asset are set at the level-payment amount that would apply to an otherwise
           identical Level Payment Asset having an interest rate some number of percentage points below the
           Asset Rate of that Increasing Payment Asset. The borrower's monthly payments on each Increasing
           Payment Asset, together with any payments made on the Increasing Payment Asset by the related
           servicers pursuant to buy-down or subsidy agreements, will in all cases be sufficient to allow
           payment of accrued interest on the Increasing Payment Asset at the related interest rate, without
           negative amortization. A borrower's monthly payments on an Increasing Payment Asset may,

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           however, not be sufficient to result in any reduction of the principal balance of that Asset until after
           the period when those payments may be increased.

                   The Notes or Certificates, as applicable, will be entitled to payment only from the assets of
           the related trust fund and will not be entitled to payments from the assets of any other trust fund
           established by the depositor. The assets of a trust fund may consist of certificates representing
           beneficial ownership interests in, or indebtedness of, another trust fund that contains the Assets, if
           specified in the prospectus supplement.

           Loans

                   General

                   The loans will consist of single family loans, multifamily loans, mixed-use loans, closed-end
           second-lien loans and lot loans. If specified in the related prospectus supplement, the loans may
           include cooperative apartment loans ("cooperative loans") secured by security interests in shares
           issued by private, non-profit, cooperative housing corporations ("cooperatives") and in the related
           proprietary leases or occupancy agreements granting exclusive rights to occupy specific dwelling
           units in the cooperatives' buildings. The loans will be secured by first and/or junior mortgages or
           deeds of trust or other similar security instruments creating a first or junior lien on the related
           mortgaged property (the "Mortgaged Properties").

                   The loans may include:

                         Closed-end and/or revolving home equity loans or balances of these home equity
           loans ("Home Equity Loans");

                         Secured home improvement installment sales contracts and secured installment loan
           agreements, known as home improvement contracts; and

                          Loans evidenced by contracts ("Land Sale Contracts") for the sale of properties
           pursuant to which the borrower promises to pay the amount due on the loans to the holder of the
           Land Sale Contract with fee title to the related property held by that holder until the borrower has
           made all of the payments required pursuant to that Land Sale Contract, at which time fee title is
           conveyed to the borrower.

                  The Mortgaged Properties may also include leasehold interests in properties, the title to
           which is held by third party lessors. The term of these leaseholds will exceed the term of the related
           mortgage note by at least five years or some other time period specified in the prospectus
           supplement.

                   The originator of each loan will have been a person other than the depositor. The prospectus
           supplement will indicate if any originator is an affiliate of the depositor. The loans will be evidenced
           by mortgage notes secured by mortgages, deeds of trust or other security instruments (the
           "Mortgages") creating a lien on the Mortgaged Properties. The Mortgaged Properties will be located
           in any one of the fifty states, the District of Columbia, Guam, Puerto Rico or any other territory of
           the United States. If provided in the prospectus supplement, the loans may include loans insured by
           the Federal Housing Administration (the "FHA") or partially guaranteed by the Veteran's
           Administration (the "VA"). See "-FHA Loans and VA Loans" below.


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                   FICO Scores

                   The FICO Score is a statistical ranking of likely future credit performance developed by Fair,
           Isaac & Company ("Fair, Isaac") and the three national credit repositories-Equifax, Trans Union and
           First American (formerly Experian which was formerly TRW). The FICO Scores available from the
           three national credit repositories are calculated by the assignment of weightings to the most
           predictive data collected by the credit repositories and range from the 300's to the 900's. Although
           the FICO Scores are based solely on the information at the particular credit repository, such FICO
           Scores have been calibrated to indicate the same level of credit risk regardless of which credit
           repository is used. The FICO Scores is used along with, but not limited to, mortgage payment
           history, seasoning on bankruptcy and/or foreclosure, and is not a substitute for the underwriter's
           judgment.

                   Loan-to-Value Ratio

                    The "Loan-to-Value Ratio" of a loan at any particular time is the ratio (expressed as a
           percentage) of the then outstanding principal balance of the loan to the Value of the related
           Mortgaged Property. The "Value" of a Mortgaged Property, other than for Refinance Loans, is
           generally the lesser of (a) the appraised value determined in an appraisal obtained by the originator at
           origination of that loan and (b) the sales price for that property. "Refinance Loans" are loans made to
           refinance existing loans. Unless otherwise specified in the prospectus supplement, the Value of the
           Mortgaged Property securing a Refinance Loan is the appraised value of the Mortgaged Property
           determined in an appraisal obtained at the time of origination of the Refinance Loan. The value of a
           Mortgaged Property as of the date of initial issuance of the related series may be less than the Value
           at origination and will fluctuate from time to time based upon changes in economic conditions and
           the real estate market.

                   Mortgage Loan Infonnation in the Prospectus Supplements

                   Your prospectus supplement will contain information, as of the dates specified in that
           prospectus supplement and to the extent then applicable and specifically known to the depositor, with
           respect to the loans, including:

                          the total outstanding principal balance and the largest, smallest and average
           outstanding principal balance of the loans as of, unless otherwise specified in that prospectus
           supplement, the close of business on the first day of the month of formation of the related trust fund
           (the "Cut-offDate");

                           the type of property securing the loans;

                           the weighted average (by principal balance) of the original and remaining terms to
           maturity of the loans;

                           the range of maturity dates of the loans;

                           the range of the Loan-to-Value Ratios at origination of the loans;

                           the mortgage rates or range of mortgage rates and the weighted average mortgage rate
           borne by the loans;


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                          the state or states in which most of the Mortgaged Properties are located;

                          information regarding the prepayment provisions, if any, of the loans;

                           for loans with adjustable mortgage rates ("ARM Loans"), the index, the frequency of
           the adjustment dates, the range of margins added to the index, and the maximum mortgage rate or
           monthly payment variation at the time of any adjustment of and over the life of the ARM Loan. The
           index with respect to an ARM Loan will be of a type that is customarily used in the debt and fixed
           income markets to measure the cost of borrowed funds, and may include one of the following
           indexes: (1) the weekly average yield on U.S. Treasury securities adjusted to a constant maturity of
           either six months or one year, (2) the weekly auction average investment yield of U.S. Treasury bills
           of six months, (3) the daily Bank Prime Loan rate made available by the Federal Reserve Board, (4)
           the cost of funds of member institutions for the Federal Home Loan Bank of San Francisco, (5) the
           interbank offered rates for U.S. dollar deposits in the London market, each calculated as of a date
           prior to each scheduled interest rate adjustment date which will be specified in the related prospectus
           supplement or (6) any other index described in the related prospectus supplement;

                         information regarding the payment characteristics of the loans, including balloon
           payment and other amortization provisions;

                         the number of loans that are delinquent and the number of days or ranges of the
           number of days those loans are delinquent; and

                          the material underwriting standards used for the loans.

                    If specific information respecting the loans is unknown to the depositor at the time the Notes
           or Certificates, as applicable, are initially offered, more general information of the nature described
           above will be provided in the prospectus supplement, and specific information will be set forth in a
           report that will be available to purchasers of the related Notes or Certificates, as applicable, at or
           before the initial issuance of that Security and will be filed as part of a Current Report on Form 8-K
           with the Securities and Exchange Commission (the "Commission") within fifteen days after that
           initial issuance. The characteristics of the loans included in a trust fund will not vary by more than
           five percent (by total principal balance as of the Cut-off Date) from the characteristics of the loans
           that are described in the prospectus supplement. In the event that mortgage loans are added to or
           deleted from the trust fund after the date of the related prospectus supplement but on or before the
           date of issuance of the securities if any material pool characteristic differs by 5% or more from the
           description in the prospectus supplement, revised disclosure will be provided either in a supplement
           or in a Current Report on Form 8-K.

                   The prospectus supplement will specify whether the loans include (1) Home Equity Loans,
           which may be secured by Mortgages that are junior to other liens on the related Mortgaged Property
           and/or (2) home improvement contracts originated by a home improvement contractor and secured
           by a mortgage on the related mortgaged property that is junior to other liens on the mortgaged
           property. The home improvements purchased with the home improvement contracts typically include
           replacement windows, house siding, roofs, swimming pools, satellite dishes, kitchen and bathroom
           remodeling goods, solar heating panels, patios, decks, room additions and garages. The prospectus
           supplement will specify whether the home improvement contracts are FHA loans and, if so, the
           limitations on any FHA insurance. In addition, the prospectus supplement will specify whether the
           loans contain some mortgage loans evidenced by Land Sale Contracts.

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                   Payment Provisions of the Loans

                    All of the loans will provide for payments of principal, interest or both, on due dates that
           occur monthly, quarterly or semi-annually or at some other interval as is specified in the prospectus
           supplement or for payments in another manner described in the prospectus supplement. Each loan
           may provide for no accrual of interest or for accrual of interest on the loan at a mortgage rate that is
           fixed over its term or that adjusts from time to time, or that may be converted from an adjustable to a
           fixed mortgage rate or a different adjustable mortgage rate, or from a fixed to an adjustable mortgage
           rate, from time to time pursuant to an election or as otherwise specified in the related mortgage note,
           in each case as described in the prospectus supplement. Each loan may provide for scheduled
           payments to maturity or payments that adjust from time to time to accommodate changes in the
           mortgage rate or to reflect the occurrence of particular events or that adjust on the basis of other
           methodologies, and may provide for negative amortization or accelerated amortization, in each case
           as described in the prospectus supplement. Each loan may be fully amortizing or require a balloon
           payment due on its stated maturity date, in each case as described in the prospectus supplement. Each
           loan may contain prohibitions on prepayment (a "Lockout Period" and, the date of expiration thereof,
           a "Lock-out Date") or require payment of a premium or a yield maintenance penalty (a "Prepayment
           Premium") in connection with a prepayment, in each case as described in the prospectus supplement.
           If the holders of any class or classes of Offered Notes or Offered Certificates, as applicable, are
           entitled to all or a portion of any Prepayment Premiums collected from the loans, the prospectus
           supplement will specify the method or methods by which any of these amounts will be allocated. See
           "-Assets" above.

                   Single Family Loans

                    The properties relating to single family loans will consist of detached or semi-detached one-
           to four-family dwelling units, townhouses, rowhouses, individual condominium units, individual
           units in planned unit developments, manufactured housing that is permanently affixed and treated as
           real property under local law, security interests in shares issued by cooperative housing corporations,
           and certain other dwelling units ("Single Family Properties"). Single Family Properties may include
           vacation and second homes, investment properties and leasehold interests. In the case of leasehold
           interests the related prospectus supplement may specify the leasehold term, but if it does not, the
           stated term of the leasehold will be at least as long as the stated term of the loan.

                   Multifamily Loans

                   Properties securing multifamily loans may include small multifamily residential properties
           such as rental apartment buildings or projects containing five to fifty residential units, including mid-
           rise and garden apartments. Certain of the multifamily loans may be secured by apartment buildings
           owned by cooperatives. The cooperative owns all the apartment units in the building and all common
           areas. The cooperative is owned by tenant-stockholders who, through ownership of stock, shares or
           membership certificates in the corporation, receive proprietary leases or occupancy agreements
           conferring exclusive rights to occupy specific apartments or units. Generally, a tenant-stockholder of
           a cooperative makes a monthly payment to the cooperative representing that tenant-stockholder's pro
           rata share of the cooperative's payments for its loan, real property taxes, maintenance expenses and
           other capital or ordinary expenses. That monthly payment is in addition to any payments of principal
           and interest the tenant-stockholder makes on any loans to the tenant-stockholder secured by its shares
           in the cooperative. The cooperative will be directly responsible for building management and, in
           most cases, payment of real estate taxes and hazard and liability insurance. A cooperative's ability to

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           meet debt service obligations on a multifamily loan, as well as all other operating expenses, will
           depend in large part on its receipt of maintenance payments from the tenant-stockholders, as well as
           any rental income from units the cooperative controls. Unanticipated expenditures may in some cases
           have to be paid by special assessments on the tenant-stockholders. No more than 10% of the
           aggregate Trust Fund Assets for any series, as constituted at the time of the applicable cut-off date
           (measured by principal balance), will be comprised of multifamily loans.

                   Mixed-Use Loans

                   The properties securing mixed-use loans will be improved by structures that have both
           residential and commercial units. No more than 10% of the aggregate Trust Fund Assets for any
           series, as constituted at the applicable cut-off date (measured by principal balance), will be
           comprised of mixed-use loans.

                   Closed-End Second-Lien Loans

                   The properties relating to closed-end second-lien loans will be Single Family Properties. The
           full amount of a closed-end second-lien loan is advanced at the inception of the loan and generally is
           repayable in equal (or substantially equal) installments designed to fully amortize the loan at its
           stated maturity. Except as provided in the related prospectus supplement, the original terms to stated
           maturity of closed-end second-lien loans will not exceed 360 months. With respect to certain
           circumstances, a borrower may choose an interest only payment option whereby the borrower pays
           only the amount of interest accrued on the loan during the billing cycle. An interest only payment
           option may be available for a specified period before the borrower must begin paying at least the
           minimum monthly payment of a specified percentage of the average outstanding balance of the loan.

                   Revolving Credit Line Loans

                   As more fully described in the prospectus supplement, the loans may consist, in whole or in
           part, of revolving Home Equity Loans or balances of these Home Equity Loans ("Revolving Credit
           Line Loans"). Interest on each Revolving Credit Line Loan, excluding introductory rates offered
           from time to time during promotional periods, may be computed and payable monthly on the average
           daily outstanding principal balance of that loan. From time to time before the expiration of the related
           draw period specified in a Revolving Credit Line Loan, principal amounts on that Revolving Credit
           Line Loan may be drawn down (up to a maximum amount as set forth in the prospectus supplement)
           or repaid. If specified in the prospectus supplement, new draws by borrowers under the Revolving
           Credit Line Loans will automatically become part of the trust fund described in the prospectus
           supplement. As a result, the total balance of the Revolving Credit Line Loans will fluctuate from day
           to day as new draws by borrowers are added to the trust fund and principal payments are applied to
           those balances and those amounts will usually differ each day, as more specifically described in the
           prospectus supplement. Under some circumstances, under a Revolving Credit Line Loan, a borrower
           may, during the related draw period, choose an interest only payment option, during which the
           borrower is obligated to pay only the amount of interest that accrues on the loan during the billing
           cycle, and may also elect to pay all or a portion of the principal. An interest only payment option may
           terminate at the end of the related draw period, after which the borrower must begin paying at least a
           minimum monthly portion of the average outstanding principal balance of the loan.




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                   Lot Loans

                   These loans provide short-term financing for borrowers buying a parcel of land that has been
           improved for residential use with the intention of building a home thereon. Each lot loan is secured
           by a parcel of land that has been improved for residential use, which generally means that it is legally
           accessible by street and utilities such as sewer, electricity and water have been brought to the parcel
           or are available in the street, but a dwelling has not yet been built thereon.

                   Home Improvement Contracts

                   The Trust Fund Assets for a series of securities may consist, in whole or in part, of home
           improvement contracts originated by a home improvement contractor, a thrift or a commercial
           mortgage banker in the ordinary course of business. The home improvements securing the home
           improvement contracts may include, but are not limited to, replacement windows, house siding, new
           roofs, swimming pools, spas, kitchen and bathroom remodeling goods, solar heating panels and other
           exterior and interior renovations and general remodeling projects. The home improvement contracts
           will be secured by mortgages on Single Family Properties that are generally subordinate to other
           mortgages on the same Property. In general, the home improvement contracts will be fully
           amortizing and may have fixed interest rates or adjustable interest rates and may provide for other
           payment characteristics as described below and in the related prospectus supplement. The initial
           Loan-to-Value Ratio of a home improvement contract is computed in the manner described in the
           related prospectus supplement.

                   Unsecured Home Improvement Loans

                  The unsecured home improvement loans may consist of conventional unsecured home
           improvement loans, unsecured installment loans and unsecured home improvement loans that are
           FHA loans. Except as otherwise described in the prospectus supplement, the unsecured home
           improvement loans will be fully amortizing and will bear interest at a fixed or variable annual
           percentage rate.

                   Unsecured Home Improvement Loan Infonnation in Prospectus Supplements

                   Each prospectus supplement will contain information, as of the dates specified in the
           prospectus supplement and to the extent then applicable and specifically known to the depositor, with
           respect to any unsecured home improvement loans, including:

                          the total outstanding principal balance and the largest, smallest and average
           outstanding principal balance of the unsecured home improvement loans as of the applicable cut-off
           date;

                           the weighted average, by principal balance, of the original and remaining terms to
           maturity of the unsecured home improvement loans;

                         the earliest and latest origination date and maturity date of the unsecured home
           improvements loans;

                          the interest rates or range of interest rates and the weighted average interest rates
           borne by the unsecured home improvement loans;


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                           the state or states in which most of the unsecured home improvement loans were
           originated;

                         information regarding the prepayment provisions, if any, of the unsecured home
           improvement loans;

                           with respect to the unsecured home improvement loans with adjustable interest rates,
           called ARM unsecured home improvement loans, the index, the frequency of the adjustment dates,
           the range of margins added to the index, and the maximum interest rate or monthly payment variation
           at the time of any adjustment thereof and over the life of the ARM unsecured home improvement
           loan;

                         information      regarding the payment characteristics of the             unsecured home
           improvement loans;

                           the number of unsecured home improvement loans that are delinquent and the
           number of days or ranges of the number of days that such unsecured home improvement loans are
           delinquent; and

                           the material underwriting standards used for the unsecured home improvement loans.

                   If specific information respecting the unsecured home improvement loans is unknown to the
           depositor at the time Notes or Certificates, as applicable, are initially offered, more general
           information of the nature described above will be provided in the prospectus supplement, and
           specific information will be set forth in a report that will be available to purchasers of the related
           Notes or Certificates, as applicable, at or before the initial issuance thereof and will be filed as part of
           a Current Report on Form 8-K with the Commission within fifteen days after the related initial
           Issuance.

           Contracts

                   General

                   To the extent provided in the prospectus supplement, each contract will be secured by a
           security interest in a new or used manufactured home, called a Manufactured Home. The contracts
           may include contracts that are FHA loans. The method of computing the Loan-to-Value Ratio of a
           contract will be described in the prospectus supplement.

                   Contract Infonnation in Prospectus Supplements

                   Each prospectus supplement relating to a trust fund whose assets include a substantial
           proportion of contracts will contain certain information, as of the dates specified in that prospectus
           supplement and to the extent then applicable and specifically known to the depositor, with respect to
           any contracts, including:

                          the total outstanding principal balance and the largest, smallest and average
           outstanding principal balance of the contracts as of the applicable cut-off date;

                           whether the manufactured homes were new or used as of the origination of the related
           contracts;

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                           the weighted average, by principal balance, of the original and remaining terms to
           maturity of the contracts;

                           the range of maturity dates of the contracts;

                           the range of the Loan-to-Value Ratios at origination of the contracts;

                          the annual percentage rate on each contract, called a contract rate, or range of contract
           rates and the weighted average contract rate borne by the contracts;

                           the state or states in which most of the manufactured homes are located at origination;

                           information regarding the prepayment provisions, if any, of the contracts;

                            for contracts with adjustable contract rates, referred to as ARM contracts, the index,
           the frequency of the adjustment dates, and the maximum contract rate or monthly payment variation
           at the time of any adjustment thereof and over the life of the ARM contract;

                         the number of contracts that are delinquent and the number of days or ranges of the
           number of days those contracts are delinquent;

                           information regarding the payment characteristics of the contracts; and

                           the material underwriting standards used for the contracts.

                   If specific information respecting the contracts is unknown to the depositor at the time the
           Notes or Certificates, as applicable, are initially offered, more general information of the nature
           described above will be provided in the prospectus supplement, and specific information will be set
           forth in a report that will be available to purchasers of the related Notes or Certificates, as applicable,
           at or before the initial issuance thereof and will be filed as part of a Current Report on Form 8-K with
           the Commission within fifteen days after the related initial issuance. The characteristics of the
           contracts included in a trust fund will not vary by more than five percent (by total principal balance
           as of the cut-off date) from the characteristics thereof that are described in the prospectus
           supplement.

                   The information described above regarding the contracts in a trust fund may be presented in
           the prospectus supplement in combination with similar information regarding the loans in the trust
           fund.

                   Payment Provisions of the Contracts

                   All of the contracts will provide for payments of principal, interest or both, on due dates that
           occur monthly or at some other interval as is specified in the prospectus supplement or for payments
           in another manner described in the prospectus supplement. Each contract may provide for no accrual
           of interest or for accrual of interest thereon at a contract rate that is fixed over its term or that adjusts
           from time to time, or as otherwise specified in the prospectus supplement. Each contract may provide
           for scheduled payments to maturity or payments that adjust from time to time to accommodate
           changes in the contract rate as otherwise described in the prospectus supplement.



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           Agency Securities

                  The Agency Securities will consist of any combination of Ginnie Mae certificates, Fannie
           Mae certificates and Freddie Mac certificates, which may include Stripped Agency Securities, as
           described below.

                   Ginnie Mae

                   Ginnie Mae is a wholly-owned corporate instrumentality of the United States within the
           Department of Housing and Urban Development. Section 306(g) of Title III of the Housing Act
           authorizes Ginnie Mae to guarantee the timely payment of the principal of and interest on certificates
           that are based on and backed by a pool of FHA loans, VA loans or by pools of other eligible
           residential loans.

                   Section 306(g) of the Housing Act provides that "the full faith and credit of the United States
           is pledged to the payment of all amounts that may be required to be paid under any guaranty under
           this subsection." To meet its obligations under that guaranty, Ginnie Mae is authorized, under
           Section 306(d) of the National Housing Act of 1934 (the "Housing Act"), to borrow from the United
           States Treasury with no limitations as to amount, to perform its obligations under its guarantee.

                   Ginnie Mae Certificates

                    Each Ginnie Mae certificate will be a "fully modified pass-through" mortgage-backed
           certificate issued and serviced by an issuer approved by Ginnie Mae or Fannie Mae as a seller-
           servicer of FHA loans or VA loans, except as described below regarding Stripped Agency Securities
           (as defined below). The loans underlying Ginnie Mae certificates may consist of FHA loans, VA
           loans and other loans eligible for inclusion in loan pools underlying Ginnie Mae certificates. Ginnie
           Mae certificates may be issued under either or both of the Ginnie Mae I program and the Ginnie Mae
           II program, as described in the prospectus supplement. If the trust fund includes Ginnie Mae
           certificates, your prospectus supplement will include any material additional information regarding
           the Ginnie Mae guaranty program, the characteristics of the pool underlying those Ginnie Mae
           certificates, the servicing of the related pool, the payment of principal and interest on Ginnie Mae
           certificates and other relevant matters regarding the Ginnie Mae certificates.

                    Except as otherwise specified in the prospectus supplement or as described below with
           respect to Stripped Agency Securities, each Ginnie Mae certificate will provide for the payment, by
           or on behalf of the issuer, to the registered holder of that Ginnie Mae certificate of monthly payments
           of principal and interest equal to the holder's proportionate interest in the total amount of the
           monthly principal and interest payments on each related FHA loan or VA loan, minus servicing and
           guaranty fees totaling the excess of the interest on that FHA loan or VA loan over the Ginnie Mae
           certificates' interest rate. In addition, each payment to a holder of a Ginnie Mae certificate will
           include proportionate pass-through payments to that holder of any prepayments of principal of the
           FHA loans or VA loans underlying the Ginnie Mae certificate and the holder's proportionate interest
           in the remaining principal balance in the event of a foreclosure or other disposition of any related
           FHA loan or VA loan.

                   The Ginnie Mae certificates do not constitute a liability of, or evidence any recourse against,
           the issuer of the Ginnie Mae certificates, the depositor or any affiliates of the depositor, and the only
           recourse of a registered holder (for example, the trustee) is to enforce the guaranty of Ginnie Mae.

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                    Ginnie Mae will have approved the issuance of each of the Ginnie Mae certificates included
           in a trust fund in accordance with a guaranty agreement or contract between Ginnie Mae and the
           issuer of the Ginnie Mae certificates. Pursuant to that agreement, that issuer, in its capacity as
           servicer, is required to perform customary functions of a servicer of FHA loans and VA loans,
           including collecting payments from borrowers and remitting those collections to the registered
           holder, maintaining escrow and impoundment accounts of borrowers for payments of taxes,
           insurance and other items required to be paid by the borrower, maintaining primary hazard insurance,
           and advancing from its own funds to make timely payments of all amounts due on the Ginnie Mae
           certificate, even if the payments received by that issuer on the loans backing the Ginnie Mae
           certificate are less than the amounts due. If the issuer is unable to make payments on a Ginnie Mae
           certificate as they become due, it must promptly notify Ginnie Mae and request Ginnie Mae to make
           that payment. Upon that notification and request, Ginnie Mae will make those payments directly to
           the registered holder of the Ginnie Mae certificate. In the event no payment is made by the issuer and
           the issuer fails to notify and request Ginnie Mae to make that payment, the registered holder of the
           Ginnie Mae certificate has recourse against only Ginnie Mae to obtain that payment. The trustee or
           its nominee, as registered holder of the Ginnie Mae certificates included in a trust fund, is entitled to
           proceed directly against Ginnie Mae under the terms of the guaranty agreement or contract relating to
           the Ginnie Mae certificates for any amounts that are unpaid when due under each Ginnie Mae
           certificate.

                   The Ginnie Mae certificates included in a trust fund may have other characteristics and terms,
           different from those described above so long as the Ginnie Mae certificates and underlying
           residential loans meet the criteria of the rating agency or agencies. The Ginnie Mae certificates and
           underlying residential loans will be described in the prospectus supplement.

                   Fannie Mae

                   Fannie Mae is a federally chartered and stockholder-owned corporation organized and
           existing under the Federal National Mortgage Association Charter Act, as amended (the "Charter
           Act"). Fannie Mae was originally established in 1938 as a United States government agency to
           provide supplemental liquidity to the mortgage market and was transformed into a stockholder-
           owned and privately managed corporation by legislation enacted in 1968.

                   Fannie Mae provides funds to the mortgage market by purchasing mortgage loans from
           lenders. Fannie Mae acquires funds to purchase loans from many capital market investors, thus
           expanding the total amount of funds available for housing. Operating nationwide, Fannie Mae helps
           to redistribute mortgage funds from capital-surplus to capital-short areas. In addition, Fannie Mae
           issues mortgage-backed securities primarily in exchange for pools of mortgage loans from lenders.
           Fannie Mae receives fees for its guaranty of timely payment of principal and interest on its mortgage-
           backed securities.

                   Fannie Mae Certificates

                    Fannie Mae certificates are Guaranteed Mortgage Pass-Through Certificates typically issued
           pursuant to a prospectus that is periodically revised by Fannie Mae. Fannie Mae certificates represent
           fractional undivided interests in a pool of mortgage loans formed by Fannie Mae. Each mortgage
           loan must meet the applicable standards of the Fannie Mae purchase program. Mortgage loans
           comprising a pool are either provided by Fannie Mae from its own portfolio or purchased pursuant to
           the criteria of the Fannie Mae purchase program. Mortgage loans underlying Fannie Mae certificates

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           included in a trust fund will consist of conventional mortgage loans, FHA loans or VA loans. If the
           trust fund includes Fannie Mae certificates, your prospectus supplement will include any material
           additional information regarding the Fannie Mae program, the characteristics of the pool underlying
           the Fannie Mae certificates, the servicing of the related pool, payment of principal and interest on the
           Fannie Mae certificates and other relevant matters about the Fannie Mae certificates.

                    Except as described below with respect to Stripped Agency Securities, Fannie Mae
           guarantees to each registered holder of a Fannie Mae certificate that it will distribute amounts
           representing that holder's proportionate share of scheduled principal and interest at the applicable
           interest rate provided for by that Fannie Mae certificate on the underlying mortgage loans, whether or
           not received, and that holder's proportionate share of the full principal amount of any prepayment or
           foreclosed or other finally liquidated mortgage loan, whether or not the related principal amount is
           actually recovered.

                   The obligations of Fannie Mae under its guarantees are obligations solely of Fannie Mae and
           are not backed by, nor entitled to, the full faith and credit of the United States. If Fannie Mae were
           unable to satisfy those obligations, distributions to the holders of Fannie Mae certificates would
           consist solely of payments and other recoveries on the underlying loans and, accordingly, monthly
           distributions to the holders of Fannie Mae certificates would be affected by delinquent payments and
           defaults on those loans.

                    Fannie Mae certificates evidencing interests in pools of mortgage loans formed on or after
           May 1, 1985 (other than Fannie Mae certificates backed by pools containing graduated payment
           mortgage loans or multifamily loans) are available in book-entry form only. For a Fannie Mae
           certificate issued in book-entry form, distributions on the Fannie Mae certificate will be made by
           wire, and for a fully registered Fannie Mae certificate, distributions will be made by check.

                    The Fannie Mae certificates included in a trust fund may have other characteristics and terms,
           different from those described above, as long as the Fannie Mae certificates and underlying mortgage
           loans meet the criteria of the rating agency or agencies rating the Certificates. The Fannie Mae
           certificates and underlying mortgage loans will be described in the prospectus supplement.

                   Freddie Mac

                    Freddie Mac is a corporate instrumentality of the United States created pursuant to Title III of
           the Emergency Home Finance Act of 1970, as amended (the "Freddie Mac Act"). Freddie Mac was
           established primarily for the purpose of increasing the availability of mortgage credit for the
           financing of needed housing. It seeks to provide an enhanced degree of liquidity for residential
           mortgage investments primarily by assisting in the development of secondary markets for
           conventional mortgages. The principal activity of Freddie Mac currently consists of the purchase of
           first lien, conventional residential mortgage loans or participation interests in those mortgage loans
           and the resale of the mortgage loans so purchased in the form of mortgage securities, primarily
           Freddie Mac certificates. Freddie Mac is confined to purchasing, so far as practicable, mortgage
           loans and participation interests in mortgage loans which it deems to be of the quality, type and class
           as to meet generally the purchase standards imposed by private institutional mortgage investors.




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                   Freddie Mac Certificates

                    Each Freddie Mac certificate represents an undivided interest in a pool of residential loans
           that may consist of first lien conventional residential loans, FHA loans or VA loans (the "Freddie
           Mac Certificate Group"). Each of these mortgage loans must meet the applicable standards set forth
           in the Freddie Mac Act. A Freddie Mac Certificate Group may include whole loans, participation
           interests in whole loans and undivided interests in whole loans and/or participations comprising
           another Freddie Mac Certificate Group. If the trust fund includes Freddie Mac certificates, your
           prospectus supplement will include any material additional information regarding the Freddie Mac
           guaranty program, the characteristics of the pool underlying that Freddie Mac certificate, the
           servicing of the related pool, payment of principal and interest on the Freddie Mac certificate and any
           other relevant matters about the Freddie Mac certificates.

                    Except as described below with respect to Stripped Agency Securities, Freddie Mac
           guarantees to each registered holder of a Freddie Mac certificate the timely payment of interest on
           the underlying mortgage loans to the extent of the applicable interest rate on the registered holder's
           pro rata share of the unpaid principal balance outstanding on the underlying mortgage loans in the
           Freddie Mac Certificate Group represented by that Freddie Mac certificate, whether or not received.
           Freddie Mac also guarantees to each registered holder of a Freddie Mac certificate collection by that
           holder of all principal on the underlying mortgage loans, without any offset or deduction, to the
           extent of that holder's pro rata share of the principal, but does not, except if and to the extent
           specified in the prospectus supplement, guarantee the timely payment of scheduled principal.
           Pursuant to its guarantees, Freddie Mac also guarantees ultimate collection of scheduled principal
           payments, prepayments of principal and the remaining principal balance in the event of a foreclosure
           or other disposition of a mortgage loan. Freddie Mac may remit the amount due on account of its
           guarantee of collection of principal at any time after default on an underlying mortgage loan, but not
           later than 30 days following the latest of

                          (1)     foreclosure sale;

                          (2)     payment of the claim by any mortgage insurer; and

                          (3)     the expiration of any right of redemption, but in any event no later than one
                                  year after demand has been made upon the borrower for accelerated payment
                                  of principal.

                   In taking actions regarding the collection of principal after default on the mortgage loans
           underlying Freddie Mac certificates, including the timing of demand for acceleration, Freddie Mac
           reserves the right to exercise its servicing judgment for the mortgage loans in the same manner as for
           mortgage loans that it has purchased but not sold. The length of time necessary for Freddie Mac to
           determine that a mortgage loan should be accelerated varies with the particular circumstances of each
           borrower, and Freddie Mac has not adopted servicing standards that require that the demand be made
           within any specified period.

                   Freddie Mac certificates are not guaranteed by the United States or by any Federal Home
           Loan Bank and do not constitute debts or obligations of the United States or any Federal Home Loan
           Bank. The obligations of Freddie Mac under its guarantee are obligations solely of Freddie Mac and
           are not backed by, nor entitled to, the full faith and credit of the United States. If Freddie Mac were
           unable to satisfy those obligations, distributions to holders of Freddie Mac certificates would consist

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           solely of payments and other recoveries on the underlying mortgage loans and, accordingly, monthly
           distributions to holders of Freddie Mac certificates would be affected by delinquent payments and
           defaults on those mortgage loans.

                   The Freddie Mac certificates included in a trust fund may have other characteristics and
           terms, different from those described above, so long as the Freddie Mac certificates and underlying
           mortgage loans meet the criteria of the rating agency or agencies rating the Notes or Certificates, as
           applicable. The Freddie Mac certificates and underlying mortgage loans will be described in the
           prospectus supplement.

                   Stripped Agency Securities

                    The Ginnie Mae certificates, Fannie Mae certificates or Freddie Mac certificates may be
           issued in the form of certificates ("Stripped Agency Securities") that represent an undivided interest
           in all or part of either the principal distributions (but not the interest distributions) or the interest
           distributions (but not the principal distributions), or in some specified portion of the principal or
           interest distributions (but not all of those distributions), on an underlying pool of mortgage loans or
           other Ginnie Mae certificates, Fannie Mae certificates or Freddie Mac certificates. Ginnie Mae,
           Fannie Mae or Freddie Mac, as applicable, will guarantee each Stripped Agency Security to the same
           extent as that entity guarantees the underlying securities backing the Stripped Agency Securities or to
           the extent described above for a Stripped Agency Security backed by a pool of mortgage loans,
           unless otherwise specified in the prospectus supplement. If the trust fund includes Stripped Agency
           Securities, your prospectus supplement will include any material additional information regarding the
           characteristics of the assets underlying the Stripped Agency Securities, the payments of principal and
           interest on the Stripped Agency Securities and other relevant matters about the Stripped Agency
           Securities.

           Mortgage Securities

                   The Mortgage Securities will represent beneficial interests in loans of the type that would
           otherwise be eligible to be mortgage loans, unsecured home improvement loans, contract or Agency
           Securities, or collateralized obligations secured by mortgage loans, unsecured home improvement
           loans, contract or Agency Securities. Although individual Underlying Loans may be insured or
           guaranteed by the United States or an agency or instrumentality of the United States, they need not
           be, and Mortgage Securities themselves will not be so insured or guaranteed. Except as otherwise set
           forth in the prospectus supplement, Mortgage Securities will generally be similar to Notes or
           Certificates, as applicable, offered under this prospectus.

                   The depositor will register the offering of the relevant Mortgage Securities as a primary
           offering of such securities, unless the Mortgage Securities are themselves exempt from registration
           under the Securities Act. The offering of Mortgage Securities included in a trust fund will not be
           separately registered if all of the following are true:

                           (1) neither the issuer of the Mortgage Securities nor any of its affiliates has a direct or
                   indirect agreement, arrangement, relationship or understanding, written or otherwise, relating
                   to the Mortgage Securities and the related trust fund;




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                           (2) neither the issuer of the Mortgage Securities nor any of its affiliates is an affiliate
                   of the depositor, sponsor, issuing entity or any underwriter relating to such trust fund and
                   series of securities; and

                            (3) the depositor would be free to publicly resell the Mortgage Securities without
                   registration under the Securities Act.

                   If all the conditions for the Mortgage Securities described above are not met, the offering of
           the relevant Mortgage Securities itself will be registered as a primary offering of such securities
           under the Securities Act.

                   The prospectus supplement for a series for which the trust fund includes Mortgage Securities
           will specify:

                   •       the aggregate approximate principal amount and type of the Mortgage Securities to be
                           included in the trust fund;

                   •       certain characteristics of the loans that comprise the underlying assets for the
                           Mortgage Securities, including (w) the payment features of the loans, (x) the
                           approximate aggregate principal balance, if known, of underlying loans insured or
                           guaranteed by a governmental entity, (y) the servicing fee or range of servicing fees
                           with respect to the loans and (z) the minimum and maximum stated maturities of the
                           underlying loans at origination;

                   •       the maximum original term-to-stated maturity of the Mortgage Securities;

                   •       the weighted average term-to stated maturity of the Mortgage Securities;

                   •       the pass-through or certificate rate of the Mortgage Securities;

                   •       the weighted average pass-through or certificate rate of the Mortgage Securities;

                   •       the issuer of Mortgage Securities, the private servicer (if other than the issuer of
                           Mortgage Securities) and the private trustee for the Mortgage Securities;

                   •       certain characteristics of credit support, if any, such as reserve funds, insurance
                           policies, surety bonds, letters of credit or guaranties relating to the loans underlying
                           the Mortgage Securities or to the Mortgage Securities themselves;

                   •       the terms on which the underlying loans for the Mortgage Securities may, or are
                           required to, be purchased before their stated maturity or the stated maturity of the
                           Mortgage Securities; and

                   •       the terms on which loans may be substituted for those originally underlying the
                           Mortgage Securities.

                  The prospectus supplement for the Notes or Certificates, as applicable, of each series
           evidencing interests in a trust fund including Mortgage Securities will include a description of the

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           Mortgage Securities and any related credit enhancement, and the related mortgage loans, unsecured
           home improvement loans, contracts, or Agency Securities will be described together with any other
           mortgage loans or Agency Securities included in the trust fund of that series. As used in this
           prospectus, the terms "mortgage loans," unsecured home improvement loans, contracts, include the
           mortgage loans, unsecured home improvement loans, contracts, as applicable, underlying the
           Mortgage Securities in your trust fund. References in this prospectus to advances to be made and
           other actions to be taken by the master servicer in connection with the Assets may include any
           advances made and other actions taken pursuant to the terms of the applicable Mortgage Securities.

           FHA Loans and VA Loans

                   FHA loans will be insured by the FHA as authorized under the Housing Act, and the United
           States Housing Act of 1937, as amended. One- to four-family FHA loans will be insured under
           various FHA programs including the standard FHA 203-b programs to finance the acquisition of one-
           to four-family housing units and the FHA 245 graduated payment mortgage program. The FHA loans
           generally require a minimum down payment of approximately 5% of the original principal amount of
           the FHA loan. No FHA loan may have an interest rate or original principal balance exceeding the
           applicable FHA limits at the time of origination of that FHA loan.

                   Mortgage loans, unsecured home improvement loans, contracts, that are FHA loans are
           insured by the FHA (as described in the prospectus supplement, up to an amount equal to 90% of the
           sum of the unpaid principal of the FHA loan, a portion of the unpaid interest and other liquidation
           costs) pursuant to Title I of the Housing Act.

                   There are two primary FHA insurance programs that are available for multifamily loans.
           Sections 221(d)(3) and (d)(4) of the Housing Act allow HUD to insure multifamily loans that are
           secured by newly constructed and substantially rehabilitated multifamily rental projects. Section 244
           of the Housing Act provides for co-insurance of those loans made under Sections 221(d)(3) and
           (d)(4) by HUD/FHA and a HOD-approved co-insurer. Generally the term of this type of multifamily
           loan may be up to 40 years and the ratio of the loan amount to property replacement cost can be up to
           90%.

                    Section 223(f) of the Housing Act allows HUD to insure multifamily loans made for the
           purchase or refinancing of existing apartment projects that are at least three years old. Section 244
           also provides for co-insurance of mortgage loans made under Section 223(f). Under Section 223(f),
           the loan proceeds cannot be used for substantial rehabilitation work, but repairs may be made for up
           to, in general, the greater of 15% of the value of the project and a dollar amount per apartment unit
           established from time to time by HUD. In general the loan term may not exceed 35 years and a loan-
           to-value ratio refinancing of a project.

                   VA loans will be partially guaranteed by the VA under the Servicemen's Readjustment Act
           of 1944, as amended (the "Servicemen's Readjustment Act"). The Servicemen's Readjustment Act
           permits a veteran (or in some instances the spouse of a veteran) to obtain a mortgage loan guarantee
           by the VA covering mortgage financing of the purchase of a one- to four-family dwelling unit at
           interest rates permitted by the VA The program has no mortgage loan limits, requires no down
           payment from the purchasers and permits the guarantee of mortgage loans of up to 30 years'
           duration. However, no VA loan will have an original principal amount greater than five times the
           partial VA guarantee for that VA loan. The maximum guarantee that may be issued by the VA under
           this program will be set forth in the prospectus supplement.

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           Pre-Funding Accounts

                    To the extent provided in a prospectus supplement, a portion of the proceeds of the issuance
           of Notes or Certificates, as applicable, may be deposited into an account maintained with the trustee
           (a "Pre-Funding Account"). In that case, the depositor will be obligated to sell at a predetermined
           price-and the trust fund for the related series of Notes or Certificates, as applicable, will be
           obligated to purchase-additional Assets (the "Subsequent Assets") from time to time, and as
           frequently as daily, within the period (not to exceed three months) specified in the prospectus
           supplement (the "Pre-Funding Period") after the issuance of the Notes or Certificates, as applicable,
           having a total principal balance approximately equal to the amount on deposit in the Pre-Funding
           Account (the "Pre-Funded Amount") for that series on the date of its issuance. The Pre-Funded
           Amount for a series will be specified in the prospectus supplement, and will not in any case exceed
           50% of the proceeds of the offering of the related Notes or Certificates, as applicable. Any
           Subsequent Assets will be required to satisfy specific eligibility criteria more fully set forth in the
           prospectus supplement, which criteria will be consistent with the eligibility criteria of the Assets
           initially included in the trust fund, subject to those exceptions that are expressly stated in the
           prospectus supplement. In addition, specific conditions must be satisfied before the Subsequent
           Assets are transferred into the trust fund, for example, the delivery to the rating agencies and to the
           trustee of any required opinions of counsel. See "ERISA Consideration" for additional information
           regarding Pre-Funding Accounts.

                   Except as set forth in the following sentence, the Pre-Funded Amount will be used only to
           purchase Subsequent Assets. The related pooling and servicing agreement or other agreement
           providing for the transfer of Subsequent Assets will generally provide that the transfers must be made
           within up to three months (with respect to any series of Notes or Certificates) or up to, but not in
           excess of, one year (with respect to any series of Notes or Certificates) after the Closing Date, and
           that any portion of the Pre-Funded Amount remaining in the Pre-Funding Account at the end of the
           Pre-Funding Period will be used to prepay one or more classes of Notes or Certificates, as applicable,
           in the amounts and in the manner specified in the prospectus supplement. In addition, if specified in
           the prospectus supplement, the depositor may be required to deposit cash into an account maintained
           by the trustee (the "Capitalized Interest Account") for the purpose of assuring the availability of
           funds to pay interest on the Notes or Certificates, as applicable, during the Pre-Funding Period. Any
           amount remaining in the Capitalized Interest Account at the end of the Pre-Funding Period will be
           remitted as specified in the prospectus supplement.

                   Amounts deposited in the Pre-Funding and Capitalized Interest Accounts will be permitted to
           be invested, pending application, only in eligible investments authorized by each applicable rating
           agency.

           Accounts

                   Each trust fund will include one or more accounts, established and maintained on behalf of
           the securityholders into which the person or persons designated in the prospectus supplement will, to
           the extent described in this prospectus and in the prospectus supplement deposit all payments and
           collections received or advanced with respect to the Assets and other assets in the trust fund. This
           type of account may be maintained as an interest bearing or a non-interest bearing account, and funds
           held in that account may be held as cash or invested in some short-term, investment grade
           obligations, in each case as described in the prospectus supplement. See "Description of the


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           Agreements-Material Terms of the Pooling and Servicing Agreements and Underlying Servicing
           Agreements-Collection Account and Related Accounts."

           Credit Support

                   If so provided in the prospectus supplement, partial or full protection against some defaults
           and losses on the Assets in the related trust fund may be provided to one or more classes of Notes or
           Certificates, as applicable, in the related series in the form of subordination of one or more other
           classes of Notes or Certificates, as applicable, in that series or by one or more other types of credit
           support, for example, a letter of credit, insurance policy, guarantee, reserve fund or another type of
           credit support, or a combination of these (any of these types of coverage for the Notes or Certificates,
           as applicable, of any series, is referred to generally as "credit support"). The amount and types of
           coverage, the identification of the entity providing the coverage (if applicable) and related
           information for each type of credit support, if any, will be described in the prospectus supplement for
           a series of Notes or Certificates, as applicable. See "Description of Credit Support." Such accounts
           will be established so as to comply with the standards of each Rating Agency that has rated any one
           or more classes of securities of the related series. Such accounts shall be maintained as Eligible
           accounts, and the funds held therein may be held as cash or invested in Permitted Investments. The
           person designated in the prospectus supplement will have sole discretion to determine the particular
           investments made so long as it complies with the investment terms of the related pooling and
           servicing agreement or the related servicing agreement and indenture. Any Permitted Investments
           shall not cause the depositor to register under the Investment Company Act of 1940. Any interest or
           other income earned on funds in such accounts will be paid to the related master servicer or trustee as
           additional compensation or will be available for payments on the securities as provided in the
           prospectus supplement. If permitted by the Rating Agency or Agencies and so specified in the related
           prospectus supplement, a such accounts may contain funds relating to more than one series of
           Certificates and may contain other funds representing payments on mortgages owned by the related
           master servicer or serviced by it on behalf of others.

                                                  Cash Flow Agreements

                   If so provided in the prospectus supplement, the trust fund may include guaranteed
           investment contracts pursuant to which moneys held in the funds and accounts established for the
           related series will be invested at a specified rate. The trust fund may also include other agreements,
           for example, interest rate swap agreements, interest rate cap or floor agreements, currency swap
           agreements or similar agreements provided to reduce the effects of interest rate or currency exchange
           rate fluctuations on the Assets or on one or more classes of Notes or Certificates, as applicable.
           (Currency swap agreements might be included in the trust fund if some or all of the Assets were
           denominated in a non-United States currency.) The principal terms of any related guaranteed
           investment contract or other agreement (any of these types of agreement, a "Cash Flow Agreement"),
           including provisions relating to the timing, manner and amount of payments under these documents
           and provisions relating to the termination of these documents, will be described in the prospectus
           supplement for the related series. In addition, the prospectus supplement will provide information
           with respect to the borrower under any Cash Flow Agreement.

                                                      Use of Proceeds

                  The net proceeds to be received from the sale of the Notes or Certificates, as applicable, will
           be applied by the depositor to the purchase of Assets, or the repayment of the financing incurred in

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           that purchase, and to pay for some of the expenses incurred in connection with that purchase of
           Assets and sale of Notes or Certificates, as applicable. The depositor expects to sell the Notes or
           Certificates, as applicable, from time to time, but the timing and amount of offerings of Notes or
           Certificates, as applicable, will depend on a number of factors, including the volume of Assets
           acquired by the depositor, prevailing interest rates, availability of funds and general market
           conditions.

                                          Yield and Prepayment Considerations

                   The yields to maturity and weighted average lives of the securities will depend primarily on
           the amount and timing of principal payments received on or in respect of the related Trust Fund
           Assets. The original terms to maturity of the loans in a given pool will vary depending on the type of
           loans. Each prospectus supplement will contain information about the type and maturities of the
           loans in the related pool or securing Mortgage Securities. The applicable prospectus supplement may
           state that some loans provide for prepayment penalties or limit prepayments thereof, but if it does
           not, then the loans may be prepaid without penalty in full or in part at any time. The prepayment
           experience on the loans in a pool will affect the weighted average lives of the related securities.

                    The rate of prepayment on the loans cannot be predicted. Closed-end second-lien loans,
           Revolving Credit Line Loans and home improvement contracts have been originated in significant
           volume only during the past few years and the depositor is not aware of any publicly available
           studies or statistics on the respective prepayment rates of such loans. Generally, borrowers do not
           view closed-end second-lien loans, Revolving Credit Line Loans and home improvement contracts as
           permanent financing. Accordingly, those loans may experience a higher prepayment rate than
           traditional first loans. On the other hand, because Revolving Credit Line Loans generally are not
           fully amortizing, the absence of voluntary borrower prepayments could cause principal payment rates
           to be similar to, or lower than, the rates associated with traditional fully-amortizing first loans.

                    A number of factors may affect the prepayment experience of the loans, including general
           economic conditions, prevailing interest rates, the availability of alternative financing, homeowner
           mobility and the frequency and amount of future draws on any Revolving Credit Line Loans. Other
           factors that might affect the prepayment rate of closed-end second-lien loans, Revolving Credit Line
           Loans or home improvement contracts include the amount of, and interest rates on, the related senior
           loans, and the fact that subordinate loans are generally used for shorter-term financing for a variety of
           purposes, including home improvement, education expenses and purchases of consumer goods such
           as automobiles. In addition, any future limitations on borrowers' right to deduct interest payments on
           closed-end second-lien loans or home equity line of credit loans for federal income tax purposes may
           further increase the rate of prepayments of the loans. The enforcement of a due-on-sale provision
           (described below) will have the same effect as a prepayment of the related loan. See "Certain Legal
           Aspects of the Loans-Due-on-Sale Clauses." If you buy securities in the secondary market at a price
           other than par, your yield may vary from the yield you anticipated if the prepayment rate on the loans
           is different from the rate you anticipated when you bought the securities.

                  Collections on Revolving Credit Line Loans may vary because, among other things,
           borrowers may:

                       •   make payments as low as the minimum monthly payment for any month,




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                       •   make payments consisting only of the interest, fees and charges for a given month
                           during the interest-only period for certain Revolving Credit Line Loans (and, in more
                           limited circumstances, in the case of closed-end second-lien loans for which an
                           interest-only payment option has been selected), or

                       •   make payments as high as the entire outstanding principal balance plus accrued
                           interest, fees and charges on that loan.

                   In addition, borrowers may fail to make the required periodic payments. Collections on the
           loans also may vary due to seasonal purchasing and borrowers' payment habits.

                     The applicable prospectus supplement may indicate that some conventional loans do not have
           due-on-sale provisions, but if it does not, then all conventional loans will contain due-on-sale
           provisions permitting the mortgagee to accelerate the maturity of the loan upon sale or specified
           transfers of the related property by the borrower. Loans insured by the FHA, and loans partially
           guaranteed by the VA, are assumable with the consent of the FHA and the VA, respectively. Thus,
           the rate of prepayments on those loans may be lower than that on conventional loans bearing
           comparable interest rates. If applicable, the servicer generally will enforce any due-on-sale or due-
           on-encumbrance clause of a loan, if it has knowledge of the conveyance or further encumbrance (or
           the proposed conveyance or proposed further encumbrance) of the property, and reasonably believes
           that it is entitled to do so under applicable law. However, such servicer will not take any enforcement
           action that would impair or threaten to impair any recovery under any related insurance policy. See
           "Description of the Agreements-Collection and Other Servicing Procedures" and "Certain Legal
           Aspects of the Loans" for a description of certain provisions of each agreement and certain legal
           developments that may affect the prepayment experience on the loans.

                    The rate of prepayments of conventional loans has fluctuated significantly in recent years. In
           general, if prevailing rates fall significantly below the interest rates borne by the loans, the loans are
           more likely to be subject to higher prepayment rates than if prevailing interest rates remain at or
           above the interest rates. Conversely, if prevailing interest rates rise appreciably above the interest
           rates borne by the loans, the loans are more likely to experience a lower prepayment rate than if
           prevailing rates remain at or below the interest rates. However, there can be no assurance that this
           will be the case.

                    When a full prepayment is made on a loan, the borrower is charged interest on the principal
           amount of the loan prepaid only for the number of days in the month actually elapsed up to the date
           of the prepayment, rather than for a full month. Thus, in most cases, the effect of prepayments in full
           will be to reduce the amount of interest passed through or paid in the following month to
           securityholders. Partial prepayments in a given month may be applied to the outstanding principal
           balances of the loans prepaid on the first day of the month of receipt or the month following receipt.
           In the latter case, partial prepayments will not reduce the amount of interest passed through or paid in
           that month. Unless the related prospectus supplement provides otherwise, neither full nor partial
           prepayments will be passed through or paid until the month following receipt.

                   Even if the properties underlying the loans held in the trust fund or securing Mortgage
           Securities provide adequate security for the loans, substantial delays could occur before defaulted
           loans are liquidated and their proceeds are forwarded to investors. Property foreclosure actions are
           regulated by state statutes and rules and are subject to many of the delays and expenses of other
           lawsuits if defenses or counterclaims are made, sometimes requiring several years to complete. In

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           addition, in some states, if the proceeds of the foreclosure are insufficient to repay the loan, the
           borrower is not liable for the deficit. If a borrower defaults, these restrictions may impede the
           servicer' s ability to dispose of the property and obtain sufficient proceeds to repay the loan in full. In
           addition, the servicer will be entitled to deduct from liquidation proceeds all expenses reasonably
           incurred in attempting to recover on the defaulted loan, including payments to senior lienholders,
           legal fees and costs, real estate taxes, and property maintenance and preservation expenses.

                   Liquidation expenses of defaulted loans generally do not vary directly with the outstanding
           principal balance of the loan at the time of default. Therefore, if a servicer takes the same steps for a
           defaulted loan having a small remaining principal balance as it does for a defaulted loan having a
           large remaining principal balance, the amount realized after expenses is a smaller percentage of the
           outstanding principal balance of the small loan than it is for the defaulted loan with a large remaining
           principal balance.

                   State laws generally regulate interest rates and other charges, require certain disclosures, and
           require licensing of loan originators and servicers. In addition, most states have other laws and public
           policies for the protection of consumers that prohibit unfair and deceptive practices in the origination,
           servicing and collection of loans. Depending on the particular law and the specific facts involved,
           violations may limit the ability of the servicer to collect all or part of the principal or interest on the
           underlying loans held in the trust fund or securing Mortgage Securities. In some cases, the borrower
           may even be entitled to a refund of amounts previously paid. In addition, damages and administrative
           sanctions could be imposed on the servicer.

                   If the rate at which interest is passed through or paid to securityholders is calculated on a
           loan-by-loan basis, disproportionate principal prepayments among loans with different interest rates
           will affect the yields on those securities. In most cases, the effective yield to securityholders will be
           lower than the yield otherwise produced by the applicable pass-through rate or interest rate and
           purchase price, because although interest will accrue on each loan from the first day of the month
           (unless the related prospectus supplement provides otherwise), the interest will not be distributed
           until the month following the month of accrual. In the case of securities backed by Mortgage
           Securities, the interest accrued on loans securing such Mortgage Securities will generally not be
           distributed until several months following the month of accrual on such underlying loans.

                   Under specified circumstances, the servicer, the holders of the residual interests in a REMIC
           or any person specified in the related prospectus supplement may have the option to purchase the
           assets of a trust fund, thereby causing an earlier retirement of the related series of securities. See
           "Description of the Securities-Termination."

                   Factors other than those identified in this prospectus and the related prospectus supplement
           could significantly affect principal prepayments at any time and over the lives of the securities. The
           relative contribution of the various factors affecting prepayment also may vary from time to time.
           There can be no assurance as to the rate of principal payment of the Trust Fund Assets at any time or
           over the lives of the securities.

                   The prospectus supplement relating to a series of securities will discuss in greater detail the
           effect of the rate and timing of principal payments (including prepayments), delinquencies and losses
           on the yield, weighted average lives and maturities of the securities.




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                                                     Static Pool Information

                   For each mortgage pool, the issuer will provide static pool information with respect to the
           experience of the sponsor, or other appropriate entity, in securitizing asset pools of the same type to
           the extent material.

                  With respect to each series of securities, the information referred to in this section will be
           provided through an internet web site at the address disclosed in the related prospectus supplement.

                                                  Description of the Securities

           General

                   The Asset-backed certificates (the "Certificates") of each series (including any class of
           Certificates not offered by this prospectus) will represent the entire beneficial ownership interest in
           the trust fund created pursuant to the related Agreement. The Asset-backed notes (the "Notes," and
           together with the Certificates, the "Securities"), will represent indebtedness of the related trust fund
           and will be issued and secured pursuant to an indenture. In general, the Notes or Certificates, as
           applicable, of each Series may fall into different categories. The following chart identifies and
           generally defines certain of the more typical categories. The prospectus supplement for a series of
           securities may identify the classes in that series by reference to the following categories.


           Categories of Classes                                                    Definition
                                                                                Principal Types

           Accretion Directed.......................................... A class that receives principal payments from the
                                                                        accreted interest from specified accrual classes. An
                                                                        accretion directed class also may receive principal
                                                                        payments from principal paid on the underlying
                                                                        Trust Fund Assets or other assets of the trust fund
                                                                        for the related series.

           Companion Class ............................................ A class that receives principal payments on any
                                                                        distribution date only if scheduled payments have
                                                                        been made on specified planned principal classes,
                                                                        targeted principal classes or scheduled principal
                                                                        classes.

           Component Securities..................................... A class consisting of "components." The
                                                                     components of a class of component securities may
                                                                     have different principal and interest payment
                                                                     characteristics but together constitute a single class.
                                                                     Each component of a class of component securities
                                                                     may be identified as falling into one or more of the
                                                                     categories in this chart.

           Non-Accelerated Senior or NAS .................... A class that, for the period of time specified in the
                                                              related prospectus supplement, generally will not


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                                                                   receive (in other words, is locked out of) (1)
                                                                   principal prepayments on the underlying Trust Fund
                                                                   Assets that are allocated disproportionately to the
                                                                   senior securities because of the shifting interest
                                                                   structure of the securities in the trust and/or (2)
                                                                   scheduled principal payments on the underlying
                                                                   Trust Fund Assets, as specified in the related
                                                                   prospectus supplement. During the lock-out period,
                                                                   the portion of the principal distributions on the
                                                                   underlying Trust Fund Assets that the NAS class is
                                                                   locked out of will be distributed to the other classes
                                                                   of senior securities.

           Notional Amount Securities........................... A class having no principal balance and bearing
                                                                 interest on the related notional amount. The notional
                                                                 amount is used for purposes of the determination of
                                                                 interest distributions.

           Planned Principal Class or PACs.................. A class that is designed to receive principal
                                                             payments using a predetermined principal balance
                                                             schedule derived by assuming two constant
                                                             prepayment rates for the underlying Trust Fund
                                                             Assets. These two rates are the endpoints for the
                                                             "structuring range" for the planned principal class.
                                                             The planned principal classes in any series of
                                                             securities may be subdivided into different
                                                             categories (e.g., primary planned principal classes,
                                                             secondary planned principal classes, etc.) having
                                                             different effective structuring ranges and different
                                                             principal payment priorities. The structuring range
                                                             for the secondary planned principal classes of a
                                                             series will be narrower than that for the primary
                                                             planned principal classes of that series.

           Scheduled Principal Class .......... .................... A class that is designed to receive principal
                                                                     payments using a predetermined principal balance
                                                                     schedule but is not designated as a planned principal
                                                                     class or targeted principal class. In many cases, the
                                                                     schedule is derived by assuming two constant
                                                                     prepayment rates for the underlying Trust Fund
                                                                     Assets. These two rates are the endpoints for the
                                                                     "structuring range" for the scheduled principal class.

           Sequential Pay................................................. Classes that receive principal payments in a
                                                                           prescribed sequence, that do not have predetermined
                                                                           principal balance schedules and that under all
                                                                           circumstances receive payments of principal
                                                                           continuously from the first Distribution Date on
                                                                           which they receive principal until they are retired. A

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                                                                      single class that receives principal payments before
                                                                      or after all other classes in the same series may be
                                                                      identified as a sequential pay class.

           Strip.................................................................. A class that receives a constant proportion, or
                                                                                   "strip," of the principal payments on the underlying
                                                                                   Trust Fund Assets or other assets of the trust fund.

           Support Class (also sometimes referred
                          . cl asses ") ............................. . A class that receives principal payments on any
           t o as " companwn
                                                                        distribution date only if scheduled payments have
                                                                        been made on specified planned principal classes,
                                                                        targeted principal classes or scheduled principal
                                                                        classes.

           Targeted Principal Class or TACs ................ A class that is designed to receive principal
                                                             payments using a predetermined principal balance
                                                             schedule derived by assuming a single constant
                                                             prepayment rate for the underlying Trust Fund
                                                             Assets.

                                                                                       Interest Types

           Fixed Rate........................................................ A class with an interest rate that is fixed throughout
                                                                              the life of the class.

           Floating Rate ................................................... A class with an interest rate that resets periodically
                                                                             based on a designated index and that varies directly
                                                                             with changes in the index.

           Inverse Floating Rate...................................... A class with an interest rate that resets periodically
                                                                       based on a designated index and that varies
                                                                       inversely with changes in the index.

           Variable Rate................................................... A class with an interest rate that resets periodically
                                                                            and is calculated by reference to the rate or rates of
                                                                            interest applicable to specified assets or instruments
                                                                            (e.g., the Loan Rates borne by the underlying loans).

           Interest Only.................................................... A class that receives some or all of the interest
                                                                             payments made on the underlying Trust Fund Assets
                                                                             or other assets of the trust fund and little or no
                                                                             principal. Interest only classes have either a nominal
                                                                             principal balance or a notional amount. A nominal
                                                                             principal balance represents actual principal that
                                                                             will be paid on the class. It is referred to as nominal
                                                                             because it is extremely small compared to other
                                                                             classes. A notional amount is the amount used as a
                                                                             reference to calculate the amount of interest due on


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                                                                     an interest only class that        IS   not entitled to any
                                                                     distributions of principal.

           Principal Only................................................. A class that does not bear interest and is entitled to
                                                                           receive only distributions of principal.

           Partial Accrual ............................ .................... A class that accretes a portion of the accrued interest
                                                                             on the class. The accreted amount will be added to
                                                                             the principal balance of the class on each applicable
                                                                             distribution date, with the remainder of the accrued
                                                                             interest to be distributed currently as interest on the
                                                                             class. The accretion may continue until a specified
                                                                             event has occurred or until the partial accrual class
                                                                             is retired.

           Accrual............................................................. A class that accretes all the accrued interest
                                                                                otherwise distributable on the class. The accreted
                                                                                amount will be added as principal to the principal
                                                                                balance of the class on each applicable distribution
                                                                                date. The accretion may continue until some
                                                                                specified event has occurred or until the accrual
                                                                                class is retired.

                   If specified in the prospectus supplement, distributions on one or more classes of a series of
           Notes or Certificates, as applicable, may be limited to collections from a designated portion of the
           Assets in the related trust fund (each portion of the Assets, an "Asset Group"). Any of these classes
           may include classes of Offered Notes or Offered Certificates, as applicable.

                    Each class of Notes or Certificates, as applicable, offered by this prospectus and the related
           prospectus supplement (the "Offered Notes" and the "Offered Certificates," respectively, and
           together, the "Offered Securities") will be issued in minimum denominations corresponding to the
           Security Balances or, in the case of some classes of Strip Securities, notional amounts or percentage
           interests specified in the prospectus supplement. The transfer of any Offered Notes or Offered
           Certificates, as applicable, may be registered and those Notes or Certificates, as applicable, may be
           exchanged without the payment of any service charge payable in connection with that registration of
           transfer or exchange, but the depositor or the trustee or any agent of the depositor or the trustee may
           require payment of a sum sufficient to cover any tax or other governmental charge. One or more
           classes of Notes or Certificates, as applicable, of a series may be issued in fully registered,
           certificated form ("Definitive Notes" or "Definitive Certificates," and collectively, "Definitive
           Securities") or in book-entry form ("Book-Entry Notes" or "Book-Entry Certificates," and
           collectively, "Book-Entry Securities"), as provided in the prospectus supplement. See "Description
           of the Securities-Book-Entry Registration and Definitive Securities." Definitive Notes or Definitive
           Certificates, as applicable, will be exchangeable for other Notes or Certificates, as applicable, of the
           same class and series of a similar total Security Balance, notional amount or percentage interest but
           of different authorized denominations.




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           Indices Applicable to Floating Rate and Inverse Floating Rate Classes

           LIB OR

                     The applicable prospectus supplement may specify some other basis for determining LIBOR,
           but if it does not, on the LIB OR determination date (as defined in the related prospectus supplement)
           for each class of securities of a series for which the applicable interest rate is determined by reference
           to an index called LIBOR, the person designated in the related agreement as the calculation agent
           will determine LIB OR using one of the two methods described below. The method will be specified
           in the related prospectus supplement.

           LIB OR Method

                   If using this method to calculate LIBOR, the calculation agent will determine LIBOR by
           reference to the quotations, as set forth on the Moneyline Telerate Page 3750, offered by the
           principal London office of each of the designated reference banks meeting the criteria set forth below
           for making one-month United States dollar deposits in leading banks in the London Interbank
           market, as of 11:00 a.m. (London time) on the LIB OR determination date. In lieu of relying on the
           quotations for those reference banks that appear at the time on the Money line Telerate Page 3750, the
           calculation agent will request each of the reference banks to provide the offered quotations at that
           time.

                   Under this method the calculation agent will establish LIBOR on each LIBOR determination
           date as follows:

                   (a)    If on any LIBOR determination date two or more reference banks provide offered
           quotations, LIBOR for the next interest accrual period will be the arithmetic mean of the offered
           quotations (rounded up if necessary to the nearest whole multiple of 1/16%).

                   (b)     If on any LIB OR determination date only one or none of the reference banks provides
           offered quotations, LIB OR for the next interest accrual period will be the arithmetic mean of the rates
           quoted by major banks in New York City, selected by the calculation agent, at approximately 11:00
           a.m. (New York City time) on that day for loans in United States dollars to leading European banks.

                   (c)    If on any LIB OR determination date for a class specified in the related prospectus
           supplement, the calculation agent is required but unable to determine LIBOR according to paragraph
           (b) above, LIB OR for the next interest accrual period will be LIB OR as determined on the preceding
           LIBOR determination date, or, in the case of the first LIBOR determination date, LIBOR will be
           considered to be the annual rate specified as such in the related prospectus supplement.

                   Each reference bank will be a leading bank engaged in transactions in Eurodollar deposits in
           the international Eurocurrency market; will not control, be controlled by, or be under common
           control with the calculation agent; and will have an established place of business in London. If any
           reference bank should be unwilling or unable to act as such or if appointment of a reference bank is
           terminated, another leading bank meeting the criteria specified above will be appointed.

           BBAMethod

                   If using this method of determining LIBOR, the calculation agent will determine LIBOR on
           the basis of the British Bankers' Association "Interest Settlement Rate" for one-month deposits in

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           United States dollars as found on Moneyline Telerate Page 3750 as of 11:00 a.m. London time on
           each LIBOR determination date. Interest Settlement Rates currently are based on rates quoted by
           eight British Bankers' Association designated banks as being, in the view of the banks, the offered
           rate at which deposits are being quoted to prime banks in the London interbank market. The Interest
           Settlement Rates are calculated by eliminating the two highest rates and the two lowest rates,
           averaging the four remaining rates, carrying the result (expressed as a percentage) out to six decimal
           places, and rounding to five decimal places.

                  If on any LIBOR determination date, the calculation agent is unable to calculate LIBOR as
           described in the preceding paragraph, LIBOR for the next interest accrual period will be calculated as
           described above under "LIBO Method."

                   The calculation agent's determination of LIB OR on each LIB OR determination date and its
           calculation of the interest rate for each applicable class for the related interest accrual period shall (in
           the absence of manifest error) be final and binding.

           COFI

                    The Eleventh District Cost of Funds Index is designed to represent the monthly weighted
           average cost of funds for savings institutions in Arizona, California and Nevada that are member
           institutions of the Eleventh Federal Home Loan Bank District (the "Eleventh District'). The
           Eleventh District Cost of Funds Index for a particular month reflects the interest costs paid on all
           types of funds held by Eleventh District member institutions and is calculated by dividing the cost of
           funds by the average of the total amount of those funds outstanding at the end of that month and of
           the prior month and annualizing and adjusting the result to reflect the actual number of days in the
           particular month. If necessary, before these calculations are made, the component figures are
           adjusted by the Federal Home Loan Bank of San Francisco ("FHLBSF') to neutralize the effect of
           events such as member institutions leaving the Eleventh District or acquiring institutions outside the
           Eleventh District. The Eleventh District Cost of Funds Index is weighted to reflect the relative
           amount of each type of funds held at the end of the relevant month. The major components of funds
           of Eleventh District member institutions are: savings deposits, time deposits, FHLBSF advances,
           repurchase agreements and all other borrowings. Because the component funds represent a variety of
           maturities whose costs may react in different ways to changing conditions, the Eleventh District Cost
           of Funds Index does not necessarily reflect current market rates.

                   A number of factors affect the performance of the Eleventh District Cost of Funds Index,
           which may cause it to move in a manner different from indices tied to specific interest rates, such as
           United States Treasury bills or LIBOR. Because the liabilities upon which the Eleventh District Cost
           of Funds Index is based were issued at various times under various market conditions and with
           various maturities, the Eleventh District Cost of Funds Index may not necessarily reflect the
           prevailing market interest rates on new liabilities of similar maturities. Moreover, as stated above, the
           Eleventh District Cost of Funds Index is designed to represent the average cost of funds for Eleventh
           District savings institutions for the month before the month in which it is due to be published.
           Additionally, the Eleventh District Cost of Funds Index may not necessarily move in the same
           direction as market interest rates at all times, because as longer term deposits or borrowings mature
           and are renewed at prevailing market interest rates, the Eleventh District Cost of Funds Index is
           influenced by the differential between the prior and the new rates on those deposits or borrowings. In
           addition, movements of the Eleventh District Cost of Funds Index, as compared to other indices tied


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           to specific interest rates, may be affected by changes instituted by the FHLBSF in the method used to
           calculate the Eleventh District Cost of Funds Index.

                   The FHLBSF publishes the Eleventh District Cost of Funds Index in its monthly Information
           Bulletin. Any individual may request regular receipt by mail of Information Bulletins by writing the
           Federal Home Loan Bank of San Francisco, P.O. Box 7948, 600 California Street, San Francisco,
           California 94120, or by calling (415) 616-1000. The Eleventh District Cost of Funds Index may also
           be obtained by calling the FHLBSF at (415) 616-2600.

                    The FHLBSF has stated in its Information Bulletin that the Eleventh District Cost of Funds
           Index for a month "will be announced on or near the last working day" of the following month and
           also has stated that it "cannot guarantee the announcement" of the index on an exact date. As long as
           the index for a month is announced on or before the tenth day of the second following month, the
           interest rate for each class of securities for which the interest rate is determined by reference to an
           index denominated as COFI for the interest accrual period beginning in that second following month
           will be based on the Eleventh District Cost of Funds Index for the second preceding month. If
           publication is delayed beyond the tenth day, the interest rate will be based on the Eleventh District
           Cost of Funds Index for the third preceding month.

                     The applicable prospectus supplement may specify some other basis for determining COFI,
           but if it does not, then if on the tenth day of the month in which any interest accrual period begins for
           a class of COFI securities, the most recently published Eleventh District Cost of Funds Index relates
           to a month before the third preceding month, the index for the current interest accrual period and for
           each subsequent interest accrual period will be based (except as described below) on the National
           Monthly Median Cost of Funds Ratio to SAIF-Insured Institutions (the "National Cost of Funds
           Index") published by the Office of Thrift Supervision (the "OTS'') for the third preceding month (or
           the fourth preceding month if the National Cost of Funds Index for the third preceding month has not
           been published on the tenth day of an interest accrual period). Information on the National Cost of
           Funds Index may be obtained by writing the OTS at 1700 G Street, N.W., Washington, D.C. 20552
           or calling (202) 906-6677, and the current National Cost of Funds Index may be obtained by calling
           (202) 906-6988. If on the tenth day of the month in which an interest accrual period begins, the most
           recently published National Cost of Funds Index relates to a month before the fourth preceding
           month, the applicable index for that interest accrual period and each succeeding interest accrual
           period will be based on LIBOR, as determined by the calculation agent in accordance with the
           agreement relating to that series. A change of index from the Eleventh District Cost of Funds Index
           to an alternative index will result in a change in the index level and could increase its volatility,
           particularly if the alternative index is LIB OR

                   The calculation agent's determination of COFI and its calculation of the interest rates for the
           applicable classes for the related interest accrual period shall (in the absence of manifest error) be
           final and binding.

           Treasury Index

                   The applicable prospectus supplement may specify some other basis for determining and
           defining the Treasury index, but if it does not, on the Treasury index determination date for each
           class of securities of a series for which the applicable interest rate is determined by reference to an
           index denominated as a Treasury index, the calculation agent will ascertain the Treasury index for
           Treasury securities of the maturity and for the period (or, if applicable, the date) specified in the

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           related prospectus supplement. The Treasury index for any period means the average of the yield for
           each business day during the specified period (and the Treasury index for any date means the yield
           for that date), expressed as an annual percentage rate, on U.S. Treasury securities adjusted to the
           "constant maturity" specified in the prospectus supplement or if no "constant maturity" is so
           specified, U.S. Treasury securities trading on the secondary market having the maturity specified in
           the prospectus supplement, in each case as published by the Federal Reserve Board in its Statistical
           Release No. H.l5 (519). Statistical Release No. H.l5 (519) is published on Monday or Tuesday of
           each week and may be obtained by writing or calling the Publications Department at the Board of
           Governors of the Federal Reserve System, 21st and C Streets, Washington, D.C. 20551 (202) 452-
           3244. If the calculation agent has not yet received Statistical Release No. H.l5 (519) for a week, then
           it will use the Statistical Release from the preceding week.

                   Yields on U.S. Treasury securities at "constant maturity" are derived from the U.S.
           Treasury's daily yield curve. This curve, which relates the yield on a security to its time to maturity,
           is based on the closing market bid yields on actively traded Treasury securities in the over-the-
           counter market. These market yields are calculated from composites of quotations reported by five
           leading U.S. Government securities dealers to the Federal Reserve Bank of New York. This method
           provides a yield for a given maturity even if no security with that exact maturity is outstanding. If the
           Treasury index is no longer published, a new index based on comparable data and methodology will
           be designated in accordance with the agreement relating to the applicable series. The calculation
           agent's determination of the Treasury index, and its calculation of the interest rates for the applicable
           classes for the related interest accrual period shall (in the absence of manifest error) be final and
           binding.

           Prime Rate

                    The applicable prospectus supplement may specify some other basis for determining and
           defining the prime rate, but if it does not, on the prime rate determination date for each class of
           securities for which the applicable interest rate is determined by reference to an index denominated
           as the prime rate, the calculation agent will ascertain the prime rate for the related interest accrual
           period. The prime rate for an interest accrual period will be the "prime rate" as published in the
           "Money Rates" section of The Wall Street Journal on the related prime rate determination date, or if
           not so published, the "prime rate" as published in a newspaper of general circulation selected by the
           calculation agent in its sole discretion. If a prime rate range is given, then the average of the range
           will be used. If the prime rate is no longer published, a new index based upon comparable data and
           methodology will be designated in accordance with the agreement relating to the applicable series.
           The calculation agent's determination of the prime rate and its calculation of the interest rates for the
           related interest accrual period shall (in the absence of manifest error) be final and binding.

           Derivative Transactions

                   If specified in the related prospectus supplement, a trust fund may enter into privately
           negotiated, over-the-counter hedging transactions with various counterparties, for the purpose of
           effectively fixing the interest rate it pays on one or more borrowings or series of borrowings. These
           transactions may include such instruments as interest rate and securities-based swaps, caps, collars
           and floors, and are referred to as derivative transactions. Trust funds will use derivative transactions
           as hedges and not as speculative investments. Derivative transactions typically involve an interest-
           rate swap agreement between two parties to exchange payments of interest based on variable interest


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           rates for payments based on fixed interest rates. These payments are calculated on the basis of a
           notional principal amount for a specified period of time.

                    Cap and floor transactions involve an agreement between two parties in which the first party
           agrees to pay the second when a designated market interest rate goes above (in the case of a cap) or
           below (in the case of a floor) a designated level on predetermined dates or during a specified time
           period. Collar transactions involve an agreement between two parties in which the first party pays the
           second when a designated market interest rate goes above a designated level on predetermined dates
           or during a specified time period, and the second party pays the first when a designated market
           interest rate goes below a designated level on predetermined dates or during a specified time period.

           Distributions

                   Distributions on the Notes or Certificates, as applicable, of each series will be made by or on
           behalf of the trustee on each Distribution Date as specified in the prospectus supplement from the
           Available Distribution Amount for that series and that Distribution Date. Distributions (other than the
           final distribution) will be made to the persons in whose names the Notes or Certificates, as
           applicable, are registered at the close of business on, unless a different date is specified in the
           prospectus supplement, the last business day of the month preceding the month in which the
           Distribution Date occurs (the "Record Date"), and the amount of each distribution will be determined
           as of the close of business on the date specified in the prospectus supplement (the "Determination
           Date"). All distributions for each class of Notes or Certificates, as applicable, on each Distribution
           Date will be allocated pro rata among the outstanding securityholders in that class or by random
           selection or as described in the prospectus supplement. Payments will be made either by wire transfer
           in immediately available funds to the account of a securityholder at a bank or other entity having
           appropriate facilities for these payments, if that securityholder has so notified the trustee or other
           person required to make those payments no later than the date specified in the prospectus supplement
           (and, if so provided in the prospectus supplement, holds Notes or Certificates, as applicable, in the
           requisite amount specified in the prospectus supplement), or by check mailed to the address of the
           person entitled to the payment as it appears on the Security Register; provided, however, that the
           final distribution in retirement of the Notes or Certificates, as applicable, will be made only upon
           presentation and surrender of the Notes or Certificates, as applicable, at the location specified in the
           notice to securityholders of that final distribution.

           Available Distribution Amount

                   All distributions on the Notes or Certificates, as applicable, of each series on each
           Distribution Date will be made from the Available Distribution Amount described below, subject to
           the terms described in the prospectus supplement. Generally, the "Available Distribution Amount"
           for each Distribution Date equals the sum of the following amounts:

                           (1)    the total amount of all cash on deposit in the related Collection Account as of
                                  the corresponding Determination Date, exclusive, unless otherwise specified
                                  in the prospectus supplement, of:

                                   (a)    all scheduled payments of principal and interest collected but due on a
                           date after the related Due Period (unless a different period is specified in the
                           prospectus supplement, a "Due Period" for any Distribution Date will begin on the
                           second day of the month in which the immediately preceding Distribution Date

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                           occurs, or the Cut-off Date in the case of the first Due Period, and will end on the first
                           day of the month of the related Distribution Date),

                                   (b)      all prepayments, together with related payments of the interest
                           thereon and related Prepayment Premiums, all proceeds of any FHA insurance, VA
                           Guaranty Policy or insurance policies to be maintained for each Asset (to the extent
                           that proceeds are not applied to the restoration of the Asset or released in accordance
                           with the normal servicing procedures of a servicer, subject to the terms and
                           conditions applicable to the related Asset) (collectively, "Insurance Proceeds"), all
                           other amounts received and retained in connection with the liquidation of Assets in
                           default in the trust fund ("Liquidation Proceeds"), and other unscheduled recoveries
                           received after the related Due Period, or other period specified in the prospectus
                           supplement,

                                   (c)       all amounts in the Collection Account that are due or reimbursable to the
                           depositor, the trustee, an Asset Seller, a servicer, the master servicer or any other entity as
                           specified in the prospectus supplement or that are payable in respect of particular
                           expenses of the related trust fund, and

                                    (d)    all amounts received for a repurchase of an Asset from the trust fund
                           for defective documentation or a breach of representation or warranty received after
                           the related Due Period, or other period specified in the prospectus supplement;

                           (2)     if the prospectus supplement so provides, interest or investment income on
                                   amounts on deposit in the Collection Account, including any net amounts
                                   paid under any Cash Flow Agreements;

                           (3)     all advances made by a servicer or the master servicer or any other entity as
                                   specified in the prospectus supplement for that Distribution Date;

                           (4)     if and to the extent the prospectus supplement so provides, amounts paid by a
                                   servicer or any other entity as specified in the prospectus supplement with
                                   respect to interest shortfalls resulting from prepayments during the related
                                   Prepayment Period; and

                           (5)     to the extent not on deposit in the related Collection Account as of the
                                   corresponding Determination Date, any amounts collected under, from or in
                                   respect of any credit support for that Distribution Date.

                   As described below, unless otherwise specified in the prospectus supplement, the entire
           Available Distribution Amount will be distributed among the related Notes or Certificates, as
           applicable, (including any Notes or Certificates, as applicable, not offered by this prospectus) on each
           Distribution Date, and accordingly will be released from the trust fund and will not be available for
           any future distributions.

                   The prospectus supplement for a series of Notes or Certificates, as applicable, will describe
           any variation in the calculation or distribution of the Available Distribution Amount for that series.




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           Distributions of Interest on the Securities

                   Each class of Notes or Certificates, as applicable, (other than classes of Strip Securities which
           have no Interest Rate) may have a different Interest Rate, which will be a fixed, variable or adjustable
           rate at which interest will accrue on that class or a component of that class (the "Interest Rate" in the
           case of Certificates). The prospectus supplement will specify the Interest Rate for each class or
           component or, in the case of a variable or adjustable Interest Rate, the method for determining the
           Interest Rate. Interest on the Notes or Certificates, as applicable, will be calculated on the basis of a
           360-day year consisting of twelve 30-day months unless the prospectus supplement specifies a
           different basis.

                   Distributions of interest on the Notes or Certificates, as applicable, of any class will be made
           on each Distribution Date (other than any class of Accrual Securities, which will be entitled to
           distributions of accrued interest starting only on the Distribution Date, or under the circumstances,
           specified in the prospectus supplement, and any class of Strip Securities that are not entitled to any
           distributions of interest) based on the Accrued Security Interest for that class and that Distribution
           Date, subject to the sufficiency of the portion of the Available Distribution Amount allocable to that
           class on that Distribution Date. Before any interest is distributed on any class of Accrual Securities,
           the amount of Accrued Security Interest otherwise distributable on that class will instead be added to
           the Security Balance of that class on each Distribution Date.

                   For each class of Notes or Certificates, as applicable, and each Distribution Date (other than
           some classes of Strip Securities), "Accrued Security Interest" will be equal to interest accrued during
           the related Accrual Period on the outstanding Security Balance of the class of Notes or Certificates,
           as applicable, immediately before the Distribution Date, at the applicable Interest Rate, reduced as
           described below. Accrued Security Interest on some classes of Strip Securities will be equal to
           interest accrued during the related Accrual Period on the outstanding notional amount of the Strip
           Security immediately before each Distribution Date, at the applicable Interest Rate, reduced as
           described below, or interest accrual in the manner described in the prospectus supplement. The
           method of determining the notional amount for a particular class of Strip Securities will be described
           in the prospectus supplement. Reference to notional amount is solely for convenience in some of the
           calculations and does not represent the right to receive any distributions of principal. Unless
           otherwise provided in the prospectus supplement, the Accrued Security Interest on a series of Notes
           or Certificates, as applicable, will be reduced in the event of prepayment interest shortfalls, which are
           shortfalls in collections of interest for a full accrual period resulting from prepayments before the due
           date in that accrual period on the mortgage loans or contracts comprising or underlying the Assets in
           the trust fund for that series. The particular manner in which these shortfalls are to be allocated
           among some or all of the classes of Notes or Certificates, as applicable, of that series will be
           specified in the prospectus supplement. The prospectus supplement will also describe the extent to
           which the amount of Accrued Security Interest that is otherwise distributable on (or, in the case of
           Accrual Securities, that may otherwise be added to the Security Balance of) a class of Offered Notes
           or Offered Certificates, as applicable, may be reduced as a result of any other contingencies,
           including delinquencies, losses and deferred interest on the loans or contracts comprising or
           underlying the Assets in the related trust fund. Unless otherwise provided in the prospectus
           supplement, any reduction in the amount of Accrued Security Interest otherwise distributable on a
           class of Notes or Certificates, as applicable, by reason of the allocation to that class of a portion of
           any deferred interest on the loans or contracts comprising or underlying the Assets in the related trust
           fund will result in a corresponding increase in the Security Balance of that class. See "Yield and
           Prepayment Considerations".

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           Distributions of Principal of the Securities

                   The Notes or Certificates, as applicable, of each series, other than some classes of Strip
           Securities, will have a "Security Balance" which, at any time, will equal the then maximum amount
           that the holder will be entitled to receive on principal out of the future cash flow on the Assets and
           other assets included in the related trust fund. The outstanding Security Balance of a Security will be
           reduced:

                           to the extent of distributions of principal on that Security from time to time and

                           if and to the extent provided in the prospectus supplement, by the amount of losses
           incurred on the related Assets.

                   The outstanding Security Balance of a Security:

                           may be increased in respect of deferred interest on the related loans, to the extent
           provided in the prospectus supplement and

                            in the case of Accrual Securities, will be increased by any related Accrued Security
           Interest up until the Distribution Date on which distributions of interest are required to begin.

                   If specified in the prospectus supplement, the initial total Security Balance of all classes of
           Notes or Certificates, as applicable, of a series will be greater than the outstanding total principal
           balance of the related Assets as of the applicable Cut-off Date. The initial total Security Balance of a
           series and each class of the series will be specified in the prospectus supplement. Distributions of
           principal will be made on each Distribution Date to the class or classes of Notes or Certificates, as
           applicable, in the amounts and in accordance with the priorities specified in the prospectus
           supplement. Some classes of Strip Securities with no Security Balance are not entitled to any
           distributions of principal.

                    If specified in the related prospectus supplement, the trust fund may issue notes or
           certificates, as applicable, from time to time and use proceeds of this issuance to make principal
           payments with respect to a series.

           Revolving Period

                    The applicable prospectus supplement may provide that all or a portion of the principal
           collections may be applied by the trustee to the acquisition of subsequent Revolving Credit Line
           Loans during a specified period rather than used to distribute payments of principal to
           securityholders during that period. These notes or certificates, as applicable, would then possess an
           interest only period, also commonly referred to as a "Revolving Period", which will be followed by
           an "Amortization Period", during which principal will be paid. Any interest only revolving period
           may terminate prior to the end of the specified period and result in the earlier than expected principal
           repayment of the notes or certificates, as applicable.

           Components

                   To the extent specified in the prospectus supplement, distribution on a class of Notes or
           Certificates, as applicable, may be based on a combination of two or more different components as
           described under "-General" above. To that extent, the descriptions set forth under "Distributions of

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           Interest on the Securities" and "-Distributions of Principal of the Securities" above also relate to
           components of the component class of Notes or Certificates, as applicable. References in those
           sections to Security Balance may refer to the principal balance, if any, of these components and
           reference to the Interest Rate may refer to the Interest Rate, if any, on these components.

           Distributions on the Securities of Prepayment Premiums

                   If so provided in the prospectus supplement, Prepayment Premiums that are collected on the
           loans in the related trust fund will be distributed on each Distribution Date to the class or classes of
           Notes or Certificates, as applicable, entitled to the distribution as described in the prospectus
           supplement.

           Allocation of Losses and Shortfalls

                    If so provided in the prospectus supplement for a series of Notes or Certificates, as
           applicable, consisting of one or more classes of Subordinate Notes or Subordinate Certificates, as
           applicable, on any Distribution Date in respect of which losses or shortfalls in collections on the
           Assets have been incurred, the amount of those losses or shortfalls will be borne first by a class of
           Subordinate Notes or Subordinate Certificates, as applicable, in the priority and manner and subject
           to the limitations specified in the prospectus supplement. See "Description of Credit Support" for a
           description of the types of protection that may be included in a trust fund against losses and shortfalls
           on Assets comprising that trust fund. The prospectus supplement for a series of Notes or Certificates,
           as applicable, will describe the entitlement, if any, of a class of Notes or Certificates, as applicable,
           whose Security Balance has been reduced to zero as a result of distributions or the allocation of
           losses on the related Assets to recover any losses previously allocated to that class from amounts
           received on the Assets. However, if the Security Balance of a class of Notes or Certificates, as
           applicable, has been reduced to zero as the result of principal distributions, the allocation of losses on
           the Assets, an optional termination or an optional purchase or redemption, that class will no longer be
           entitled to receive principal distributions from amounts received on the assets of the related trust
           fund, including distributions in respect of principal losses previously allocated to that class.

           Advances in Respect of Delinquencies

                   If so provided in the prospectus supplement, the servicer or another entity described in the
           prospectus supplement will be required as part of its servicing responsibilities to advance on or
           before each Distribution Date its own funds or funds held in the related Collection Account that are
           not included in the Available Distribution Amount for that Distribution Date, in an amount equal to
           the total of payments of (1) principal (other than any balloon payments) and (2) interest (net of
           related servicing fees and Retained Interest) that were due on the Assets in that trust fund during the
           related Due Period and were delinquent on the related Determination Date, subject to a good faith
           determination that the advances will be reimbursable from Related Proceeds (as defined below). In
           the case of a series of Notes or Certificates, as applicable, that includes one or more classes of
           Subordinate Notes or Subordinate Certificates, as applicable, and if so provided in the prospectus
           supplement, the servicer's (or another entity's) advance obligation may be limited only to the portion
           of those delinquencies necessary to make the required distributions on one or more classes of Senior
           Notes or Senior Certificates, as applicable, and/or may be subject to a good faith determination that
           advances will be reimbursable not only from Related Proceeds but also from collections on other
           Assets otherwise distributable on one or more classes of those Subordinate Notes or Subordinate
           Certificates, as applicable. See "Description of Credit Support."

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                    Advances are intended to maintain a regular flow of scheduled interest and principal
           payments to holders of the class or classes of Notes or Certificates, as applicable, entitled to the
           payments, rather than to guarantee or insure against losses. Advances of the servicer' s (or another
           entity's) funds will be reimbursable only out of related recoveries on the Assets (including amounts
           received under any form of credit support) respecting which those advances were made (as to any
           Assets, "Related Proceeds") and from any other amounts specified in the prospectus supplement,
           including out of any amounts otherwise distributable on one or more classes of Subordinate Notes or
           Subordinate Certificates, as applicable, of that series; provided, however, that any advance will be
           reimbursable from any amounts in the related Collection Account before any distributions being
           made on the Notes or Certificates, as applicable, to the extent that the servicer (or some other entity)
           determines in good faith that that advance (a "Nonrecoverable Advance") is not ultimately
           recoverable from Related Proceeds or, if applicable, from collections on other Assets otherwise
           distributable on the Subordinate Notes or Subordinate Certificates, as applicable. If advances have
           been made by the servicer from excess funds in the related Collection Account, the servicer is
           required to replace these funds in that Collection Account on any future Distribution Date to the
           extent that funds in that Collection Account on that Distribution Date are less than payments required
           to be made to securityholders on that date. If specified in the prospectus supplement, the obligations
           of the servicer (or another entity) to make advances may be secured by a cash advance reserve fund,
           a surety bond, a letter of credit or another form of limited guaranty. If applicable, information
           regarding the characteristics of and the identity of any borrower on any surety bond will be set forth
           in the prospectus supplement.

                   If and to the extent so provided in the prospectus supplement, the servicer (or another entity)
           will be entitled to receive interest at the rate specified in the prospectus supplement on its outstanding
           advances and will be entitled to pay itself this interest periodically from general collections on the
           Assets before any payment to securityholders or as otherwise provided in the related Agreement and
           described in the prospectus supplement.

                   If specified in the prospectus supplement, the master servicer or the trustee will be required to
           make advances, subject to specific conditions described in the prospectus supplement, in the event of
           a servicer default.

           Mandatory Auction

                   The applicable prospectus supplement for a series of Notes may provide for a Dutch auction
           of such Notes to be held on a specified date, provided that certain conditions are met. The prospectus
           supplement may further provide for adjustments to the terms of the Notes, including but not limited
           to, acceleration of principal repayments, reset of interest rate and/or payment by a credit
           enhancement provider, and such adjustments may be determined by the results of the Dutch auction.

           Reports to Securityholders

                    With each distribution to holders of any class of Notes or Certificates, as applicable, of a
           series, the servicer, the master servicer or the trustee, as provided in the prospectus supplement, will
           forward or cause to be forwarded to each holder, to the depositor and to any other parties as may be
           specified in the related Agreement, a statement containing the information specified in the prospectus
           supplement, or if no information is specified in the prospectus supplement, generally setting forth, in
           each case to the extent applicable and available:


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                           (1)     the applicable record dates, accrual periods, determination dates for
                   calculating distributions and general distribution dates;

                           (2)     the total cash flows received and the general sources thereof;

                           (3)      the amount of that distribution to holders of Notes or Certificates, as
                   applicable, of that class applied to reduce the Security Balance of the Notes or Certificates, as
                   applicable;

                           (4)      the amount of that distribution to holders of Notes or Certificates, as
                   applicable, of that class allocable to Accrued Security Interest;

                           (5)     the amount of that distribution allocable to Prepayment Premiums;

                          (6)      the amount of related servicing compensation and any other customary
                   information as is required to enable securityholders to prepare their tax returns;

                          (7)    the total amount of advances included in that distribution, and the total
                   amount ofunreimbursed advances at the close of business on that Distribution Date;

                           (8)    the total principal balance of the Assets at the close of business on that
                   Distribution Date;

                           (9)     the number and total principal balance of loans in respect of which

                           (a)     one scheduled payment is delinquent,

                           (b)     two scheduled payments are delinquent,

                           (c)     three or more scheduled payments are delinquent, and

                           (d)     foreclosure proceedings have begun;

                            (10)    for any loan or contract liquidated during the related Due Period, (a) the
                   portion of the related liquidation proceeds payable or reimbursable to a servicer (or any other
                   entity) in respect of that loan and (b) the amount of any loss to securityholders;

                           (11)     with respect to collateral acquired by the trust fund through foreclosure or
                   otherwise (an "REO Property") relating to a loan or contract and included in the trust fund as of
                   the end of the related Due Period, the date of acquisition;

                           (12)    for each REO Property relating to a loan or contract and included in the trust
                   fund as of the end of the related Due Period,

                                   (a)     the book value,

                                   (b)     the principal balance of the related loan or contract immediately
                                           following that Distribution Date (calculated as if that mortgage loan
                                           or contract were still outstanding taking into account limited
                                           modifications to the terms of the loan specified in the Agreement),

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                                    (c)    the total amount of unreimbursed serv1cmg expenses                      and
                                           unreimbursed advances in respect of the REO Property and

                                    (d)     if applicable, the total amount of interest accrued and payable on
                                            related servicing expenses and related advances;

                             (13)   for any REO Property sold during the related Due Period

                                    (a)    the total amount of sale proceeds,

                                    (b)    the portion of those sales proceeds payable or reimbursable to the
                                           servicer or the master servicer in respect of that REO Property or the
                                           related loan or contract and

                                    (c)    the amount of any loss to security holders in respect of the related
                                           loan;

                            (14)   the total Security Balance or notional amount, as the case may be, of each
                   class of Notes or Certificates, as applicable, (including any class of Notes or Certificates, as
                   applicable, not offered by this prospectus) at the close of business on that Distribution Date,
                   separately identifying any reduction in that Security Balance due to the allocation of any loss
                   and increase in the Security Balance of a class of Accrual Securities if any Accrued Security
                   Interest has been added to that balance;

                             (15)   the total amount of principal prepayments made during the related Due
                   Period;

                             (16)   the amount deposited in the reserve fund, if any, on that Distribution Date;

                           (17)    the amount remaining in the reserve fund, if any, as of the close of business
                   on that Distribution Date;

                           (18)     the total unpaid Accrued Security Interest, if any, on each class of Notes or
                   Certificates, as applicable, at the close of business on that Distribution Date;

                           (19)    in the case of Notes or Certificates, as applicable, with a variable Interest
                   Rate, the Interest Rate applicable to that Distribution Date, and, if available, the immediately
                   succeeding Distribution Date, as calculated in accordance with the method specified in the
                   prospectus supplement;

                           (20)    in the case of Notes or Certificates, as applicable, with an adjustable Interest
                   Rate, for statements to be distributed in any month in which an adjustment date occurs, the
                   adjustable Interest Rate applicable to that Distribution Date, if available, and the immediately
                   succeeding Distribution Date as calculated in accordance with the method specified in the
                   prospectus supplement;

                          (21)     as to any series that includes credit support, the amount of coverage of each
                   instrument of credit support included as of the close of business on that Distribution Date;



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                           (22)   during the Pre-Funding Period, the remaining Pre-Funded Amount and the
                   portion of the Pre-Funding Amount used to acquire Subsequent Assets since the preceding
                   Distribution Date;

                            (23)  during the Pre-Funding Period, the amount remammg m the Capitalized
                   Interest Account; and

                           (24)   the total amount of payments by the borrowers of

                                   (a)     default interest,

                                   (b)    late charges and

                                   (c)    assumption and modification fees collected during the related Due
                                          Period.

                   Reports, whether monthly or annual, will be transmitted in paper format to the holder of
           record of the class of securities contemporaneously with the distribution on that particular class. In
           addition, the monthly reports will be posted on a website as described below under "Available
           Information."

                   Within a reasonable period of time after the end of each calendar year, the servicer, the
           master servicer or the trustee, as provided in the prospectus supplement, will furnish to each
           securityholder of record at any time during the calendar year the information required by the Code
           and applicable regulations under the Code to enable securityholders to prepare their tax returns. See
           "Description of the Securities-Book-Entry Registration and Definitive Securities."

           Termination

                   The obligations created by the related Agreement for each series of Notes or Certificates, as
           applicable, will terminate upon the payment to securityholders of that series of all amounts held in
           the Collection Accounts or by a servicer, the master servicer, if any, or the trustee and required to be
           paid to them pursuant to that Agreement following the earlier of (1) the final payment or other
           liquidation of the last Asset subject to the related Agreement or the disposition of all property
           acquired upon foreclosure of any loan or contract subject to the Agreement and (2) the purchase of
           all of the assets of the trust fund by the party entitled to effect that termination, under the
           circumstances and in the manner set forth in the prospectus supplement. In no event, however, will
           the trust fund continue beyond the date specified in the prospectus supplement. Written notice of
           termination of the Agreement will be given to each security holder, and the final distribution will be
           made only upon presentation and surrender of the Notes or Certificates, as applicable, at the location
           to be specified in the notice of termination.

                   If specified in the prospectus supplement, a series of Notes or Certificates, as applicable, may
           be subject to optional early termination through the purchase of the Assets in the related trust fund by
           the party specified in the prospectus supplement (which shall not be the holder of an offered class of
           Notes or Certificates, as applicable), under the circumstances and in the manner set forth in the
           prospectus supplement. If so provided in the prospectus supplement, upon the reduction of the
           Security Balance of a specified class or classes of Notes or Certificates, as applicable, by a specified
           percentage, the party specified in the prospectus supplement will solicit bids for the purchase of all


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           assets of the trust fund, or of a sufficient portion of those assets to retire that class or classes or
           purchase that class or classes at a price set forth in the prospectus supplement, in each case, under the
           circumstances and in the manner set forth in the prospectus supplement. That price will at least equal
           the outstanding Security Balances and any accrued and unpaid interest on the Security Balances
           (including any unpaid interest shortfalls for prior Distribution Dates). Any sale of the Assets of the
           trust fund will be without recourse to the trust fund or the securityholders. Any purchase or
           solicitation of bids may be made only when the total Security Balance of that class or classes declines
           to a percentage of the Initial Security Balance of those Notes or Certificates, as applicable, (not to
           exceed 10%) specified in the prospectus supplement. In addition, if so provided in the prospectus
           supplement, some classes of Notes or Certificates, as applicable, may be purchased or redeemed in
           the manner set forth in the prospectus supplement at a price at least equal to the outstanding Security
           Balance of each class so purchased or redeemed and any accrued and unpaid interest on the Security
           Balance (including any unpaid interest shortfalls for prior Distribution Dates). In the event that any
           series of certificates or notes which provides for such a purchase at 25% or more of the aggregate
           principal balance outstanding, the certificates or notes will use the word "Callable" in their title.

           Optional Purchases

                    Subject to the provisions of the applicable Agreement, the depositor, the servicer or any other
           party specified in the prospectus supplement (other than the holder of an offered security) may, at
           that party's option, repurchase any loan that is in default or as to which default is reasonably
           foreseeable if, in the depositor's, the servicer' s or any other party's judgment, the related default is
           not likely to be cured by the borrower or default is not likely to be averted, at a price equal to the
           unpaid principal balance of the loan plus accrued interest on the loan and under the conditions set
           forth in the prospectus supplement.

           Book-Entry Registration

                   If so specified in the related prospectus supplement, one or more classes of securities of any
           series may be issued as book-entry securities. Persons acquiring beneficial ownership interests in
           book-entry securities will hold their securities either:

                       •   directly through The Depository Trust Company ("DTC') in the United States, or
                           Clearstream, Luxembourg or Euroclear in Europe, if they are participants of these
                           systems, or

                       •   indirectly through organizations that are participants in these systems.




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                   Each class of book-entry securities will be issued in one or more certificates that equal the
           aggregate principal balance of the class and will initially be registered in the name of Cede & Co. as
           the nominee of DTC. Clearstream, Luxembourg and Euroclear will hold omnibus positions on behalf
           of their participants through customers' securities accounts in Clearstream, Luxembourg's or
           Euroclear's name, on the books of their respective depositaries. These depositaries will in tum hold
           the positions in customers' securities accounts in the depositaries' names on the books of DTC.
           Citibank, N.A. will act as depositary for Clearstream, Luxembourg and JPMorgan Chase Bank, N.A.
           will act as depositary for Euroclear. Except as described below, no person acquiring a beneficial
           interest in a book-entry security will be entitled to receive a physical certificate representing the
           security.

                   The beneficial owner's ownership of a book-entry security will be recorded on the records of
           the brokerage firm, bank, thrift institution or other financial intermediary that maintains the
           beneficial owner's account for that purpose. In tum, the financial intermediary's ownership of a
           book-entry security will be recorded on the records of DTC (or of a participating firm that acts as
           agent for the financial intermediary, whose interest will in tum be recorded on the records ofDTC, if
           the beneficial owner's financial intermediary is not a DTC participant, and on the records of
           Clearstream, Luxembourg or Euroclear, as appropriate). Therefore, the beneficial owner must rely on
           the foregoing procedures to evidence its beneficial ownership of a book-entry security. Beneficial
           ownership of a book-entry security may only be transferred by compliance with the procedures of the
           financial intermediaries and depository participants.

                    Beneficial owners will receive all distributions of principal of and interest on the securities
           from the trustee through DTC and its participants. While the securities are outstanding (except under
           the circumstances described below), DTC is required to make book-entry transfers of the securities
           among participants on whose behalf it acts and is required to receive and transmit distributions on the
           securities in accordance with rules, regulations and procedures creating and affecting DTC and its
           operations. Participants and indirect participants with whom beneficial owners have accounts are
           likewise required to make book-entry transfers and receive and transmit distributions on behalf of
           their respective beneficial owners. Although beneficial owners will not possess physical certificates,
           the DTC rules, regulations and procedures provide a mechanism by which beneficial owners may
           receive distributions on the securities and transfer their interests in the securities.

                    Beneficial owners will not receive or be entitled to receive certificates representing their
           interests in the securities except under the limited circumstances described below. Until definitive
           securities are issued, beneficial owners who are not participants may transfer ownership of their
           securities only through participants and indirect participants by instructing them to transfer securities
           through DTC for the accounts of the purchasers of those securities. In accordance with DTC's rules,
           regulations and procedures, transfers of ownership will be executed through DTC, and the accounts
           of the respective participants at DTC will be debited and credited. Similarly, the participants and
           indirect participants will make the appropriate debits and credits on their records on behalf of the
           selling and purchasing beneficial owners.

                   Because of time zone differences, credits of securities received in Clearstream, Luxembourg
           or Euroclear resulting from transactions with participants will be made during subsequent securities
           settlement processing and dated the business day after the DTC settlement date. These credits, and
           any transactions in the securities settled during processing, will be reported to the applicable
           Euroclear or Clearstream, Luxembourg participants on that business day. Cash received in
           Clearstream, Luxembourg or Euroclear resulting from sales of securities by or through a Clearstream,

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           Luxembourg participant (described below) or Euroclear Participant (described below) to a DTC
           participant will be received with value on the DTC settlement date but will not be available in the
           applicable Clearstream, Luxembourg or Euroclear cash account until the business day after
           settlement in DTC.

                   Transfers between DTC participants will be governed by DTC rules. Transfers between
           Clearstream, Luxembourg participants and Euroclear participants will be governed by their
           respective rules and operating procedures.

                    Cross-market transfers between persons holding directly or indirectly through DTC and
           persons holding directly or indirectly through Clearstream, Luxembourg participants or Euroclear
           participants will be effected in DTC in accordance with DTC rules on behalf of the applicable
           European international clearing system by the applicable depositary. These cross-market
           transactions, however, will require delivery of instructions to the applicable European international
           clearing system by the counterparty in that system according to its rules and procedures and within
           its established deadlines (European time). If the transaction meets its settlement requirements, the
           applicable European international clearing system will deliver instructions to the applicable
           depositary to effect final settlement on its behalf by delivering or receiving securities in DTC, and
           making or receiving payment in accordance with the procedures for same day funds settlement
           applicable to DTC. Clearstream, Luxembourg Participants and Euroclear Participants may not deliver
           instructions directly to the European depositaries.

                    Clearstream, Luxembourg is incorporated under the laws of Luxembourg as a professional
           depository. Clearstream, Luxembourg holds securities for its participating organizations and
           facilitates the clearance and settlement of securities transactions between Clearstream, Luxembourg
           participants through electronic book-entry changes in the participants' accounts, thereby eliminating
           the need for physical transfer of certificates. Transactions may be settled in Clearstream,
           Luxembourg in any of 30 currencies, including United States dollars. Clearstream, Luxembourg
           provides its participants, among other things, services for safekeeping, administration, clearance and
           settlement of internationally traded securities and securities lending and borrowing. Clearstream,
           Luxembourg interfaces with domestic markets in several countries. As a professional depository,
           Clearstream, Luxembourg is subject to regulation by the Luxembourg Monetary Institute.
           Clearstream, Luxembourg participants are recognized financial institutions around the world,
           including underwriters, securities brokers and dealers, banks, trust companies, clearing corporations
           and certain other organizations. Indirect access to Clearstream, Luxembourg is also available to other
           entities, such as banks, brokers, dealers and trust companies that clear through or maintain a custodial
           relationship with a Clearstream, Luxembourg participant, either directly or indirectly.

                   Euroclear was created in 1968 to hold securities for its participants and to clear and settle
           transactions between Euroclear participants through simultaneous electronic book-entry delivery
           against payment, thereby eliminating the need for physical transfer of certificates, as well as any risk
           from the lack of simultaneous transfers of securities and cash. Transactions may be settled in any of
           32 currencies, including United States dollars. Euroclear provides various other services, including
           securities lending and borrowing. It also interfaces with domestic markets in several countries in a
           manner similar to the arrangements for cross-market transfers with DTC described above. Euroclear
           is operated by the Brussels, Belgium office of Morgan Guaranty Trust Company of New York
           ("Morgan"), under contract with Euroclear Clearance Systems S.C., a Belgian cooperative
           corporation. All operations are conducted by Morgan. All Euroclear securities clearance accounts
           and Euroclear cash accounts are accounts with Morgan, not Euroclear Clearance Systems S.C.

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           Euroclear Clearance Systems S.C. establishes policy for Euroclear on behalf of Euroclear
           participants. Euroclear participants include banks (including central banks), securities brokers and
           dealers and other professional financial intermediaries. Indirect access to Euroclear is also available
           to other firms that clear through or maintain a custodial relationship with a Euroclear participant,
           either directly or indirectly.

                  Morgan is the Belgian branch of a New York banking corporation that is a member bank of
           the Federal Reserve System. As such, it is regulated and examined by the Board of Governors of the
           Federal Reserve System and the New York State Banking Department, as well as by the Belgian
           Banking Commission.

                    Securities clearance accounts and cash accounts with Morgan are governed by the Terms and
           Conditions Governing Use of Euroclear and the related Operating Procedures of the Euroclear
           System and applicable Belgian law. These laws and rules govern transfers of securities and cash
           within Euroclear, withdrawals of securities and cash from Euroclear, and receipt of payments with
           respect to securities in Euroclear. All securities in Euroclear are held on a fungible basis without
           attribution of specific certificates to specific securities clearance accounts. Morgan, in its capacity as
           Euroclear operator, acts under the laws and procedures described above only on behalf of Euroclear
           participants, and has no record of or relationship with persons holding through Euroclear participants.

                    Under a book-entry format, beneficial owners of the book-entry securities may experience
           some delay in their receipt of payments, because the trustee will send payments to Cede & Co., as
           nominee of DTC. Distributions on securities held through Clearstream, Luxembourg or Euroclear
           and received by the applicable depositary will be credited to the cash accounts of Clearstream,
           Luxembourg Participants or Euroclear Participants in accordance with each system's rules and
           procedures. These distributions will be subject to tax reporting under the applicable United States
           laws and regulations. See "Federal Income Tax Consequences-REMICs Foreign Investors in REMIC
           Certificates" and "-Notes-Taxation ofNoteholders" in this prospectus. Because DTC can only act on
           behalf of financial intermediaries, the a beneficial owner's ability to pledge book-entry securities to
           persons or entities that do not participate in the DTC system, or otherwise take actions in respect of
           the book-entry securities, may be limited by the lack of physical certificates for the book-entry
           securities. In addition, issuance of the book-entry securities in book-entry form may reduce the
           liquidity of those securities in the secondary market because some potential investors may not want
           to purchase securities for which they cannot obtain physical certificates.

                   Until definitive securities are issued, it is anticipated that the only "securityholder" of the
           book-entry securities will be Cede & Co., as nominee of DTC. Beneficial owners are only permitted
           to exercise the rights of securityholders indirectly through financial intermediaries and DTC.
           Monthly and annual reports for the related trust fund will be provided to Cede & Co., as nominee of
           DTC. Cede & Co. may make them available to beneficial owners upon request, in accordance with
           the rules, regulations and procedures creating and affecting DTC. It may also make them available to
           the financial intermediaries to whose DTC accounts the book-entry securities of those beneficial
           owners are credited.

                   Until definitive securities are issued, DTC will take any action permitted to be taken by the
           holders of the book-entry securities of a series under the related agreement only at the direction of
           one or more financial intermediaries to whose DTC accounts the book-entry securities are credited,
           to the extent that the actions are taken on behalf of financial intermediaries whose holdings include
           the book-entry securities. Clearstream, Luxembourg or Morgan (in its capacity as Clearstream

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           operator) will take any other action permitted to be taken by a securityholder on behalf of a
           Clearstream, Luxembourg participant or Euroclear participant, respectively, only in accordance with
           its applicable rules and procedures and subject to the applicable depositary's ability to effect actions
           on its behalf through DTC. At the direction of the related participants, DTC may take actions with
           respect to some securities that conflict with actions taken with respect to other securities.

                   The applicable prospectus supplement may specify when and for what reasons definitive
           securities may be issued, but if it does not, definitive securities will be issued to beneficial owners of
           book-entry securities, or their nominees, rather than to DTC, only if:

                       •   DTC or the depositor advises the trustee in writing that DTC is no longer willing,
                           qualified or able to discharge properly its responsibilities as nominee and depository
                           with respect to the book-entry securities, and DTC or the trustee is unable to locate a
                           qualified successor;

                       •   the depositor, at its sole option, elects to terminate the book-entry system through
                           DTC;

                       •   or after the occurrence of an event of default, beneficial owners of secunt1es
                           representing not less than 51% of the aggregate percentage interests evidenced by
                           each class of securities of the related series issued as book-entry securities advise the
                           trustee and DTC through the financial intermediaries in writing that the continuation
                           of a book-entry system through DTC (or a successor to it) is no longer in the best
                           interests of the beneficial owners.

                    Upon the occurrence of any of the events described in the preceding paragraph, the trustee
           will be required to notify all beneficial owners of the occurrence of the event and the availability of
           definitive securities through DTC. Upon surrender by DTC of the global certificate or certificates
           representing the book-entry securities and instructions for re-registration, the trustee will issue the
           definitive securities, and thereafter the trustee will recognize the holders of the definitive securities as
           securityholders under the applicable agreement.

                  Although DTC, Clearstream, Luxembourg and Euroclear have agreed to the foregoing
           procedures in order to facilitate transfers of securities among participants of DTC, Clearstream,
           Luxembourg and Euroclear, they are not obligated to perform or continue to perform these
           procedures and these procedures may be discontinued at any time.

                   The servicer, the depositor and the trustee will not be responsible for any aspect of the
           records relating to or payments made on account of beneficial ownership interests of the book-entry
           securities held by Cede & Co., as nominee ofDTC, or for maintaining, supervising or reviewing any
           records relating to the beneficial ownership interests.




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                                               Description of the Agreements

           Agreements Applicable to a Series

                   REMIC Securities, Grantor Trust Securities

                   Notes or Certificates, as applicable, representing interests in a trust fund, or a portion of a
           trust fund, that the trustee will elect to have treated as a real estate mortgage investment conduit
           under Sections 860A through 860G of the Code ("REMIC Securities") or Grantor Trust Securities
           (as defined in this prospectus) will be issued, and the related trust fund will be created, pursuant to a
           pooling and servicing agreement or trust agreement (in either case, generally referred to in this
           prospectus as the "pooling and servicing agreement") among the depositor, the trustee and the sole
           servicer or master servicer, as applicable. The Assets of that trust fund will be transferred to the trust
           fund and thereafter serviced in accordance with the terms of the pooling and servicing agreement. In
           the event there are multiple servicers of the Assets of that trust fund, or in the event the Securities
           consist of Notes, each servicer will perform its servicing functions pursuant to a related underlying
           serv1cmg agreement. Forms of the agreements have been filed as exhibits to the registration
           statement of which this prospectus is a part. However, the provisions of each agreement will vary
           depending upon the nature of the related securities and the nature of the related trust fund. The
           summaries included herein describe provisions that may appear in a pooling and servicing agreement
           with respect to a series of Certificates or in either the servicing agreement or indenture with respect
           to a series of Notes. The prospectus supplement for a series of securities will describe material
           provisions of the related agreements that differ from the description thereof set forth below. The
           depositor will provide a copy of each agreement (without exhibits) that relates to any series of
           securities without charge upon written request of a holder of an offered security of the series
           addressed to it at its principal executive offices specified in this prospectus under "The Depositor".
           As to each series of securities, the related agreements will be filed with the Commission in a current
           report on Form 8-K following the issuance of the securities.

                   Notes

                   A series of Notes issued by a trust fund that is intended to be treated as a partnership or
           disregarded entity for tax purposes will be issued pursuant to an indenture between the related trust
           fund and an indenture trustee named in the prospectus supplement. The trust fund will be established
           either as a statutory business trust under the law of the State of Delaware or as a common law trust
           under the law of the State of New York pursuant to a trust agreement between the depositor and an
           owner trustee specified in the prospectus supplement relating to that series of Notes. The Assets
           securing payment on the Notes will be serviced in accordance with a sale and servicing agreement or
           servicing agreement.

           Material Terms of the Pooling and Servicing Agreements and Underlying Servicing Agreements

                   General

                   The following summaries describe the material provisions that may appear in each pooling
           and servicing agreement, sale and servicing agreement or servicing agreement (each an
           "Agreement"). The prospectus supplement for a series of Notes or Certificates, as applicable, will
           describe any provision of the Agreement relating to that series that materially differs from the
           description of those provisions contained in this prospectus. The summaries do not purport to be

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           complete and are subject to, and are qualified by reference to, all of the provisions of the Agreement
           for each trust fund and the description of those provisions in the prospectus supplement. The
           provisions of each Agreement will vary depending on the nature of the Notes or Certificates, as
           applicable, to be issued under the Agreement and the nature of the related trust fund. As used in this
           prospectus for any series, the term "Security" refers to all of the Notes or Certificates, as applicable,
           of that series, whether or not offered by this prospectus and by the prospectus supplement, unless the
           context otherwise requires. A form of a pooling and servicing agreement has been filed as an exhibit
           to the Registration Statement of which this prospectus is a part. The depositor will provide a copy of
           the pooling and servicing agreement (without exhibits) relating to any series of Notes or Certificates,
           as applicable, without charge upon written request of a securityholder of that series addressed to
           Nomura Home Equity Loan, Inc., Two World Financial Center, Building B, 21st Floor, New York,
           NewYork 10281.

                   The servicer or master servicer and the trustee for any series of Notes or Certificates, as
           applicable, will be named in the prospectus supplement. In the event there are multiple servicers for
           the Assets in a trust fund, a master servicer will perform some of the administration, calculation and
           reporting functions for that trust fund and will supervise the related servicers pursuant to a pooling
           and servicing agreement. For a series involving a master servicer, references in this prospectus to the
           servicer will apply to the master servicer where non-servicing obligations are described. If specified
           in the prospectus supplement, a manager or administrator may be appointed pursuant to the pooling
           and servicing agreement for any trust fund to administer that trust fund.

                   Assignment ofAssets; Repurchases

                    At the time of issuance of any series of Notes or Certificates, as applicable, the depositor will
           assign (or cause to be assigned) to the designated trustee the Assets to be included in the related trust
           fund, together with all principal and interest to be received on or with respect to those Assets after the
           Cut-off Date, other than principal and interest due on or before the Cut-off Date and other than any
           Retained Interest. The trustee will, concurrently with that assignment, deliver the Notes or
           Certificates, as applicable, to the depositor in exchange for the Assets and the other assets comprising
           the trust fund for that series. Each Asset will be identified in a schedule appearing as an exhibit to the
           related Agreement. That schedule will include detailed information to the extent available and
           relevant

                           (1)     in respect of each mortgage loan included in the related trust fund, including
                   the city and state of the related Mortgaged Property and type of that property, the mortgage
                   rate and, if applicable, the applicable index, margin, adjustment date and any rate cap
                   information, the original and remaining term to maturity, the original and outstanding
                   principal balance and balloon payment, if any, the Loan-to-Value Ratio as of the date
                   indicated and payment and prepayment provisions, if applicable, and

                           (2)     in respect of each Contract included in the related trust fund, including the
                   outstanding principal amount and the Contract Rate; and

                           (3)    in respect of each Mortgage Security and Agency Security, the original and
                   outstanding principal amount, if any, and the interest rate on the Mortgage Security or
                   Agency Security.




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                   Unless otherwise specified in the related prospectus supplement, the agreement will require
           that on or before the closing date, the depositor will deliver or cause to be delivered to the trustee (or
           to the custodian) with respect to each single family loan, multifamily loan, mixed-use loan or lot
           loan:

                         •   the mortgage note or contract endorsed without recourse in blank or to the order of
                             the trustee,

                         •   the mortgage, deed of trust or similar instrument with evidence of recording indicated
                             on it (except for any mortgage not returned from the public recording office, in which
                             case the depositor will deliver or cause to be delivered a copy of the mortgage
                             together with a certificate that the original of the mortgage was delivered to the
                             recording office),

                         •   an assignment of the mortgage to the trustee in recordable form in the case of a
                             mortgage assignment, and

                         •   any other security documents specified in the related prospectus supplement or
                             agreement, including security documents relating to any senior interests in the
                             property.

                    The applicable prospectus supplement may provide other arrangements for assuring the
           priority of the assignments, but if it does not, then the depositor will promptly cause the assignments
           of the related loans to be recorded in the appropriate public office for real property records, except in
           states in which, in the opinion of counsel, recording is not required to protect the trustee's interest in
           the mortgage loans against the claim of any subsequent transferee or any successor to or creditor of
           the depositor or the originator of the loans.

                      For any loans that are cooperative loans, the depositor will cause to be delivered to the
           trustee:

                         •   the related original cooperative note endorsed without recourse in blank or to the
                             order of the trustee,

                         •   the original security agreement,

                         •   the proprietary lease or occupancy agreement,

                         •   the recognition agreement,

                         •   an executed financing agreement, and

                         •   the relevant stock certificate, related blank stock powers and any other document
                             specified in the related prospectus supplement.




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                  The depositor will cause to be filed in the appropriate office an assignment and a financing
           statement evidencing the trustee's security interest in each cooperative loan.

                    For any loans that are closed-end second-lien loans or Revolving Credit Line Loans, the
           applicable prospectus supplement will specify whether the documents relating to those loans will
           have to be delivered to the trustee (or a custodian) and whether assignments of the related mortgage
           to the trustee will be recorded. If documents need not be delivered, the servicer will retain them.

                   For any home improvement contracts, the applicable prospectus supplement will specify
           whether the documents relating to those contracts will have to be delivered to the trustee (or a
           custodian). However, unless specified in the related prospectus supplement, the depositor will not
           deliver to the trustee the original mortgage securing a home improvement contract. In order to give
           notice of the right, title and interest of securityholders to the home improvement contracts, the
           depositor will cause a UCC-1 financing statement to be executed by the depositor or the seller,
           identifying the trustee as the secured party and identifying all home improvement contracts as
           collateral. Unless otherwise specified in the related prospectus supplement, the home improvement
           contracts will not be stamped or otherwise marked to reflect their assignment to the trustee.
           Therefore, if, through negligence, fraud or otherwise, a subsequent purchaser takes physical
           possession of the home improvement contracts without notice of the assignment, the securityholders'
           interest in the home improvement contracts could be defeated. See "Certain Legal Aspects of the
           Loans-Home Improvement Contracts."

                   The trustee (or a custodian) will review the mortgage loan documents within a specified
           period of days after receipt of the mortgage loan documents, and the trustee (or a custodian) will hold
           those documents in trust for the benefit of the securityholders. If any of these documents are found to
           be missing or defective in any material respect, the trustee (or that custodian) will immediately notify
           the servicer and the depositor, and the servicer will immediately notify the relevant Asset Seller or
           other entity specified in the prospectus supplement. If the Asset Seller cannot cure the omission or
           defect within a specified number of days after receipt of that notice, then the Asset Seller or other
           entity specified in the prospectus supplement will be obligated, within a specified number of days of
           receipt of that notice, to either (1) repurchase the related loan from the trustee at a price equal to the
           sum of the unpaid principal balance of the loan, plus unpaid accrued interest at the interest rate for
           that Asset from the date as to which interest was last paid to the due date in the Due Period in which
           the relevant purchase is to occur, plus servicing expenses that are payable to the servicer, or another
           price as specified in the prospectus supplement (the "Purchase Price") or (2) substitute a new loan.
           There can be no assurance that an Asset Seller or other named entity will fulfill this repurchase or
           substitution obligation, and neither the servicer nor the depositor will be obligated to repurchase or
           substitute for that loan if the Asset Seller or other named entity defaults on its obligation.

                   This repurchase or substitution obligation constitutes the sole remedy available to the
           securityholders or the trustee for omission of, or a material defect in, a constituent document. To the
           extent specified in the prospectus supplement, in lieu of curing any omission or defect in the Asset or
           repurchasing or substituting for that Asset, the Asset Seller or other named entity may agree to cover
           any losses suffered by the trust fund as a result of that breach or defect.

                   While the contract documents will not be reviewed by the trustee or the servicer, if the
           servicer finds that any document is missing or defective in any material respect, the servicer will be
           required to immediately notify the depositor and the relevant asset seller or other entity specified in
           the prospectus supplement. If the asset seller or some other entity cannot cure the omission or defect

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           within a specified number of days after receipt of this notice, then the asset seller or that other entity
           will be obligated, within a specified number of days of receipt of this notice, to repurchase the related
           contract from the trustee at the purchase price or substitute for that contract. There can be no
           assurance that an asset seller or any other entity will fulfill this repurchase or substitution obligation,
           and neither the servicer nor the depositor will be obligated to repurchase or substitute for that
           contract if the asset seller or any other entity defaults on its obligation. This repurchase or
           substitution obligation constitutes the sole remedy available to the securityholders or the trustee for
           omission of, or a material defect in, a constituent document. To the extent specified in the prospectus
           supplement, in lieu of curing any omission or defect in the asset or repurchasing or substituting for
           that asset, the asset seller may agree to cover any losses suffered by the trust fund as a result of that
           breach or defect.

                    Mortgage Securities and Agency Securities will be registered in the name of the trustee or its
           nominee on the books of the issuer or guarantor or its agent or, in the case of Mortgage Securities
           and Agency Securities issued only in book-entry form, through the depository with respect to the
           Mortgage Securities and Agency Securities, in accordance with the procedures established by the
           issuer or guarantor for registration of those certificates, and distributions on those securities to which
           the trust fund is entitled will be made directly to the trustee.

                   Representations and Warranties; Repurchases

                   To the extent provided in the prospectus supplement the depositor will, for each Asset, assign
           representations and warranties, as of a specified date (the person making those representations and
           warranties, the "Warranting Party") covering, by way of example, the following types of matters:

                       •   the accuracy of the information set forth for that Asset on the schedule of Assets
                           appearing as an exhibit to the related Agreement;

                       •   in the case of a loan, the existence of title insurance insuring the lien priority of the
                           loan and, in the case of a contract, that the contract creates a valid first security
                           interest in or lien on the related manufactured home;

                       •   the authority of the Warranting Party to sell the Asset;

                       •   the payment status of the Asset;

                       •   in the case of a loan, the existence of customary provisions in the related mortgage
                           note and Mortgage to permit realization against the Mortgaged Property of the benefit
                           of the security of the Mortgage; and

                       •   the existence of hazard and extended perils insurance coverage on the Mortgaged
                           Property or manufactured home.

                  Any Warranting Party shall be an Asset Seller or an affiliate of the Asset Seller or any other
           person acceptable to the depositor and will be identified in the prospectus supplement.

                   Representations and warranties made in respect of an Asset may have been made as of a date
           before the applicable Cut-off Date. A substantial period of time may have elapsed between that date
           and the date of initial issuance of the related series of Notes or Certificates, as applicable, evidencing

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           an interest in that Asset. In the event of a breach of any of these representations or warranties, the
           Warranting Party will be obligated to reimburse the trust fund for losses caused by that breach or
           either cure that breach or repurchase or replace the affected Asset as described below. Since the
           representations and warranties may not address events that may occur following the date as of which
           they were made, the Warranting Party will have a reimbursement, cure, repurchase or substitution
           obligation in connection with a breach of that representation and warranty only if the relevant event
           that causes that breach occurs before that date. That party would have no obligations if the relevant
           event that causes that breach occurs after that date.

                   Each Agreement will provide that the servicer and/or trustee or another entity identified in
           the prospectus supplement will be required to notify promptly the relevant Warranting Party of any
           breach of any representation or warranty made by it in respect of an Asset that materially and
           adversely affects the value of that Asset or the interests in the prospectus supplement of the
           securityholders. If the Warranting Party cannot cure that breach within a specified period following
           the date on which that party was notified of that breach, then the Warranting Party will be obligated
           to repurchase that Asset from the trustee within a specified period from the date on which the
           Warranting Party was notified of that breach, at the Purchase Price therefor. If so provided in the
           prospectus supplement for a series, a Warranting Party, rather than repurchase an Asset as to which a
           breach has occurred, will have the option, within a specified period after initial issuance of that series
           of Notes or Certificates, as applicable, to cause the removal of that Asset from the trust fund and
           substitute in its place one or more other Assets, as applicable, in accordance with the standards
           described in the prospectus supplement. If so provided in the prospectus supplement for a series, a
           Warranting Party, rather than repurchase or substitute an Asset as to which a breach has occurred,
           will have the option to reimburse the trust fund or the securityholders for any losses caused by that
           breach. This reimbursement, repurchase or substitution obligation will constitute the sole remedy
           available to securityholders or the trustee for a breach of representation by a Warranting Party.

                   Neither the depositor (except to the extent that it is the Warranting Party) nor the servicer will
           be obligated to purchase or substitute for an Asset if a Warranting Party defaults on its obligation to
           do so, and no assurance can be given that the Warranting Parties will carry out those obligations with
           respect to the Assets.

                     A servicer will make representations and warranties regarding its authority to enter into, and
           its ability to perform its obligations under, the related Agreement. A breach of any representation of
           the servicer that materially and adversely affects the interests of the securityholders and which
           continues unremedied for the number of days specified in the Agreement after the discovery of the
           breach by the servicer or the receipt of written notice of that breach by the servicer from the trustee,
           the depositor or the holders of Notes or Certificates, as applicable, evidencing not less than 25% of
           the voting rights or other percentage specified in the related Agreement, will constitute an Event of
           Default under that Agreement. See "Events of Default" and "Rights Upon Event of Default."




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                   Collection Account and Related Accounts

                    General. The servicer and/or the trustee will, as to each trust fund, establish and maintain or
           cause to be established and maintained one or more separate accounts for the collection of payments
           on the related Assets (collectively, the "Collection Account"), which must be an account or accounts
           that either:

                       •   maintained with a depository institution the debt obligations of which (or in the case
                           of a depository institution that is the principal subsidiary of a holding company, the
                           obligations of which) are rated in one of the two highest rating categories by the
                           nationally recognized statistical rating organizations that rated one or more classes of
                           the related series of securities, or

                       •   an account or accounts the deposits in which are fully insured by either the Bank
                           Insurance Fund (the "BIF') of the FDIC or the Savings Association Insurance Fund
                           (as successor to the Federal Savings and Loan Insurance Corporation ("SAIF')), or

                       •   an account or accounts the deposits in which are insured by the BIF or SAIF to the
                           limits established by the FDIC, and the uninsured deposits in which are otherwise
                           secured such that, as evidenced by an opinion of counsel, the securityholders have a
                           claim with respect to the funds in the Security Account or a perfected first priority
                           security interest against any collateral securing the funds that is superior to the claims
                           of any other depositors or general creditors of the depository institution with which
                           the Security Account is maintained, or

                       •   an account or accounts otherwise acceptable to each rating agency that rated one or
                           more classes of the related series of securities.

                    Investment of amounts in the Collection Account is limited to United States government
           securities and other investment grade obligations specified in the Agreement ("Permitted
           Investments"). A Collection Account may be maintained as an interest bearing or a non-interest
           bearing account and the funds held in the Collection Account may be invested pending each
           succeeding Distribution Date in short-term Permitted Investments. The master servicer will have sole
           discretion to determine the particular investments made so long as it complies with the investment
           terms of the related pooling and servicing agreement or the related servicing agreement and
           indenture. Any interest or other income earned on funds in the Collection Account will, unless
           otherwise specified in the prospectus supplement, be paid to the servicer or its designee as additional
           servicing compensation. The Collection Account may be maintained with an institution that is an
           affiliate of the servicer, if applicable, provided that that institution meets the standards imposed by
           the rating agency or agencies. If permitted by the rating agency or agencies, a Collection Account
           may contain funds relating to more than one series of mortgage pass-through certificates and may
           contain other funds respecting payments on loans belonging to the servicer or serviced or master
           serviced by it on behalf of others.

                   Deposits. A servicer or the trustee will deposit or cause to be deposited in the Collection
           Account for one or more trust funds on a daily basis, or any other period provided in the related
           Agreement, the following payments and collections received, or advances made, by the servicer or
           the trustee or on its behalf after the Cut-off Date (other than payments due on or before the Cut-off


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           Date, and exclusive of any amounts representing a Retained Interest), except as otherwise provided
           in the Agreement:

                             (1)   all payments on account of principal, including principal prepayments, on the
                   Assets;

                           (2)      all payments on account of interest on the Assets, including any default
                   interest collected, in each case net of any portion retained by a servicer as its servicing
                   compensation and net of any Retained Interest;

                          (3)     Liquidation Proceeds and Insurance Proceeds, together with the net proceeds
                   on a monthly basis with respect to any Assets acquired for the benefit of securityholders;

                           (4)     any amounts paid under any instrument or drawn from any fund that
                   constitutes credit support for the related series of Notes or Certificates, as applicable, as
                   described under "Description of Credit Support;"

                         (5)     any advances made as described under "Description of the Securities-
                   Advances in Respect of Delinquencies;"

                          (6)     any amounts paid under any Cash Flow Agreement, as described under
                   "Description of the Trust Funds-Cash Flow Agreements;"

                           (7)      all proceeds of any Asset or, with respect to a loan, property acquired in
                   respect of the loan purchased by the depositor, any Asset Seller or any other specified person
                   as described above under "-Assignment of Assets; Repurchases" and "-Representations
                   and Warranties; Repurchases," all proceeds of any defaulted loan purchased as described
                   below under "-Realization Upon Defaulted Assets," and all proceeds of any Asset
                   purchased as described under "Description of the Securities-Termination;"

                           (8)   any amounts paid by a servicer to cover interest shortfalls arising out of the
                   prepayment of Assets in the trust fund as described below under "-Retained Interest;
                   Servicing Compensation and Payment of Expenses;"

                         (9)     to the extent that any of these items do not constitute additional servicing
                   compensation to a servicer, any payments on account of modification or assumption fees, late
                   payment charges or Prepayment Premiums on the Assets;

                          (1 0)   all payments required to be deposited in the Collection Account with respect
                   to any deductible clause in any blanket insurance policy described below under "-Hazard
                   Insurance Policies;"

                           (11)    any amount required to be deposited by a servicer or the trustee in connection
                   with losses realized on investments for the benefit of the servicer or the trustee, as the case
                   may be, of funds held in the Collection Account; and

                          (12)     any other amounts required to be deposited in the Collection Account as
                   provided in the related Agreement and described in the prospectus supplement.



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                   Withdrawals. A servicer or the trustee may, from time to time as provided in the related
           Agreement, make withdrawals from the Collection Account for each trust fund for any of the
           following purposes, except as otherwise provided in the Agreement:

                           (1)     to make distributions to the security holders on each Distribution Date;

                           (2)      to reimburse a servicer for unreimbursed amounts advanced as described
                   under "Description of the Securities-Advances in Respect of Delinquencies," which
                   reimbursement is to be made out of amounts received that were identified and applied by the
                   servicer as late collections of interest (net of related servicing fees and Retained Interest) on
                   and principal of the particular Assets for which the advances were made or out of amounts
                   drawn under any form of credit support with respect to those Assets;

                           (3)    to reimburse a servicer for unpaid servicing fees earned and unreimbursed
                   servicing expenses incurred with respect to Assets and properties acquired in respect of the
                   Assets, which reimbursement is to be made out of amounts that represent Liquidation
                   Proceeds and Insurance Proceeds collected on the particular Assets and properties, and net
                   income collected on the particular properties, which fees were earned or expenses were
                   incurred or out of amounts drawn under any form of credit support for those Assets and
                   properties;

                            (4)     to reimburse a servicer for any advances described in clause (2) above and
                   any servicing expenses described in clause (3) above which, in the servicer's good faith
                   judgment, will not be recoverable from the amounts described in those clauses, which
                   reimbursement is to be made from amounts collected on other Assets or, if and to the extent
                   so provided by the related Agreement and described in the prospectus supplement, just from
                   that portion of amounts collected on other Assets that is otherwise distributable on one or
                   more classes of Subordinate Notes or Subordinate Certificates, as applicable, if any, remain
                   outstanding, and otherwise any outstanding class of Notes or Certificates, as applicable, of
                   the related series;

                           (5)     if and to the extent described in the prospectus supplement, to pay a servicer
                   interest accrued on the advances described in clause (2) above and the servicing expenses
                   described in clause (3) above while those advances and servicing expenses remain
                   outstanding and unreimbursed;

                            (6)    to reimburse a servicer, the depositor, or any of their respective directors,
                   officers, employees and agents, as the case may be, for expenses, costs and liabilities incurred
                   by these parties, as and to the extent described below under "-Certain Matters Regarding
                   Servicers, the Master Servicer and the Depositor;"

                           (7)     if and to the extent described in the prospectus supplement, to pay (or to
                   transfer to a separate account for purposes of escrowing for the payment of) the trustee's
                   fees;

                           (8)    to reimburse the trustee or any of its directors, officers, employees and agents,
                   as the case may be, for expenses, costs and liabilities incurred by these parties, as and to the
                   extent described below under "-Certain Matters Regarding the Trustee;"



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                          (9)     to pay a servicer, as additional serv1cmg compensation, interest and
                   investment income earned in respect of amounts held in the Collection Account;

                           (1 0)   to pay the person so entitled any amounts deposited in the Collection Account
                   that were identified and applied by the servicer as recoveries of Retained Interest;

                           (11)    to pay for costs reasonably incurred in connection with the proper
                   management and maintenance of any Mortgaged Property acquired for the benefit of
                   securityholders by foreclosure or by deed in lieu of foreclosure or otherwise, which payments
                   are to be made out of income received on that property;

                            (12)    if one or more elections have been made to treat the trust fund or designated
                   portions of the trust fund as a REMIC, to pay any federal, state or local taxes imposed on the
                   trust fund or its assets or transactions, as and to the extent described under "Material Federal
                   Income Tax Consequences-REMICs" or in the prospectus supplement, respectively;

                           (13)    to pay for the cost of an independent appraiser or other expert in real estate
                   matters retained to determine a fair sale price for a defaulted mortgage loan or a property
                   acquired in respect of a mortgage loan in connection with the liquidation of that mortgage
                   loan or property;

                           (14)  to pay for the cost of various opinions of counsel obtained pursuant to the
                   related Agreement for the benefit of securityholders;

                           (15)    to pay for the costs of recording the related Agreement if that recordation
                   materially and beneficially affects the interests of securityholders, provided that the payment
                   shall not constitute a waiver with respect to the obligation of the Warranting Party to remedy
                   any breach of representation or warranty under the Agreement;

                           (16)    to pay the person so entitled any amounts deposited in the Collection Account
                   in error, including amounts received on any Asset after its removal from the trust fund
                   whether by reason of purchase or substitution as contemplated above under "-Assignment
                   of Assets; Repurchase" and "-Representations and Warranties; Repurchases" or otherwise;

                           (17)   to make any other withdrawals permitted by the related Agreement; and

                           (18)   to clear and terminate the Collection Account at the termination of the trust
                   fund.

                   Other Collection Accounts. If specified in the prospectus supplement, the Agreement for any
           series of Notes or Certificates, as applicable, may provide for the establishment and maintenance of a
           separate collection account into which the servicer will deposit on a daily basis, or any other period
           as provided in the related Agreement, the amounts described under "Deposits" above for one or more
           series of Notes or Certificates, as applicable. Any amounts on deposit in any of these collection
           accounts will be withdrawn from these collection accounts and deposited into the appropriate
           Collection Account by a time specified in the prospectus supplement. To the extent specified in the
           prospectus supplement, any amounts that could be withdrawn from the Collection Account as
           described under "-Withdrawals" above may also be withdrawn from any of these collection
           accounts. The prospectus supplement will set forth any restrictions for any of these collection


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           accounts, including investment restrictions and any restrictions for financial institutions with which
           any of these collection accounts may be maintained.

                   The servicer will establish and maintain with the indenture trustee an account, in the name of
           the indenture trustee on behalf of the holders of Notes, into which amounts released from the
           Collection Account for distribution to the holders of Notes will be deposited and from which all
           distributions to the holders ofNotes will be made.

                    Collection and Other Servicing Procedures. The servicer is required to make reasonable
           efforts to collect all scheduled payments under the Assets and will follow or cause to be followed
           those collection procedures that it would follow with respect to assets that are comparable to the
           Assets and held for its own account, provided that those procedures are consistent with

                            (1)   the terms of the related Agreement and any related hazard insurance policy or
                                  instrument of credit support, if any, included in the related trust fund
                                  described in this prospectus or under "Description of Credit Support,"
                            (2)   applicable law and

                            (3)   the general servicing standard specified in the prospectus supplement or, if no
                                  standard is so specified, its normal servicing practices (in either case, the
                                  "Servicing Standard").


           In connection, the servicer will be permitted in its discretion to waive any late payment charge or
           penalty interest in respect of a late payment on an Asset.

                   Each servicer will also be required to perform other customary functions of a servicer of
           comparable assets, including maintaining hazard insurance policies as described in this prospectus
           and in any prospectus supplement, and filing and settling claims under these policies; maintaining, to
           the extent required by the Agreement, escrow or impoundment accounts of borrowers for payment of
           taxes, insurance and other items required to be paid by any borrower pursuant to the terms of the
           Assets; processing assumptions or substitutions in those cases where the servicer has determined not
           to enforce any applicable due-on-sale clause; attempting to cure delinquencies; supervising
           foreclosures or repossessions; inspecting and managing mortgaged properties or manufactured homes
           under some circumstances; and maintaining accounting records relating to the Assets. The servicer or
           any other entity specified in the prospectus supplement will be responsible for filing and settling
           claims in respect of particular Assets under any applicable instrument of credit support. See
           "Description of Credit Support."

                    The servicer may agree to modify, waive or amend any term of any Asset in a manner
           consistent with the Servicing Standard so long as the modification, waiver or amendment will not (1)
           affect the amount or timing of any scheduled payments of principal or interest on the Asset or (2) in
           its judgment, materially impair the security for the Asset or reduce the likelihood of timely payment
           of amounts due on the Asset. The servicer also may agree to any modification, waiver or amendment
           that would so affect or impair the payments on, or the security for, an Asset if (1) in its judgment, a
           material default on the Asset has occurred or a payment default is reasonably foreseeable and (2) in
           its judgment, that modification, waiver or amendment is reasonably likely to produce a greater
           recovery with respect to the Asset on a present value basis than would liquidation. In the event of any


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           modification, waiver or amendment of any Asset, the servicer will furnish a copy of that
           modification, waiver or amendment to the trustee (or its custodian).

                    In the case of multifamily loans, a borrower's failure to make required mortgage loan
           payments may mean that operating income is insufficient to service the mortgage loan debt, or may
           reflect the diversion of that income from the servicing of the mortgage loan debt. In addition, a
           borrower under a multifamily loan that is unable to make mortgage loan payments may also be
           unable to make timely payment of all required taxes and otherwise to maintain and insure the related
           Mortgaged Property. In general, the servicer will be required to monitor any multifamily loan that is
           in default, evaluate whether the causes of the default can be corrected over a reasonable period
           without significant impairment of the value of related Mortgaged Property, initiate corrective action
           in cooperation with the borrower if cure is likely, inspect the related Multifamily Property and take
           those other actions as are consistent with the related Agreement. A significant period of time may
           elapse before the servicer is able to assess the success of servicer, can make the initial determination
           of appropriate action, evaluate the success of corrective action, develop additional initiatives,
           institute foreclosure proceedings and actually foreclose may vary considerably depending on the
           particular multifamily loan, the Multifamily Property, the borrower, the presence of an acceptable
           party to assume the multifamily loan and the laws of the jurisdiction in which the Multifamily
           Property is located.

                   Realization Upon Defaulted Assets

                   Generally, the servicer is required to monitor any Asset that is in default, initiate corrective
           action in cooperation with the borrower if cure is likely, inspect the Asset and take any other actions
           as are consistent with the Servicing Standard. A significant period of time may elapse before the
           servicer is able to assess the success of that corrective action or the need for additional initiatives.

                   Any Agreement relating to a trust fund that includes mortgage loans or contracts may grant to
           the servicer and/or the holder or holders of some classes of Notes or Certificates, as applicable, a
           right of first refusal to purchase from the trust fund at a predetermined purchase price any mortgage
           loan or contract as to which a specified number of scheduled payments under the Agreement are
           delinquent. Any right of first refusal granted to the holder of an Offered Security will be described in
           the prospectus supplement. The prospectus supplement will also describe any similar right granted to
           any person if the predetermined purchase price is less than the Purchase Price described above under
           "-Representations and Warranties; Repurchases."

                   If specified in the prospectus supplement, the servicer may offer to sell any defaulted loan or
           contract described in the preceding paragraph and not otherwise purchased by any person having a
           right of first refusal with respect to that defaulted loan or contract, if and when the servicer
           determines, consistent with the Servicing Standard, so that a sale would produce a greater recovery
           on a present value basis than would liquidation through foreclosure, repossession or similar
           proceedings. The related Agreement will provide that any offering be made in a commercially
           reasonable manner for a specified period and that the servicer accept the highest cash bid received
           from any person (including itself, an affiliate of the servicer or any securityholder) that constitutes a
           fair price for that defaulted loan or contract. If there is no bid that is determined to be fair, the
           servicer will proceed with respect to that defaulted loan or contract as described below. Any bid in an
           amount at least equal to the Purchase Price described above under "-Representations and
           Warranties; Repurchases" will in all cases be deemed fair.


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                   The servicer, on behalf of the trustee, may at any time institute foreclosure proceedings,
           exercise any power of sale contained in any mortgage, obtain a deed in lieu of foreclosure, or
           otherwise acquire title to a Mortgaged Property securing a mortgage loan by operation of law or
           otherwise and may at any time repossess and realize upon any manufactured home, if that action is
           consistent with the Servicing Standard and a default on that loan or contract has occurred or, in the
           servicer's judgment, is imminent.

                   If title to any Mortgaged Property is acquired by a trust fund as to which a REMIC election
           has been made, the servicer, on behalf of the trust fund, will be required to sell the Mortgaged
           Property within three years from the close of the calendar year of acquisition, unless (1) the Internal
           Revenue Service grants an extension of time to sell that property or (2) the trustee receives an
           opinion of independent counsel to the effect that the holding of the property by the trust fund longer
           than three years after the close of the calendar year of its acquisition will not result in the imposition
           of a tax on the trust fund or cause the trust fund to fail to qualify as a REMIC under the Code at any
           time that any Notes or Certificates, as applicable, are outstanding. Subject to the foregoing, the
           servicer will be required to (A) solicit bids for any Mortgaged Property so acquired in that manner as
           will be reasonably likely to realize a fair price for that property and (B) accept the first (and, if
           multiple bids are contemporaneously received, the highest) cash bid received from any person that
           constitutes a fair price.

                   The limitations imposed by the related Agreement and the REMIC provisions of the Code (if
           a REMIC election has been made for the related trust fund) on the ownership and management of any
           Mortgaged Property acquired on behalf of the trust fund may result in the recovery of an amount less
           than the amount that would otherwise be recovered. See "Certain Legal Aspects of the Loans-
           Foreclosure and Repossession."

                   If recovery on a defaulted Asset under any related instrument of credit support is not
           available, the servicer nevertheless will be obligated to follow or cause to be followed those normal
           practices and procedures as it deems necessary or advisable to realize upon the defaulted Asset. If the
           proceeds of any liquidation of the property securing the defaulted Asset are less than the outstanding
           principal balance of the defaulted Asset plus interest accrued on the defaulted Asset at the applicable
           interest rate, plus the total amount of expenses incurred by the servicer in connection with those
           proceedings and which are reimbursable under the Agreement, the trust fund will realize a loss in the
           amount of that difference. The servicer will be entitled to withdraw or cause to be withdrawn from
           the Collection Account out of the Liquidation Proceeds recovered on any defaulted Asset, before the
           distribution of those Liquidation Proceeds to securityholders, amounts representing its normal
           servicing compensation on the Security, unreimbursed servicing expenses incurred with respect to
           the Asset and any unreimbursed advances of delinquent payments made with respect to the Asset.

                   If any property securing a defaulted Asset is damaged the servicer is not required to expend
           its own funds to restore the damaged property unless it determines (1) that restoration will increase
           the proceeds to securityholders on liquidation of the Asset after reimbursement of the servicer for its
           expenses and (2) that its expenses will be recoverable by it from related Insurance Proceeds or
           Liquidation Proceeds.

                   The pooling and serv1cmg agreement will require the trustee, if it has not received a
           distribution for any Mortgage Security or Agency Security by the fifth business day after the date on
           which that distribution was due and payable pursuant to the terms of that Agency Security, to request
           the issuer or guarantor, if any, of that Mortgage Security or Agency Security to make that payment as

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           promptly as possible and legally permitted to take legal action against that issuer or guarantor as the
           trustee deems appropriate under the circumstances, including the prosecution of any claims in
           connection therewith. The reasonable legal fees and expenses incurred by the trustee in connection
           with the prosecution of this legal action will be reimbursable to the trustee out of the proceeds of that
           action and will be retained by the trustee before the deposit of any remaining proceeds in the
           Collection Account pending distribution of the Collection Account to securityholders of the related
           series. If the proceeds of any legal action are insufficient to reimburse the trustee for its legal fees and
           expenses, the trustee will be entitled to withdraw from the Collection Account an amount equal to its
           expenses, and the trust fund may realize a loss in that amount.

                   As servicer of the Assets, a servicer, on behalf of itself, the trustee and the security holders,
           will present claims to the borrower under each instrument of credit support, and will take those
           reasonable steps as are necessary to receive payment or to permit recovery under these instruments
           for defaulted Assets.

                   If a servicer or its designee recovers payments under any instrument of credit support for any
           defaulted Assets, the servicer will be entitled to withdraw or cause to be withdrawn from the
           Collection Account out of those proceeds, before distribution of the Collection Account to
           securityholders, amounts representing its normal servicing compensation on that Asset, unreimbursed
           servicing expenses incurred for the Asset and any unreimbursed advances of delinquent payments
           made with respect to the Asset. See "Hazard Insurance Policies" and "Description of Credit
           Support."

                   Hazard Insurance Policies

                   Loans. Generally, each Agreement for a trust fund composed of loans will require the
           servicer to cause the borrower on each loan to maintain a hazard insurance policy (including flood
           insurance coverage, if obtainable, to the extent the property is located in a federally designated flood
           area, in an amount as is required under applicable guidelines) providing for the level of coverage that
           is required under the related Mortgage or, if any Mortgage permits its holder to dictate to the
           borrower the insurance coverage to be maintained on the related Mortgaged Property, then the level
           of coverage that is consistent with the Servicing Standard. That coverage will be in general in an
           amount equal to the lesser of the principal balance owing on that loan (but not less than the amount
           necessary to avoid the application of any co-insurance clause contained in the hazard insurance
           policy) and the amount necessary to fully compensate for any damage or loss to the improvements on
           the Mortgaged Property on a replacement cost basis or any other amount specified in the prospectus
           supplement. The ability of the servicer to assure that hazard insurance proceeds are appropriately
           applied may be dependent upon its being named as an additional insured under any hazard insurance
           policy and under any other insurance policy referred to below, or upon the extent to which
           information in this regard is furnished by borrowers. All amounts collected by the servicer under any
           of these policies (except for amounts to be applied to the restoration or repair of the Mortgaged
           Property or released to the borrower in accordance with the servicer's normal servicing procedures,
           subject to the terms and conditions of the related Mortgage and mortgage note) will be deposited in
           the Collection Account in accordance with the related Agreement.

                   The Agreement may provide that the servicer may satisfy its obligation to cause each
           borrower to maintain a hazard insurance policy by the servicer' s maintaining a blanket policy
           insuring against hazard losses on the loans. If the blanket policy contains a deductible clause, the


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           servicer will be required to deposit in the Collection Account from its own funds all sums that would
           have been deposited in the Collection Account but for that clause.

                   In general, the standard form of fire and extended coverage policy covers physical damage to
           or destruction of the improvements of the property by fire, lightning, explosion, smoke, windstorm
           and hail, and riot, strike and civil commotion, subject to the conditions and exclusions specified in
           each policy. Although the policies relating to the loans will be underwritten by different insurers
           under different state laws in accordance with different applicable state forms, and therefore will not
           contain identical terms and conditions, the basic terms of the policies are dictated by respective state
           laws, and most of these policies typically do not cover any physical damage resulting from war,
           revolution, governmental actions, floods and other water-related causes, earth movement (including
           earthquakes, landslides and mudflows), wet or dry rot, vermin, domestic animals and other kinds of
           uninsured risks.

                    The hazard insurance policies covering the Mortgaged Properties securing the mortgage
           loans will typically contain a coinsurance clause that in effect requires the insured at all times to
           carry insurance of a specified percentage (generally 80% to 90%) of the full replacement value of the
           improvements on the property to recover the full amount of any partial loss. If the insured's coverage
           falls below this specified percentage, the coinsurance clause generally provides that the insurer's
           liability in the event of partial loss does not exceed the lesser of (1) the replacement cost of the
           improvements less physical depreciation and (2) that proportion of the loss as the amount of
           insurance carried bears to the specified percentage of the full replacement cost of those
           improvements.

                   Each Agreement for a trust fund composed of loans will require the servicer to cause the
           borrower on each loan to maintain all other insurance coverage for the related Mortgaged Property as
           is consistent with the terms of the related Mortgage and the Servicing Standard, which insurance may
           typically include flood insurance (if the related Mortgaged Property was located at the time of
           origination in a federally designated flood area).

                   Any cost incurred by the servicer in maintaining any insurance policy will be added to the
           amount owing under the loan where the terms of the loan so permit; provided, however, that the
           addition of that cost will not be taken into account for purposes of calculating the distribution to be
           made to securityholders. Those costs may be recovered by the servicer from the Collection Account,
           with interest, as provided by the Agreement.

                   Under the terms of the loans, borrowers will generally be required to present claims to
           insurers under hazard insurance policies maintained on the related Mortgaged Properties. The
           servicer, on behalf of the trustee and securityholders, is obligated to present or cause to be presented
           claims under any blanket insurance policy insuring against hazard losses on Mortgaged Properties
           securing the loans. However, the ability of the servicer to present or cause to be presented those
           claims is dependent upon the extent to which information in this regard is furnished to the servicer by
           borrowers.

                    Contracts. Generally, the terms of the agreement for a trust fund composed of contracts will
           require the servicer to maintain for each contract one or more hazard insurance policies that provide,
           at a minimum, the same coverage as a standard form fire and extended coverage insurance policy that
           is customary for manufactured housing, issued by a company authorized to issue those policies in the
           state in which the manufactured home is located, and in an amount that is not less than the maximum

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           insurable value of that manufactured home or the principal balance due from the borrower on the
           related contract, whichever is less; provided, however, that the amount of coverage provided by each
           hazard insurance policy must be sufficient to avoid the application of any co-insurance clause
           contained therein. When a manufactured home's location was, at the time of origination of the related
           contract, within a federally designated special flood hazard area, the servicer must cause flood
           insurance to be maintained, which coverage must be at least equal to the minimum amount specified
           in the preceding sentence or any lesser amount as may be available under the federal flood insurance
           program. Each hazard insurance policy caused to be maintained by the servicer must contain a
           standard loss payee clause in favor of the servicer and its successors and assigns. If any borrower is
           in default in the payment of premiums on its hazard insurance policy or policies, the servicer must
           pay those premiums out of its own funds, and may add separately the premiums to the borrower's
           obligation as provided by the contract, but may not add the premiums to the remaining principal
           balance of the contract.

                   The servicer may maintain, in lieu of causing individual hazard insurance policies to be
           maintained for each manufactured home, and must maintain, to the extent that the related contract
           does not require the borrower to maintain a hazard insurance policy for the related manufactured
           home, one or more blanket insurance policies covering losses on the borrower's interest in the
           contracts resulting from the absence or insufficiency of individual hazard insurance policies. The
           servicer must pay the premium for that blanket policy on the basis described therein and must pay
           any deductible amount for claims under that policy relating to the contracts.

                   FHA Insurance and VA Guarantees

                   FHA loans will be insured by the FHA as authorized under the Housing Act. Some FHA
           loans will be insured under various FHA programs including the standard FHA 203(b) program to
           finance the acquisition of one- to four-family housing units, the FHA 245 graduated payment
           mortgage program and the FHA Title I Program. These programs generally limit the principal
           amount and interest rates of the mortgage loans insured. The prospectus supplement for Notes or
           Certificates, as applicable, of each series evidencing interests in a trust fund including FHA loans
           will set forth additional information regarding the regulations governing the applicable FHA
           insurance programs. Except as otherwise specified in the prospectus supplement, the following
           describes FHA insurance programs and regulations as generally in effect for FHA loans.

                   The insurance premiums for FHA loans are collected by lenders approved by the Department
           of Housing and Urban Development ("HUD") or by the servicer and are paid to the FHA. The
           regulations governing FHA single-family mortgage insurance programs provide that insurance
           benefits are payable either upon foreclosure (or other acquisition of possession) and conveyance of
           the mortgaged premises to the United States of America or upon assignment of the defaulted loan to
           the United States of America. For a defaulted FHA loan, the servicer is limited in its ability to initiate
           foreclosure proceedings. When it is determined, either by the servicer or HUD, that default was
           caused by circumstances beyond the borrower's control, the servicer is expected to make an effort to
           avoid foreclosure by entering, if feasible, into one of a number of available forms of forbearance
           plans with the borrower. Those plans may involve the reduction or suspension of regular mortgage
           payments for a specified period, with those payments to be made on or before the maturity date of the
           mortgage, or the recasting of payments due under the mortgage up to or, other than FHA loans
           originated under the FHA Title I Program, beyond the maturity date. In addition, when a default
           caused by those circumstances is accompanied by other criteria, HUD may provide relief by making
           payments to the servicer in partial or full satisfaction of amounts due under the FHA loan (which

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           payments are to be repaid by the borrower to HUD) or by accepting assignment of the loan from the
           servicer. With some exceptions, at least three full monthly installments must be due and unpaid under
           the FHA loan, and HUD must have rejected any request for relief from the borrower before the
           servicer may initiate foreclosure proceedings.

                   HUD has the option, in most cases, to pay insurance claims in cash or in debentures issued by
           HUD. Currently, claims are being paid in cash, and claims have not been paid in debentures since
           1965. HUD debentures issued in satisfaction of FHA insurance claims bear interest at the applicable
           HUD debentures interest rate. To the extent specified in the prospectus supplement, the servicer of
           each single family FHA loan will be obligated to purchase any debenture issued in satisfaction of that
           FHA loan upon default for an amount equal to the principal amount of that debenture.

                   Other than in relation to the FHA Title I Program, the amount of insurance benefits generally
           paid by the FHA is equal to the entire unpaid principal amount of the defaulted FHA loan adjusted to
           reimburse the servicer for some of its costs and expenses and to deduct amounts received or retained
           by the servicer after default. When entitlement to insurance benefits results from foreclosure (or other
           acquisition of possession) and conveyance to HUD, the servicer is compensated for no more than
           two-thirds of its foreclosure costs, and is compensated for interest accrued and unpaid before that
           date but in general only to the extent it was allowed pursuant to a forbearance plan approved by
           HUD. When entitlement to insurance benefits results from assignment of the FHA loan to HUD, the
           insurance payment includes full compensation for interest accrued and unpaid to the assignment date.
           The insurance payment itself, upon foreclosure of an FHA loan, bears interest from a date 30 days
           after the borrower's first uncorrected failure to perform any obligation to make any payment due
           under the mortgage and, upon assignment, from the date of assignment to the date of payment of the
           claim, in each case at the same interest rate as the applicable HUD debenture interest rate as
           described above.

                   VA loans will be partially guaranteed by the VA under the Serviceman's Readjustment Act
           (a "VA Guaranty Policy"). For a defaulted VA loan, the servicer is, absent exceptional
           circumstances, authorized to announce its intention to foreclose only when the default has continued
           for three months. Generally, a claim for the guarantee is submitted after liquidation of the Mortgaged
           Property.

                  The amount payable under the guarantee will be the percentage of the VA loan originally
           guaranteed applied to indebtedness outstanding as of the applicable date of computation specified in
           the VA regulations. Payments under the guarantee will be equal to the unpaid principal amount of
           that VA loan, interest accrued on the unpaid balance of that VA loan to the appropriate date of
           computation and limited expenses of the mortgagee, but in each case only to the extent that those
           amounts have not been recovered through liquidation of the Mortgaged Property. The amount
           payable under the guarantee may in no event exceed the amount of the original guarantee.

                   Fidelity Bonds and Errors and Omissions Insurance

                   Each Agreement will require that the servicer obtain and maintain in effect a fidelity bond or
           similar form of insurance coverage (which may provide blanket coverage) or any combination of
           these insuring against loss occasioned by fraud, theft or other intentional misconduct of the officers,
           employees and agents of the servicer. The related Agreement will allow the servicer to self-insure
           against loss occasioned by the errors and omissions of the officers, employees and agents of the
           servicer so long as the criteria set forth in the Agreement are met.

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                   Due-on-Sale Clauses

                   The loans may contain clauses requiring the consent of the mortgagee to any sale or other
           transfer of the related Mortgaged Property, or due-on-sale clauses entitling the mortgagee to
           accelerate payment of the loan upon any sale, transfer or conveyance of the related Mortgaged
           Property. The servicer will generally enforce any due-on-sale clause to the extent it has knowledge of
           the conveyance or proposed conveyance of the underlying Mortgaged Property and it is entitled to do
           so under applicable law; provided, however, that the servicer will not take any action in relation to
           the enforcement of any due-on-sale clause that would:

                       •   adversely affect or jeopardize coverage under any applicable insurance policy or

                       •   materially increase the risk of default or delinquency on, or materially impair the
                           security for, that loan.

                   Any fee collected by or on behalf of the servicer for entering into an assumption agreement
           will be retained by or on behalf of the servicer as additional servicing compensation. See "Certain
           Legal Aspects ofLoans-Due-on-Sale Clauses."

                   The contracts may also contain clauses requiring the consent of the mortgagee to any sale or
           other transfer of the related mortgaged property, or due-on-sale clauses. The servicer will generally
           permit that transfer so long as the transferee satisfies the servicer's then applicable underwriting
           standards. The purpose of those transfers is often to avoid a default by the transferring borrower.

                   Retained Interest, Servicing Compensation and Payment of Expenses

                    The prospectus supplement for a series of Notes or Certificates, as applicable, will specify
           whether there will be any Retained Interest in the Assets, and, if so, the initial owner of this Retained
           Interest. If so, the Retained Interest will be established on a loan-by-loan basis and will be specified
           on an exhibit to the related Agreement. A "Retained Interest" in an Asset represents a specified
           portion of the interest payable on the Asset. The Retained Interest will be deducted from borrower
           payments as received and will not be part of the related trust fund.

                   The servicer's primary servicing compensation for a series of Notes or Certificates, as
           applicable, will come from the periodic payment to it of a portion of the interest payment on each
           Asset or any other amount specified in the prospectus supplement. Since any Retained Interest and a
           servicer's primary compensation are percentages of the principal balance of each Asset, those
           amounts will decrease in accordance with the amortization of the Assets. The prospectus supplement
           for a series of Notes or Certificates, as applicable, evidencing interests in a trust fund that includes
           mortgage loans or contracts may provide that, as additional compensation, the servicer may retain all
           or a portion of assumption fees, modification fees, late payment charges or Prepayment Premiums
           collected from borrowers and any interest or other income that may be earned on funds held in the
           Collection Account or any account established by a servicer pursuant to the Agreement.

                   The servicer may, to the extent provided in the prospectus supplement, pay from its servicing
           compensation expenses incurred in connection with its servicing and managing of the Assets,
           including payment of the fees and disbursements of the trustee and independent accountants,
           payment of expenses incurred in connection with distributions and reports to securityholders, and
           payment of any other expenses described in the prospectus supplement. Some other expenses,

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           including expenses relating to defaults and liquidations on the Assets and, to the extent so provided
           in the prospectus supplement, interest on these expenses at the rate specified in the prospectus
           supplement may be borne by the trust fund.

                   If and to the extent provided in the prospectus supplement, the servicer may be required to
           apply a portion of the servicing compensation otherwise payable to it in respect of any Due Period to
           interest shortfalls resulting from the voluntary prepayment of any Assets in the related trust fund
           during that period before their due dates.

                   Evidence as to Compliance

                    Each pooling and servicing agreement and servicing agreement will provide that on or before
           a specified date in March of each year, beginning with the first year after the year in which the cut-
           off date occurs, each party responsible for the servicing function will provide to the depositor and the
           trustee a report on an assessment of compliance with the minimum servicing criteria established in
           Item 1122(a) of Regulation AB (the "AB Servicing Criteria"). The AB Servicing Criteria include
           specific criteria relating to the following areas: general servicing considerations, cash collection and
           administration, investor remittances and reporting, and pool asset administration. Such report will
           indicate that the AB Servicing Criteria were used to test compliance on a platform level basis and
           will set out any material instances of noncompliance.

                  Each pooling and servicing agreement and servicing agreement will also provide that the
           each party responsible for the servicing function will deliver along with its report on assessment of
           compliance, an attestation report from a firm of independent public accountants on the assessment of
           compliance with the AB Servicing Criteria.

                    Each pooling and servicing agreement and servicing agreement will also provide for delivery
           to the trustee, on or before a specified date in March of each year, of a separate annual statement of
           compliance from each entity responsible for the servicing function to the effect that, to the best
           knowledge of the signing officer, the servicer has fulfilled in all material respects its obligations
           under the pooling and servicing agreement or servicing agreement throughout the preceding year or,
           if there has been a material failure in the fulfillment of any obligation, the statement shall specify
           such failure and the nature and status thereof This statement may be provided as a single form
           making the required statements as to more than one pooling and servicing agreement or servicing
           agreement.

                   Copies of the annual reports of assessment of compliance, attestation reports, and statements
           of compliance may be obtained by securityholders without charge upon written request to the master
           servicer or trustee. These items will be filed with the issuing entity's annual report on Form 10-K, to
           the extent required under Regulation AB.

                   Certain Matters Regarding Servicers, the Master Servicer and the Depositor

                   The servicer or master servicer under each Agreement will be named in the prospectus
           supplement. The entities serving as servicer or master servicer may be affiliates of the depositor and
           may have other normal business relationships with the depositor or the depositor's affiliates. If
           applicable, reference in this prospectus to the servicer will also be deemed to be to the master
           servicer. Each Agreement will provide, in general, that:



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                      •   The servicer may resign from its obligations and duties under the Agreement only
                          upon a determination that its duties under the Agreement are no longer permissible
                          under applicable law or are in material conflict by reason of applicable law with any
                          other activities carried on by it, the other activities of the servicer so causing that
                          conflict being of a type and nature carried on by the servicer at the date of the
                          Agreement. No resignation will become effective until the trustee or a successor
                          servicer has assumed the servicer' s obligations and duties under the Agreement.

                      •   Neither any servicer, the depositor nor any director, officer, employee, or agent of a
                          servicer or the depositor will be under any liability to the related trust fund or
                          securityholders for any action taken, or for refraining from the taking of any action, in
                          good faith pursuant to the Agreement; provided, however, that neither a servicer, the
                          depositor nor any other person will be protected against any breach of a
                          representation, warranty or covenant made in the related Agreement, or against any
                          liability specifically imposed by the Agreement, or against any liability that would
                          otherwise be imposed by reason of willful misfeasance, bad faith or gross negligence
                          in the performance of obligations or duties under the Agreement or by reason of
                          reckless disregard of obligations and duties under the Agreement.

                      •   Any servicer, the depositor and any director, officer, employee or agent of a servicer
                          or the depositor will be entitled to indemnification by the related trust fund and will
                          be held harmless against any loss, liability or expense incurred in connection with
                          any legal action relating to the Agreement or the Notes or Certificates, as applicable;
                          provided, however, that that indemnification will not extend to any loss, liability or
                          expense

                           (1)   specifically imposed by that Agreement or otherwise incidental to the
                                 performance of obligations and duties under the Agreement, including, in the
                                 case of a servicer, the prosecution of an enforcement action in respect of any
                                 specific mortgage loan or mortgage loans or contract or contracts (except as
                                 any loss, liability or expense will be otherwise reimbursable pursuant to that
                                 Agreement);

                           (2)   incurred in connection with any breach of a representation, warranty or
                                 covenant made in that Agreement;

                           (3)   incurred by reason of misfeasance, bad faith or gross negligence in the
                                 performance of obligations or duties under the Agreement, or by reason of
                                 reckless disregard of those obligations or duties;

                           (4)   incurred in connection with any violation of any state or federal securities law;
                                 or

                           (5)   imposed by any taxing authority if that loss, liability or expense is not
                                 specifically reimbursable pursuant to the terms of the related Agreement.

                      •   Neither any servicer nor the depositor will be under any obligation to appear in,
                          prosecute or defend any legal action that is not incidental to its respective
                          responsibilities under the Agreement and which in its opinion may involve it in any

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                          expense or liability. Any servicer or the depositor may, however, in its discretion
                          undertake any action which it may deem necessary or desirable with respect to the
                          Agreement and the rights and duties of the parties to the Agreement and the interests
                          of the securityholders under the Agreement. In that event, the legal expenses and
                          costs of that action and any liability resulting will be expenses, costs and liabilities of
                          the securityholders, and the servicer or the depositor, as the case may be, will be
                          entitled to be reimbursed therefor and to charge the Collection Account.

                   Any person into which the servicer or the depositor may be merged or consolidated, or any
           person resulting from any merger or consolidation to which the servicer or the depositor is a party, or
           any person succeeding to the business of the servicer or the depositor, may be the successor of the
           servicer or the depositor, as the case may be, under the terms of the related Agreement.

                   Special Servicers

                    If and to the extent specified in the prospectus supplement, a special servicer (a "Special
           servicer") may be a party to the related Agreement or may be appointed by the servicer or another
           specified party to perform specified duties in respect of servicing the related mortgage loans that
           would otherwise be performed by the servicer (for example, the workout and/or foreclosure of
           defaulted mortgage loans). The rights and obligations of any Special servicer will be specified in the
           prospectus supplement, and the servicer will be liable for the performance of a Special servicer only
           if, and to the extent, set forth in the prospectus supplement.

                   Events ofDefault under the Agreement

                   Events of default under the related Agreement will generally include:

                      •   any failure by the servicer to distribute or cause to be distributed to securityholders,
                          or to remit to the trustee for distribution to securityholders, any required payment that
                          continues after a grace period, if any;

                      •   any failure by the servicer duly to observe or perform in any material respect any of
                          its other covenants or obligations under the Agreement that continues unremedied for
                          30 days after written notice of that failure has been given to the servicer by the trustee
                          or the depositor, or to the servicer, the depositor and the trustee by securityholders
                          evidencing not less than 25% of the voting rights for that series;

                      •   any breach of a representation or warranty made by the servicer under the Agreement
                          that materially and adversely affects the interests of securityholders and which
                          continues unremedied for 30 days after written notice of that breach has been given to
                          the servicer by the trustee or the depositor, or to the servicer, the depositor and the
                          trustee by the holders of Notes or Certificates, as applicable, evidencing not less than
                          25% of the voting rights for that series; and

                      •   some events of insolvency, readjustment of debt, marshaling of assets and liabilities
                          or similar proceedings and actions by or on behalf of the servicer indicating its
                          insolvency or inability to pay its obligations.




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                   Material variations to the foregoing events of default (other than to shorten cure periods or
           eliminate notice requirements) will be specified in the prospectus supplement. The trustee will, not
           later than the later of 60 days or any other period specified in the prospectus supplement after the
           occurrence of any event that constitutes or, with notice or lapse of time or both, would constitute an
           event of default and five days after specific officers of the trustee become aware of the occurrence of
           that event, transmit by mail to the depositor and all security holders of the applicable series notice of
           that occurrence, unless that default has been cured or waived.

                   Rights Upon Event ofDefault under the Agreements

                    So long as an event of default under an Agreement remains unremedied, the depositor or the
           trustee may, and at the direction of holders of Notes or Certificates, as applicable, evidencing not less
           than 51% (or any other percentage specified in the Agreement) of the voting rights for that series, the
           trustee will terminate all of the rights and obligations of the servicer under the Agreement and in and
           to the loans (other than as a securityholder or as the owner of any Retained Interest), whereupon the
           trustee will succeed to all of the responsibilities, duties and liabilities of the servicer under the
           Agreement (except that if the trustee is prohibited by law from obligating itself to make advances
           regarding delinquent Assets, or if the prospectus supplement so specifies, then the trustee will not be
           obligated to make those advances) and will be entitled to similar compensation arrangements. If the
           trustee is unwilling or unable so to act, it may or, at the written request of the holders of Notes or
           Certificates, as applicable, entitled to at least 51% (or any other percentage specified in the
           Agreement) of the voting rights for that series, it must appoint, or petition a court of competent
           jurisdiction for the appointment of, a loan servicing institution acceptable to the rating agency with a
           net worth at the time of that appointment of at least $15,000,000 (or any other amount specified in
           the Agreement) to act as successor to the servicer under the Agreement. Pending that appointment,
           the trustee is obligated to act in that capacity. The trustee and any successor servicer may agree upon
           the servicing compensation to be paid, which in no event may be greater than the compensation
           payable to the servicer under the Agreement.

                    The holders of Notes or Certificates, as applicable, representing at least 66 2/3% (or any
           other percentage specified in the Agreement) of the voting rights allocated to the respective classes of
           Notes or Certificates, as applicable, affected by any event of default will be entitled to waive that
           event of default; provided, however, that an Event of Default involving a failure to distribute a
           required payment to securityholders described in clause (1) under "Events of Default under the
           Agreements" may be waived only by all of the securityholders. Upon any waiver of an event of
           default, that event of default will cease to exist and will be deemed to have been remedied for every
           purpose under the Agreement.

                   No securityholders will have the right under any Agreement to institute any proceeding with
           respect to the Agreement unless that holder previously has given to the trustee written notice of
           default and unless the holders of Notes or Certificates, as applicable, evidencing not less than 25%
           (or any other percentage specified in the Agreement) of the voting rights have made written request
           upon the trustee to institute that proceeding in its own name as trustee under the Agreement and have
           offered to the trustee reasonable indemnity, and the trustee for 60 days (or any other number of days
           specified in the Agreement) has neglected or refused to institute any proceeding. The trustee,
           however, is under no obligation to exercise any of the trusts or powers vested in it by any Agreement
           or to make any investigation of matters arising under the Agreement or to institute, conduct or defend
           any litigation under the Agreement or in relation to the Agreement at the request, order or direction
           of any of the securityholders covered by that Agreement, unless those securityholders have offered to

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           the trustee reasonable security or indemnity against the costs, expenses and liabilities that may be
           incurred.

                   The manner of determining the voting rights of a Security or class or classes of Notes or
           Certificates, as applicable, will be specified in the Agreement.

                   Amendment

                   In general, each Agreement may be amended by the parties to it, without the consent of any
           securityholders covered by the Agreement, to

                           (1)     cure any ambiguity or mistake;

                           (2)     correct, modify or supplement any provision in the Agreement that may be
                   inconsistent with any other provision in the Agreement or with the prospectus supplement;

                          (3)    make any other provisions with respect to matters or questions arising under
                   the Agreement that are not materially inconsistent with the provisions of the Agreement; or

                            (4)    comply with any requirements imposed by the Code; provided that, in the
                   case of clause (3), that amendment will not adversely affect in any material respect the
                   interests of any securityholders covered by the Agreement as evidenced either by an opinion
                   of counsel to that effect or the delivery to the trustee of written notification from each rating
                   agency that provides, at the request of the depositor, a rating for the Offered Notes or Offered
                   Certificates, as applicable, of the related series to the effect that that amendment or
                   supplement will not cause that rating agency to lower or withdraw the then current rating
                   assigned to those Notes or Certificates, as applicable.

                   In general, each Agreement may also be amended by the depositor, the servicer, if any, and
           the trustee, with the consent of the securityholders affected by the amendment evidencing not less
           than 51% (or any other percentage specified in the Agreement) of the voting rights, for any purpose;
           provided, however, no amendment may (1) reduce in any manner the amount of, or delay the timing
           of, payments received or advanced on Assets that are required to be distributed on any Security
           without the consent of the securityholder or (2) reduce the consent percentages described in this
           paragraph without the consent of all the securityholders covered by the Agreement then outstanding.
           However, for any series of Notes or Certificates, as applicable, as to which a REMIC election is to be
           made, the trustee will not consent to any amendment of the Agreement unless it has first have
           received an opinion of counsel to the effect that that amendment will not result in the imposition of a
           tax on the related trust fund or, if applicable, cause the related trust fund to fail to qualify as a
           REMIC, at any time that the related Notes or Certificates, as applicable, are outstanding.

                   The Trnstee

                    The trustee under each Agreement will be named in the prospectus supplement. The
           commercial bank, national banking association, banking corporation or trust company serving as
           trustee may have a banking relationship with the depositor and its affiliates, with any servicer and its
           affiliates and with any master servicer and its affiliates. To the extent consistent with its fiduciary
           obligations as trustee, the trustee may delegate its duties to one or more agents as provided in the
           Agreement.


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                   Duties of the Trnstee

                   The trustee will make no representations as to the validity or sufficiency of any Agreement,
           the Notes or Certificates, as applicable, or any Asset or related document and is not accountable for
           the use or application by or on behalf of any servicer of any funds paid to the master servicer or its
           designee in respect of the Notes or Certificates, as applicable, or the Assets, or deposited into or
           withdrawn from the Collection Account or any other account by or on behalf of the servicer. If no
           Event of Default has occurred and is continuing, the trustee is required to perform only those duties
           specifically required under the related Agreement, as applicable. However, upon receipt of the
           various certificates, reports or other instruments required to be furnished to it, the trustee is required
           to examine those documents and to determine whether they conform to the requirements of the
           Agreement.

                   If an Event of Default shall occur, the trustee shall, at the direction of 51% of the holders of
           the Certificates, by notice in writing to the master servicer and to the Depositor, with a copy to each
           Rating Agency, terminate all of the rights and obligations of the master servicer in its capacity as
           Master Servicer under the related pooling and servicing agreement, to the extent permitted by law,
           and in and to the mortgage loans and the proceeds thereof On or after the receipt by the master
           servicer of such written notice, all authority and power of the master servicer with respect to the
           Certificates (other than as a holder of any Certificate) or the mortgage loans or otherwise including,
           without limitation, the compensation payable to the master servicer under the related pooling and
           servicing agreement, shall pass to and be vested in the trustee, and, without limitation, the trustee
           shall be authorized and empowered, as attorney-in-fact or otherwise, to execute and deliver, on
           behalf of and at the expense of the master servicer, any and all documents and other instruments and
           to do or accomplish all other acts or things necessary or appropriate to effect the purposes of such
           notice of termination, whether to complete the transfer and endorsement or assignment of the
           mortgage loans and related documents, or otherwise.

                    To the extent that the costs and expenses of the trustee related to the termination of the
           master servicer, appointment of a successor master servicer or the transfer and assumption of the
           master servicing by the trustee (including, without limitation, (i) all legal costs and expenses and all
           due diligence costs and expenses associated with an evaluation of the potential termination of the
           master servicer as a result of an event of default and (ii) all costs and expenses associated with the
           complete transfer of the master servicing, including all servicing files and all servicing data and the
           completion, correction or manipulation of such servicing data as may be required by the successor
           master servicer to correct any errors or insufficiencies in the servicing data or otherwise to enable the
           successor master servicer to master service the mortgage loans in accordance with the related pooling
           and servicing agreement) are not fully and timely reimbursed by the terminated master servicer, the
           trustee shall be entitled to reimbursement of such costs and expenses from the distribution account.

                   Certain Matters Regarding the Trustee

                   The trustee and any director, officer, employee or agent of the trustee will be entitled to
           indemnification out of the Collection Account for any loss, liability or expense (including costs and
           expenses of litigation, and of investigation, counsel fees, damages, judgments and amounts paid in
           settlement) incurred in connection with the trustee's




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                    (1)   enforcing its rights and remedies and protecting the interests of the security holders
                          during the continuance of an Event of Default,

                    (2)   defending or prosecuting any legal action in respect of the related Agreement or series
                          of Notes or Certificates, as applicable,

                    (3)   being the mortgagee of record for the mortgage loans in a trust fund and the owner of
                          record for any Mortgaged Property acquired in respect thereof for the benefit of
                          securityholders, or

                    (4)   acting or refraining from acting in good faith at the direction of the holders of the
                          related series of Notes or Certificates, as applicable, entitled to not less than 25% (or
                          any other percentage as is specified in the related Agreement for any particular matter)
                          of the voting rights for that series;

           provided, however, that this indemnification will not extend to any loss, liability or expense that
           constitutes a specific liability of the trustee pursuant to the related Agreement, or to any loss, liability
           or expense incurred by reason of willful misfeasance, bad faith or negligence on the part of the
           trustee in the performance of its obligations and duties under the Agreement, or by reason of its
           reckless disregard of those obligations or duties, or as may arise from a breach of any representation,
           warranty or covenant of the trustee made in the Agreement.

                   Resignation and Removal of the Trustee

                   The trustee may resign at any time, in which event the depositor will be obligated to appoint
           a successor trustee. The depositor may also remove the trustee if the trustee ceases to be eligible to
           continue under the pooling and servicing agreement or if the trustee becomes insolvent. Upon
           becoming aware of the circumstances, the depositor will be obligated to appoint a successor trustee.
           The trustee may also be removed at any time by the holders of securities evidencing not less a
           majority of the aggregate undivided interests (or, if applicable, voting rights) in the related trust fund.
           Any resignation or removal of the trustee and appointment of a successor trustee will not become
           effective until acceptance of the appointment by the successor trustee. If the trustee resigns or is
           removed by the depositor, the expenses associated with the change of trustees will be paid by the
           former trustee and reimbursed from the distribution account by the Paying Agent. If the trustee is
           removed by holders of securities, such holders shall be responsible for paying any compensation
           payable to a successor trustee, in excess of the amount paid to the predecessor trustee.

           Material Terms of the Indenture

                   General

                   The following summary describes the material provisions that may appear in each indenture.
           The prospectus supplement for a series of Notes will describe any provision of the indenture relating
           to that series that materially differs from the description of that provision contained in this
           prospectus. The summaries do not purport to be complete and are subject to, and are qualified by
           reference to, all of the provisions of the indenture for a series of Notes. A form of an indenture has
           been filed as an exhibit to the Registration Statement of which this prospectus is a part. The depositor
           will provide a copy of the indenture (without exhibits) relating to any series of Notes without charge



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           upon written request of a securityholder of that series addressed to Nomura Home Equity Loan, Inc.,
           Two World Financial Center, Building B, 21st Floor, New York, New York 10281.

                   Events ofDefault

                   Events of default under the indenture for each series of Notes will generally include:

                       •   a default for thirty days (or any other number of days specified in the prospectus
                           supplement) or more in the payment of any principal of or interest on a Note of that
                           series, to the extent specified in the prospectus supplement;

                       •   failure to perform any other covenant of the depositor or the trust fund in the
                           indenture that continues for a period of sixty days (or any other number of days
                           specified in the prospectus supplement or the indenture) after notice of the failure is
                           given in accordance with the procedures described in the prospectus supplement;

                       •   any representation or warranty made by the depositor or the trust fund in the
                           indenture or in any certificate or other writing delivered pursuant to the indenture or
                           in connection with the indenture with respect to or affecting that series having been
                           incorrect in a material respect as of the time made, and that breach is not cured within
                           sixty days (or any other number of days specified in the prospectus supplement) after
                           notice of the breach is given in accordance with the procedures described in the
                           prospectus supplement;

                       •   specified events of bankruptcy, insolvency, receivership or liquidation of the trust
                           fund; or

                       •   any other event of default provided with respect to Notes of that series.

                   If an event of default with respect to the Notes of any series at the time outstanding occurs
           and is continuing, subject to and in accordance with the terms of the indenture, either the indenture
           trustee or the holders of a majority of the then total outstanding amount of the Notes of that series
           may declare the principal amount (or, if the Notes of that series are Accrual Securities, that portion of
           the principal amount as may be specified in the terms of that series, as provided in the indenture) of
           all the Notes of that series to be due and payable immediately. That declaration may, under some
           circumstances, be rescinded and annulled by the securityholders of a majority in total outstanding
           amount of the Notes of that series.

                    If, following an event of default with respect to any series of Notes, the Notes of that series
           have been declared to be due and payable, the indenture trustee may, in its discretion,
           notwithstanding that acceleration, elect to maintain possession of the collateral securing the Notes of
           that series and to continue to apply distributions on that collateral as if there had been no declaration
           of acceleration if that collateral continues to provide sufficient funds for the payment of principal of
           and interest on the Notes of that series as they would have become due if there had not been that
           declaration. In addition, the indenture trustee may not sell or otherwise liquidate the collateral
           securing the Notes of a series following an event of default, other than a default in the payment of
           any principal or interest on any Note of that series for thirty days or more, unless




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                           (1)      the holders of 100% (or any other percentage specified in the indenture) of
                   the then total outstanding amount of the Notes of that series consent to that sale;

                           (2)      the proceeds of that sale or liquidation are sufficient to pay in full the
                   principal of and accrued interest, due and unpaid, on the outstanding Notes of that series at
                   the date of that sale; or

                            (3)     the indenture trustee determines that that collateral would not be sufficient on
                   an ongoing basis to make all payments on the Notes as those payments would have become
                   due if the Notes had not been declared due and payable, and the indenture trustee obtains the
                   consent of the holders of 66 2/3% (or any other percentage specified in the indenture) of the
                   then total outstanding amount of the Notes of that series.

                  If so specified in the prospectus supplement, only holders of particular classes of Notes will
           have the right to declare the Notes of that series to be immediately due and payable in the event of a
           payment default, as described above, and to exercise the remedies described above.

                   If the indenture trustee liquidates the collateral in connection with an event of default
           involving a default for thirty days (or any other number of days specified in the indenture) or more in
           the payment of principal of or interest on the Notes of a series, the indenture provides that the
           indenture trustee will have a prior lien on the proceeds of any liquidation for unpaid fees and
           expenses. As a result, upon the occurrence of that event of default, the amount available for
           distribution to the securityholders would be less than would otherwise be the case. However, the
           indenture trustee may not institute a proceeding for the enforcement of its lien except in connection
           with a proceeding for the enforcement of the lien of the indenture for the benefit of the
           securityholders after the occurrence of that event of default.

                   To the extent provided in the prospectus supplement, in the event the principal of the Notes
           of a series is declared due and payable, as described above, the holders of any Notes issued at a
           discount from par may be entitled to receive no more than an amount equal to the unpaid principal
           amount of the Notes less the amount of the discount that is unamortized.

                    Subject to the provisions of the indenture relating to the duties of the indenture trustee, in
           case an event of default occurs and continues for a series of Notes, the indenture trustee will be under
           no obligation to exercise any of the rights or powers under the indenture at the request or direction of
           any of the securityholders of that series, unless those holders offer to the indenture trustee security or
           indemnity satisfactory to it against the costs, expenses and liabilities that might be incurred by it in
           complying with that request or direction. Subject to those provisions for indemnification and some
           limitations contained in the indenture, the holders of a majority of the then total outstanding amount
           of the Notes of that series will have the right to direct the time, method and place of conducting any
           proceeding for any remedy available to the indenture trustee or exercising any trust or power
           conferred on the indenture trustee with respect to the Notes of that series, and the holders of a
           majority of the then total outstanding amount of the Notes of that series may, in some cases, waive
           any default with respect to the Notes, except a default in the payment of principal or interest or a
           default in respect of a covenant or provision of the indenture that cannot be modified without the
           waiver or consent of all the holders of the outstanding Notes of that series affected.




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                   Discharge ofIndenture

                    The indenture will be discharged, subject to the provisions of the indenture, for a series of
           Notes (except for continuing rights specified in the indenture) upon the delivery to the indenture
           trustee for cancellation of all the Notes of that series or, with some limitations, upon deposit with the
           indenture trustee of funds sufficient for the payment in full of all of the Notes of that series.

                   With some limitations, the indenture will provide that, if specified for the Notes of any series,
           the related trust fund will be discharged from any and all obligations in respect of the Notes of that
           series (except for obligations specified in the indenture including obligations relating to temporary
           Notes and exchange of Notes, to register the transfer of or exchange Notes of that series, to replace
           stolen, lost or mutilated Notes of that series, to maintain paying agencies and to hold monies for
           payment in trust) upon the deposit with the indenture trustee, in trust, of money and/or direct
           obligations of or obligations guaranteed by the United States of America which through the payment
           of interest and principal in respect of the Notes in accordance with their terms will provide money in
           an amount sufficient to pay the principal of and each installment of interest on the Notes of that
           series on the maturity date for those Notes and any installment of interest on those Notes in
           accordance with the terms of the indenture and the Notes of that series. In the event of any
           defeasance and discharge of Notes of that series, holders of Notes of that series would be able to look
           only to that money and/or those direct obligations for payment of principal and interest, if any, on
           their Notes until maturity.

                   Indenture Trustee's Annual Report

                   The indenture trustee for each series of Notes will be required to mail each year to all related
           securityholders a brief report, as provided in the indenture, relating to its eligibility and qualification
           to continue as indenture trustee under the related indenture, any amounts advanced by it under the
           indenture, the amount, interest rate and maturity date of indebtedness owing by that Trust to the
           applicable indenture trustee in its individual capacity, the property and funds physically held by the
           indenture trustee in its capacity as indenture trustee and any action taken by it that materially affects
           the Notes and that has not been previously reported.

                   The Indenture Trustee

                   The indenture trustee for a series of Notes will be specified in the prospectus supplement.
           The indenture trustee for any series may resign at any time in accordance with the terms of the
           indenture, in which event the depositor or the appropriate party designated in the indenture will be
           obligated to appoint a successor trustee for that series. The depositor or the appropriate party
           designated in the indenture may also remove any indenture trustee if that indenture trustee ceases to
           be eligible to continue as the indenture trustee under the related indenture, if that indenture trustee
           becomes insolvent or for any other grounds specified in the indenture. In those circumstances the
           depositor or the appropriate party designated in the indenture will be obligated to appoint a successor
           trustee for the applicable series of Notes. Any resignation or removal of the indenture trustee and
           appointment of a successor trustee for any series of Notes does not become effective until acceptance
           of the appointment by the successor trustee for that series.

                  The bank or trust company serving as indenture trustee may have a banking relationship with
           the depositor or any of its affiliates, a servicer or any of its affiliates or the master servicer or any of


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           its affiliates. To the extent consistent with its fiduciary obligations as indenture trustee, the indenture
           trustee may delegate its duties to one or more agents as provided in the indenture and the Agreement.


                                               Description of Credit Support

           General

                   Credit support may be provided for one or more classes of a series of securities or for the
           related Trust Fund Assets. Credit support may be in the form of a limited financial guaranty policy
           issued by an entity named in the related prospectus supplement, the subordination of one or more
           classes of the securities of the series, the establishment of one or more reserve accounts, the use of a
           cross-collateralization feature, the use of a mortgage pool insurance policy, FHA insurance, VA
           guarantee, bankruptcy bond, special hazard insurance policy, surety bond, letter of credit, guaranteed
           investment contract, overcollateralization, or any combination of these forms. Unless otherwise
           specified in the related prospectus supplement, credit support will not provide protection against all
           risks of loss or guarantee repayment of the entire principal balance of the securities and interest on
           them. If losses occur that exceed the amount covered by credit support or that are not covered by the
           credit support, security holders will bear their allocable share of any deficiencies.

           Subordination

                   If specified in the related prospectus supplement, the rights of holders of one or more classes
           of subordinated securities will be subordinate to the rights of holders of one or more classes of senior
           securities of the series to distributions of scheduled principal, principal prepayments, interest or any
           combination of those distributions that otherwise would have been payable to holders of subordinated
           securities under the circumstances and to the extent specified in the related prospectus supplement. If
           specified in the related prospectus supplement, holders of senior securities also may be protected by a
           reduction in the ownership interest, if any, of the related subordinated securities or by any other
           method described in the related prospectus supplement.

                   If specified in the related prospectus supplement, delays in receiving scheduled payments on
           the loans and losses on defaulted loans will be borne first by the various classes of subordinated
           securities and thereafter by the various classes of senior securities, in each case under the
           circumstances and subject to the limitations specified in the related prospectus supplement. The
           aggregate distributions of delinquent payments on the loans over the lives of the securities or at any
           time, the aggregate losses on defaulted loans that must be borne by the subordinated securities by
           virtue of subordination, and the amount of the distributions otherwise distributable to the
           subordinated securityholders that will be distributable to senior securityholders on any distribution
           date may be limited as specified in the related prospectus supplement. If aggregate distributions of
           delinquent payments on the loans or aggregate losses on the loans were to exceed the amount
           specified in the related prospectus supplement, holders of senior securities would experience losses
           on their securities.

                   In addition to or instead of the subordination methods listed above, the prospectus
           supplement for a series may provide that all or a portion of the distributions otherwise payable to
           holders of subordinated securities on any distribution date will instead either be deposited into one or
           more reserve accounts established with the trustee, or distributed to the holders of senior securities.
           As specified in the related prospectus supplement, deposits into a reserve account may be made on

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           each distribution date, or for specified time periods, or until the balance in the reserve account has
           reached a specified amount and thereafter, to the extent necessary to maintain the balance in the
           reserve account at any required level. Amounts on deposit in the reserve account for a series may be
           released to the holders of certain classes of securities at the times and under the circumstances
           specified in the related prospectus supplement.

                   If specified in the related prospectus supplement, various classes of senior securities and
           subordinated securities may themselves be subordinate in their right to receive certain distributions to
           other classes of senior and subordinated securities, respectively, through a cross-collateralization
           mechanism or otherwise.

                    As between classes of senior securities and as between classes of subordinated securities,
           distributions may be allocated among such classes in the order of their scheduled final distribution
           dates, in accordance with a schedule or formula, in relation to the occurrence of events, or otherwise,
           in each case as specified in the related prospectus supplement. As between classes of subordinated
           securities, payments to holders of senior securities on account of delinquencies or losses and
           payments to any reserve account will be allocated as specified in the related prospectus supplement.

           Letter of Credit

                   Any letter of credit for a series of securities will be issued by the bank or financial institution
           specified in the related prospectus supplement. The specified bank will be obligated to honor
           drawings under the letter of credit in an aggregate fixed dollar amount, net of unreimbursed
           payments under the letter of credit, equal to a specified percentage of the aggregate principal balance
           of:

                       •   the loans on the related cut-off date, or

                       •   one or more classes of securities.

                   If specified in the related prospectus supplement, the letter of credit may permit drawings in
           the event of losses not covered by insurance policies or other credit support, such as losses arising
           from damage not covered by standard hazard insurance policies, losses resulting from the bankruptcy
           of a borrower and the application of certain provisions of the Bankruptcy Code, or losses resulting
           from denial of insurance coverage due to misrepresentations in connection with the origination of a
           loan. The amount available under the letter of credit will be reduced by the amount of unreimbursed
           payments under the letter of credit. The obligations of the bank issuing a letter of credit for any series
           of securities will expire at the earlier of the date specified in the related prospectus supplement or the
           termination of the trust fund. See "Description of the Agreements-Termination." A copy of any letter
           of credit for a series will be filed with the SEC as an exhibit to a Current Report on Form 8-K to be
           filed within 15 days of issuance of the securities of that series.

           Insurance Policies, Surety Bonds and Guaranties

                   If specified in the prospectus supplement for a series of securities, deficiencies in amounts
           otherwise payable on the securities or on certain classes of them will be covered by insurance
           policies or surety bonds provided by one or more insurance companies or sureties. These instruments
           may cover timely distributions of interest or full distributions of principal or both, based on a
           schedule of principal distributions specified or determined in the manner specified in the related

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           prospectus supplement. In addition, if specified in the related prospectus supplement, a trust fund
           may also include bankruptcy bonds, special hazard insurance policies, other insurance or guaranties
           for the purpose of:

                       •   maintaining timely payments or providing additional protection against losses on the
                           assets included in the trust fund,

                       •   paying administrative expenses, or

                       •   establishing a minimum reinvestment rate on the payments made on the assets or a
                           principal payment rate on the assets.

                   These arrangements may include agreements under which securityholders are entitled to
           receive amounts deposited in various accounts held by the trustee on the terms specified in the
           prospectus supplement. If specified in the related prospectus supplement, a copy of any such
           instrument for a series will be filed with the SEC as an exhibit to a Current Report on Form 8-K to be
           filed within 15 days of issuance of the securities of that series.

           Over-Collateralization

                    If provided in the prospectus supplement for a series, a portion of the interest payment on
           each loan may be applied as an additional distribution in respect of principal to reduce the principal
           balance of a particular class or classes of securities and, thus, accelerate the rate of principal
           payments on the specified class or classes. Reducing the principal balance of the securities without a
           corresponding reduction in the principal balance of the underlying loans will result in over-
           collateralization and additional protection to the securityholders as specified in the related prospectus
           supplement. If so specified in the related prospectus supplement, overcollateralization may also be
           provided for on the date of issuance of securities by the issuance of all classes of securities in an
           initial aggregate principal amount that is less than the aggregate principal amount of the Trust Fund
           Assets in the related trust fund.

                   If provided in the prospectus supplement for a series, during a revolving period designated
           therein, the portion of interest payments collected on Revolving Credit Line Loans may be applied to
           purchase additional Revolving Credit Line Loans so that the level of overcollateralization
           represented by the amount by which the outstanding principal balances of the Revolving Credit Line
           Loans exceed the outstanding principal balances of the securities will be maintained at a level
           specified in the prospectus supplement.

           Reserve Accounts

                    If specified in the related prospectus supplement, credit support for a series of securities will
           be provided by one or more reserve accounts held by the trustee, in trust, for the series of securities.
           The related prospectus supplement will specify whether or not a reserve account will be included in
           the trust fund for a series.

                   The reserve account for a series will be funded by:

                       •   a deposit of cash, U.S. Treasury securities or instruments evidencing ownership of
                           principal or interest payments on U.S. Treasury securities, letters of credit, demand

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